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                      UNITED STATES DISTRICT COURT
                         DISTRICT OF MINNESOTA


IN RE PORK ANTITRUST LITIGATION           Civil No. 18-cv-1776 (JRT/HB)


                                          CONSUMER INDIRECT
                                          PURCHASER PLAINTIFFS’
                                          SECOND AMENDED
                                          CONSOLIDATED CLASS ACTION
                                          COMPLAINT


                                          DEMAND FOR JURY TRIAL

                                          (REDACTED VERSION)
This Document Relates to:

All Consumer Indirect Purchaser Actions
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         Plaintiffs bring this action for injunctive relief under Section 1 of the Sherman

Act, and for treble damages under the antitrust laws, unfair competition laws, consumer

protection laws, and unjust enrichment common laws of the several states against

Defendants. Plaintiffs demand a trial by jury.

                                I.     NATURE OF ACTION

         1.       Few things have impacted the life of the average American as dramatically

as the arrival of the internet. While the internet has brought enormous benefits –

increased ease of access to information – this benefit comes with a darker side. Just as

consumers are able to access information with more ease, so are companies able to

collect and transfer enormous amounts of data. The true cost of the availability of this

large amount of data is still hidden to most. But here, it became a central part of the

defendants’ collusion stabilizing the price and supply of pork being sold to consumers on

a daily basis. Access to and exchange of competitively sensitive data gave the defendants

– pork processors – the ability to restrict and stabilize the supply and price of pork in a

way that was unimaginable twenty years ago.

         2.       Key to this conspiracy was Agri Stats. Agri Stats is a small company,

headquartered in Fort Wayne, Indiana. To the outside world, the role of Agri Stats is

almost invisible. Paradoxically, Agri Stats has an almost minimal internet presence. Its

current home page transmits little more than a bucolic rural scene:




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         3.       No uninitiated visitor to this website would realize the profound and

anticompetitive impact Agri Stats has had on the supply and pricing of meat in this

country.

         4.       Agri Stats’ refusal to advertise is intentional because Agri Stats’ services

are not for the public. Agri Stats refuses to sell its information and reports to just any

customers. Instead it focuses on its core business – collecting vast amounts of

information from protein companies, standardizing that data, and returning it to them in

detailed weekly and monthly reports. For the pork processors, Agri Stats provides current

and forward-looking sensitive information (such as profits, costs, sale prices and

slaughter information), as well as, the key to deciphering which data belongs to which

producers.




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         5.       The type of information available in these reports is not the type of

information that competitors would provide each other in a normal, competitive market.

In a competitive market – each competitor would act independently, making supply

decisions unilaterally and pricings its goods to market. Instead, Agri Stats’ provision of

detailed and sensitive information acted as the proverbial smoke-filled room of the cartels

of yesteryear. Rather than meeting in a room with pen and paper, Agri Stats collected the

pork processors’ competitively-sensitive supply and pricing data and intentionally shared

that information through detailed reports to market participants.

         6.       Starting in at least 2009 and continuing to the present, defendants

coordinated to fix, raise, maintain and stabilize pork prices. To effectuate and ensure the

stability of their price-fixing agreement, defendants relied on Agri Stats as a means to

obtain and monitor critical and competitively-sensitive business information regarding

each other’s production metrics, thereby serving as a central and critical part of

defendants’ price-fixing scheme, resulting in a remarkably stable and successful

anticompetitive cartel.

         7.       The data exchanged through Agri Stats bears all the hallmarks of the

enforcement mechanism of a price-fixing scheme. First, the data is current and forward-

looking – which courts consistently hold has “the greatest potential for generating

anticompetitive effects.”1 Second, information contained in Agri Stats reports is specific




    1
    Todd v. Exxon Corp., 275 F.3d 191, 2011 (2d Cir. 2001) (Sotomayor, J.) (quoting
United States v. Gypsum Co., 438 U.S. 422, 441 n.16 (1978)).

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to the pork producers, including information on profits, prices, costs, and production

levels. “Courts prefer that information be aggregated in the form of industry averages,

thus avoiding transactional specificity.”2 Third, none of the Agri Stats information was

publicly available. Agri Stats is a subscription service, which required the co-conspirators

to pay millions of dollars over the class period – far in excess of any other pricing and

production indices. Indeed, Agri Stats only allowed co-conspirators to receive data if they

themselves shared data. “Public dissemination is a primary way for data exchange to

realize its pro-competitive potential.”3 Agri Stats ensured that its detailed, sensitive

business information was available only to the co-conspirators and not to any buyers in

the market.

          8.      The pork processors admitted in public calls that they had discussed

production cuts at least once, and publicly signaled to each other that no supply increases

would happen.

          9.      An economic analysis of the prices of pork during the class period show an

abnormal shift, supporting the inference of collusion. Beginning in 2009, pork wholesale

prices increased and remained at a higher level compared to the years prior to 2009.

Another measurement of price, the pork cut-out composite price increased 18 percent

during the class period (and at one point in 2014 had increased 56 percent from the start

of the class period). In addition to price, the pork processors’ margin also increased – that



    2
        Id. at 212.
    3
        Id. at 213.

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is the amount of money retained by the pork producer defendants (versus what was paid

to farmers). And when tested, there was a statistically significant increase in the average

hog-composite spread before the class period, when compared to during the class period.

Moreover, when tested against two of the largest defendants, Tyson and Smithfield,

plaintiffs analyzed their revenue and costs, which also show a dramatic increase in

defendants’ revenues during the class period. These dramatic shifts in prices and

revenues further support the inference of a conspiracy during the class period.

         10.      Numerous “plus factors” exist in the pork industry during the class period,

including but not limited to multiple industry characteristics which facilitate collusion,

such as a high level of vertical integration, high pork industry consolidation and

concentration, barriers to entry preventing competitors from coming into the market,

inelastic demand for pork, and homogeneity of pork as a product.4 These plus factors add

plausibility to plaintiffs’ allegations of a price-fixing scheme.

         11.      Moreover, the information exchange between processor defendants through

Agri Stats was itself anticompetitive under a rule of reason analysis. The information

exchanged was highly granular data on defendants’ pricing, costs, and supply. The

information exchange had anticompetitive effects. For example, in both sales reports and

meetings with defendants, Agri Stats specifically identified “opportunities” for

defendants to raise prices on specific products that were priced lower than that of their




    4
     Pork is homogenous within cut type – i.e., a pork belly from Tyson and Smithfield
are virtually indistinguishable.

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competitors. The information was current. Starting no later than early 2009, Agri Stats

began distributing weekly sales reports to defendants that contained pricing information

that was less than a month old. And all of this information was intentionally shielded

from both the public and other industry participants, such as food retailers. This

information exchange was particularly likely to have anticompetitive effects because the

pork market is characterized by few sellers, a fungible product, a tendency towards

uniform pricing, and inelastic demand.

         12.      Defendants’ restriction of pork supply and information exchange through

Agri Stats had the intended purpose and effect of increasing pork prices to plaintiffs and

class members. Beginning in 2009, the earnings of the processors began to increase, as

they took an increasing amount of the profits available in the pork industry. As a result of

defendants’ unlawful conduct, plaintiffs and the classes paid artificially inflated prices for

pork during the class period. Such prices exceeded the amount they would have paid if

the price for pork had been determined by a competitive market. Thus, plaintiffs and class

members were injured by defendants’ conduct.

         13.      Plaintiffs bring this complaint, alleging violations under both a per se or, in

the alternative, rule of reason standard under the federal and state antitrust and consumer

protection laws.




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                               II.    SUMMARY OF PARTIES

         14.      Plaintiffs are consumers who have purchased pork as the end-consumers in

the food distribution chain.5 See section VI.A, infra (detailed allegations regarding each

plaintiff). Plaintiffs bring this action on behalf of themselves individually and on behalf

of various state classes consisting of all persons and entities who purchased pork

indirectly from a defendant or co-conspirator for personal use in the United States from at

least January 1, 2009 until the present (Class Period). See section VII, infra.

         15.      The defendant pork processors are each of the major meat companies who,

collectively, control over 80 percent of the pig slaughtering facilities in the United States.

The pork processor defendants are Clemens Food Group, LLC, the Clemens Family

Corporation, Hatfield Quality Meats (collectively, Clemens), Hormel Foods Corporation

(Hormel), Indiana Packers Corporation (Indiana Packers), JBS USA Food Company (JBS

USA), Seaboard Foods LLC (Seaboard), Smithfield Foods, Inc. (Smithfield), Triumph

Foods, LLC (Triumph), and Tyson Foods, Inc., Tyson Fresh Meats, Inc. and Tyson

Prepared Foods, Inc. (together and separately, Tyson). See section VI.B, infra.

         16.      Defendant Agri Stats is the center of this conspiracy. Through Agri Stats,

defendants were able to have access to standardized data (cost, price and supply

information) from their erstwhile competitors which they used to extract the maximum

amount of profits from the American consumer. See section VIII, infra.




    5
    For purposes of this complaint, pork includes pig meat purchased fresh or frozen,
smoked ham, sausage and bacon.

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                              III.   FACTUAL ALLEGATIONS

         Agri Stats enabled competitors to directly exchange, and restrain, supply and
         cost.

         17.      The depth and breadth of Agri Stats reports make them difficult to describe

through words alone. Prior to this litigation, Agri Stats reports were not publicly

available. During the course of discovery in this case, plaintiffs obtained a small number

of Agri Stats reports relating to the Pork industry from a production of documents made

by Agri Stats to the DOJ nearly a decade ago. Plaintiffs attach the following examples of

reports as exhibits:

     Exhibit A: An Agri Stats March 2009 weekly sales report;

     Exhibit B: An Agri Stats April 2008 Economic Impact Sales Report;

     Exhibit C: An Agri Stats August 2009 report for Tyson’s Storm Lake facility;

     Exhibit D: An Agri Stats September 2009 report entitled “Bacon Demo,”;

     Exhibit E: A June 2010 Agri Stats presentation to Hormel soliciting Hormel’s
      participation in additional Agri Stats reporting services;

     Exhibit F: An Agri Stats May 2008 presentation entitled, “Hatfield Quality Meats
      Pork Kill & Cut Phone Review;” and

     Exhibit G: An Agri Stats February 2010 “Demo” Swine Processing report.

         18.      All programs at Agri Stats are done on a monthly basis, with the exception

of sales which are done weekly and monthly. Plaintiffs describe below the content and

import of each of these reports, as well as the process by which Agri Stats collects and

disseminates the data.




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         1.       Agri Stats’ detailed pricing reports provide competitors with a view of
                  the entire market, removing all question of competition on price.

         19.      Perhaps Agri Stats’ most egregious service is its sales reports. These

reports, on a weekly and monthly basis, contain not only current pricing information (to

within a few weeks), but also calculate for competitors exactly how far they could raise

prices to match their competitors on a per item basis. In others words, not only does Agri

Stats provide Defendants with their competitors’ pricing, they take it a step further –

ensuring that consumers feel the brunt of Agri Stats’ data collection operations, by

performing the mathematic calculations that identify for its co-conspirators the price-

raising opportunities that they can cash in on at the expense of the consumers.

         20.      In early 2009, at the beginning of the conspiracy period, Agri Stats

introduced new sales report formats containing weekly and monthly data. The new sales

reports were designed to specifically allow a defendant to compare its prices with that of

its competitors. Brian Snyder, an Agri Stats employee, explained in an e-mail to Seaboard

employees on March 5, 2009 that:

                  Agri Stats is rolling out a new weekly and monthly sales report.
                  I have attached week 8 for your review in the new format. This
                  report is a dramatic improvement to the legacy platform in
                  evaluating sales. It compares a company’s price and sales mix
                  versus the national price with the company mix. I would like
                  to set up a 30 minute web review of the new weekly report to
                  answer any questions. The new platform also allows us more
                  audit tools regarding the data. All price variances 30% from
                  the average will be kicked out to an exception report and
                  investigated. This was a manual audit in the legacy system.
                  With this new procedure automated, it should streamline and
                  improve the audit of the sales number and identify the outliers.
                  It will automatically generate the exceptions and let us
                  investigate to make sure that we have all items coded correctly,


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                  and to have an understanding of items that deviate by more
                  than 30%. (emphasis added).

The weekly sales report that Brian Snyder included is attached as Exhibit A. The weekly

report included sales data that was only weeks old – the e-mail sent on March 5, 2009,

covers data for the week ending on February 21, 2009. Furthermore, the report contained

detailed data comparing the prices of defendants’ products with their competitors. The

report would identify a specific type of product, such as a type of cut of pork sparerib,

and then compare the company’s prices with the national average price and the national

top 25% price.

         21.      An excerpt of this weekly sales report follows:




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         22.      The sales reports allowed defendants to compare their prices for individual

products against the national average net price, and the national top 25 percent average

price. For each product, Agri Stats specifically broke out the variance between the

company’s price and the national average price, as well as the economic impact of the

variance. This allowed co-conspirators to see how much more they could charge if they

charged either the national average or the average of the Top 25%. Notably, Agri Stats

identified opportunities for Defendants to raise prices; Agri Stats did not make any

attempt to identify products for which Defendants should cut prices in an attempt to gain

additional sales.

         23.      Agri Stats clearly identified for defendants which companies and plants

were providing information for the various reports. For example, Agri Stats’ “Swine

Sales Analysis – General Run” report is a monthly report which first indicates to

competitors whose information is contained in the report. In one example, Exhibit B, a

“demo” report for April 2008, Agri Stats listed the following as the “Economic Impact

Section Participants”:




         24.      Although this report lists eleven facilities – there are only nine competitors

actually contained in this report. Both Smithfield and Cargill have two plants listed,


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meaning that only nine companies contribute information. (And of course, Smithfield and

Cargill would be able to immediately know where each of their plants fell within this

report.)

         25.      Because there are only nine companies listed in this report, providing the

number for the Top 25% of sales, gives competitors the pricing of approximately the top

two competitors. This level of disaggregated information has no pro-competitive purpose,

other than to allow the pork processors to extract the maximum amount of profits from

their customers.

         26.      As a specific example, Exhibit B, the April 2008 Economic Impact Sales

Report, Agri Stats specifically identified that the company’s price of $58.29 for bone-in

hams was below the national net price of $62.50 and the national top 25% net price of

$73.40. Agri Stats further explained for the company’s financial benefit that the company

had a negative economic impact of $17,838 as compared to the Top 25% price because

its prices were lower than its competitors. An excerpt of this Agri Stats sales report

(containing 253 pages) is as follows:




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         27.      The above report was published in April 2008 (although circulated in June

2010 as a demo report), and contained information through April 26, 2008 – making the

information in the report current at the time it was published.6 The purpose of these

reports was not to provide better prices to consumers or to lower the costs of production.

Instead, the clear purpose was to improve the profitability of the co-conspirators by

encouraging them to collectively raise prices.

         28.      A second example of an Agri Stats sales report containing sales data that is

only weeks old is an August 2009 report for Tyson’s Storm Lake facility that shows a

similar pattern. Exhibit C. The report was published on October 13, 2009 and contains

“Unit Price Variance by Company” through August 29, 2009 – which makes the pricing

information only six weeks old. The first page of the report lists the pricing variance

against the national average for the thirteen plants in the report:




    6
     This report was subsequently circulated as a demo report in June 2010, indicating
that Agri Stats considered this material sufficiently non-confidential to disclose to non-
customers from whom it was circulating business.

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         29.      The next page of the report lists the economic impact of sales for the Tyson

Storm Lake facility, showing by product, how much more could be charged to meet the

national average, and the average Top 25% of sales. Conservatively assuming that there

were 13 companies in this report (and not simply 13 plants, owned by fewer than 13

companies), this Top 25% sales average informs competitors of what the top three plants

are charging for each of these products.




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         30.      A third example of a sales report is the Bacon Report, Exhibit D. This is a

demonstration report that Agri Stats prepared as part of a project to begin offering a

bacon-focused report in 2010. The Bacon Report shows how Agri Stats facilitated the

exchange of sensitive information regarding costs, prices and profits between

competitors. On information and belief, the Bacon Report was an actual report




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disseminated to the co-conspirators.7 For example, the attached slide compares a

participant company’s profits, cost, margin, and sales price with the average, the top

25%, and the top five of competitors:




        31.       In pitching its services to defendants, Agri Stats made sure to detail exactly

which competitors were participating in the various Agri Stats report services. For

example, Agri Stats gave a presentation to Hormel on June 25, 2010 regarding Hormel

participating in additional Agri Stats reporting services. Exhibit E, part of the proposal

presentation, shows Agri Stats identifying each of the co-conspirators, including their

facilities that were participating in the various Agri Stats reports.




    7
    Agri Stats in its Responses and Objections to Plaintiffs’ First Set of Requests for
Production stated that it would produce “bacon reports sent by Agri Stats to subscribing
Defendant Pork Integrators.”

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         32.      Sharing the information in these various sales reports – detailed cost and

sales data – between competitors was unnecessary to achieve any benefits for consumers.

Should a competitor want to lower its costs – it is free to negotiate with vendors, labor

groups, or reduce costs without reference to what a competitor is doing. Exchanging

individual company data (particularly current data on prices and costs), is not required to

achieve major efficiencies.




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         2.       Beyond the pricing reports themselves, Agri Stats allowed the pork
                  processors to directly access sales data through a “sales data miner”
                  tool.

         33.      In addition to these highly detailed and anti-competitive sales reports, Agri

Stats also provided defendants with a “sales data miner” tool that provided granular sales

data broken down by “category, group, product type, preparation, additive, size, and inner

packaging.”




         34.      The sales data miner provided competitors with detailed pricing

information. The following is an example of the type of weekly sales data that was

provided to Tyson through Agri Stats’ sales data miner.




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        35.       Agri Stats further emphasized in conversations with defendants that the

Agri Stats sales reports data specifically identified opportunities for defendants to raise

their prices. For example, in June 2009, Deb McConnell, a Tyson employee, sent an e-

mail to Agri Stats employees titled “Audio Call with AgriStats: Follow-ups/action items.”

The e-mail stated that four sales/pricing tools are currently available for review/use by

Tyson: “a.) Data Minor - Online system - information updated weekly. b.) Weekly Sales

Report - published weekly with electronic copy sent to Tyson weekly. c.) Weekly

‘PRICING’ exception report - published weekly with electronic copy sent to Tyson

weekly. d.) Weekly ‘MIX’ exception report - published weekly with electronic copy sent

to Tyson weekly.” Tyson requested that Agri Stats make a number of refinements to the

sales reports that Agri Stats provided to Tyson, including segregating the region data into


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“East and West.” The e-mail also stated that in the Weekly Sales Report, “price

opportunity (company vs. national) is comparison of our net selling price, vs. the region

on ‘like SKUs.’ Opp $’s are extrapolated against our sales pounds.”




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         38.      Defendants used the pricing information provided by Agri Stats (and

indirectly, their competitors) to set their own prices of pork. But Agri Stats made sure

that defendants understood the exact prices of their competitors. For example, on January

7, 2009, porksales@agristats.com sent Tyson employees an apparently standardly sent e-

mail titled “week ending 12/27 sales” that attached numerous individual pdfs containing

detailed current information on weekly sales, including files titled


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“WE12_27DetailedSalesAnalysis.pdf”, WE12_27ProductOpportunity.pdf”; and

“WE12_27BuyerDetail.PDF.” This e-mail shows that Agri Stats was providing detailed

sales data to Defendants that was less than two weeks old, since the sales data went

through December 27th and the e-mail containing the sales data was sent on January 6th.

Deb McConnell, a Tyson employee, emailed in response to Agri Stats, “what plants

(locations are currently enrolled/displayed in the Sales Data Miner?”

Porksales@agristats.com responded with a list of participants, identifying other defendant

participants including JBS, Indiana Packers, Seaboard, Smithfield, Triumph, and

Clemens. Deb McConnell then responded that Tyson was using the Agri Stats data for

“revenue/return analysis” and that the list of participants provided by Agri Stats “will

work.” Following further e-mails, Deb McConnell, the Tyson employee, followed up to

state that the “sales group has already responded with some items”. In short, Agri

Stats on a regular basis provided detailed data from the defendants on their sales, helped

defendants determine the identity of their competitors, all with the understanding that the

defendants were using the data to make decisions regarding their prices. Defendants’

sales groups, in turn, carefully reviewed and used the information provided by Agri Stats.

         39.      Defendants also asked Agri Stats to help clarify the data that Agri Stats

provided in order to help determine pricing-related opportunities. For example, Stacey

Edwards, an Agri Stats employee, wrote an October 2009 document titled “J.B.S. Review

Notes” that documents numerous specific questions that J.B.S. asked Agri Stats regarding

pricing data, including: “What are some of the opportunities in injected boneless loins?

Specifically there are four companies with returns” [i.e. prices] “at 225.77, 203.18,

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218.77, and 279.98”; “What is driving the pricing structure for CT’s?”; “Column b.9 on

HC-4F, can we tell anything as to why there is such a spread in prices?”; and “Why is #1

guy in sales book so far ahead of the competition every week?” The document also

included a request that Agri Stats “set Sue Tresham” (a JBS sales employee) “up in Data

Miner.”

         40.      The defendants knew the purpose of these reports (as if there were any

doubt) and asked Agri Stats to ensure that their “opportunities” to raise prices were clear.

In one June 2009 Tyson email, Deb McConnell, a Tyson employee, wrote to Agri Stats

regarding the Weekly Sales Report that Noel White, a senior Tyson executive, “is

insistent that the info be very clear/concise and indicate opp’s with ease.” Noel White

subsequently became the CEO of Tyson Foods in September 2018.

         3.       Just in case weekly sales reports and data mining were not enough to
                  ensure the lack of pricing competition, Agri Stats also provided
                  colorful graphs to highlight any differences in competitors’ prices.

         41.      Sometimes, a picture says a thousand words. And where large amounts of

data are involved, graphics can be invaluable to assist people in understanding the import

of numbers. For its pork processors, Agri Stats also provided graphics to highlight where

they needed to raise prices. One example below is a regular detailed monthly package

that Agri Stats prepared for defendant Hatfield Quality Meats (a subsidiary of Clemens

Family Corporation), entitled “Swine Graph Package and Review.” This package

included colorful graphics explicitly comparing the price variance of types of pork

products sold by Hatfield Quality Meats, and highlighting where opportunities to raise

prices existed:


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         42.      The monthly presentation by Agri Stats included charts comparing

Hatfield’s price in certain specific product categories with that of the other co-

conspirators whose data had been collected by Agri Stats. For example, the following

slides compare Hatfield’s price for whole bone-in hams against those of its competitors,

as well as breaking out the dollar impact of the difference in price:




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         43.      Agri Stats also provided similar reports for other defendants that contain

detailed pricing data. This pricing information was current, containing pricing

information that was less than six weeks old, as the cover e-mail for this presentation

indicates that the report was circulated to Seaboard on September 14, 2010 and contained

pricing information through July 2010. For example, attached as an exhibit is a 293-page

presentation that Agri Stats prepared for Seaboard. The report contains numerous graphs

comparing Seaboard’s returns (i.e., prices) on specific types of pork products with that of

an average of its competitors, such as the following:




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         44.      These types of reports had the effect of allowing co-conspirators to know

exactly how far they could raise their prices to conform to their competitors’ prices.

         4.       The Operations Profit Report provided competitors with information
                  on the profitability of their competitors – allowing a further means to
                  detect any cheating on the cartel.

         45.      Another type of Agri Stats report (beyond the sales/pricing reports) was an

Operations Profit report, or brown book (the color of the binding of the hard copy book),

which included:

                   Key Performance Indicator report for the current month, and the past
                    three months;

                   Monthly Summary Reconciliation by Plant;

                   Monthly Detailed Reconciliation by Plant;

                   Operations Profit Report;

                   Ranking Report;

                   Operations Profit Contributions; and

                   Yielded Margin over Processing.

         46.      Exhibit F is an Agri Stats May 2008 presentation entitled, “Hatfield

Quality Meats Pork Kill & Cut Phone Review” The presentation contains an excerpt of

this detailed Operations Profit report that is as follows (markings on original):




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         47.      Agri Stats reports also clearly identified the participants in each of the

reports that were issued. Many of the reports had relatively few participants, and

therefore the Top 25% of the report often provided data on less than 5 specific

participants in the report. This 2008 Operations Profit report shows that there are 11

participants in the report (the line items numbered from 1 to 11). The report details the

operations profits for each participant on a live pound, and carcass pound basis. It

provides the purchased expense of live hogs, and the yielded margins for each of the 11

participating plants. The report contains information from March 2008 – and the report

itself was published on May 21, 2008 – making the information less than three months

old. The company involved in this report (Hatfield, a subsidiary of Clemens), is also

provided with its report information for the November 2008 to February 2008 period, as

well as its comparison against the weighted Top 25%. Given the existence of only 11

participants in this report, the Top 25% would be less than three firms.

         48.      Exhibit F contains an excerpt of the May 21, 2008, key performance

indicators section of the report that is as follows:




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          49.     The Key Performance Indicator report – here, for Hatfield, a subsidiary of

Clemens – gives the detailed operations profits numbers for Hatfield against the national

average, and against the Top 25% (again this would be less than three firms, given that

only 11 firms appear in this report). The report details the “economic impact” for Hatfield

for each of the items (including detailed Hourly Labor Cost, Supervision Cost, Kill Floor

Cost – just to name a few), against the national average and the Top 25% average – this is

the dollar amount that Hatfield/Clemens would save if it were to conform its costs to the

national average, or the Top 25% average.

          50.     Providing such detailed information regarding the profitability of

competitors provided another mechanism by which competitors could monitor their co-

conspirators to ensure there was no cheating on the agreement to restrain supply and raise

prices.

          5.      The Agri Stats Swine Processing Report provided detailed information
                  regarding costs of the competitors.

          51.     A third type of Agri Stats report in the pork industry was the swine

processing reports. These reports contain detailed cost information for each of the plants

participating in the reports. The processing reports themselves total over 300 pages.

Plaintiffs attach a “Demo” Swine Processing report from February 2010 as Exhibit G to

this complaint. This report is labelled as a “demo” and contains information which is

nearly a decade old. On information and belief, the data contained in this “demo” report

is the same as what was provided throughout the class period to the co-conspirators.




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         52.      The first page of the report itself indicates the “section participants” – the

companies from which the data was gathered and to which this report was sent, including

co-conspirators Cargill, Hatfield (a subsidiary of Clemens), Indiana Packers, JBS,

Seaboard Foods, Smithfield, Triumph, and Tyson:




         53.      Although this report lists eleven competitors, Farmland Foods and

Smithfield both had two plants included for Region 10, meaning that there were truly

only nine pork processors contained in this report.

         54.      Exhibit G, The Swine Processing Report focuses on “Plant Cost Analysis,”

including: labor, material, supplies, M&R, utilities, water & sewage, inspection,

overhead, depreciation, and support departments. An example of a page from this portion

of the report is as follows:




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         55.      This page of the report (Total Plant Cost) provides a line entry for each of

the 11 plants involved in the report. The plant for which this is a “demo” report is

underlined (line 5). The report then provides a weighted Top 25% number – in this

instance, with only 11 plants contained in this report, this would be an average number

containing the data from the Top three plants. The report also contains weighted averages

breaking companies out by the “East” (three companies) and “West” companies (eight

companies).

         56.      Agri Stats also provided a “kill cost analysis,” which includes data on costs

such as labor, overhead, supplies, and staffing: The key components of the kill cost

analysis are shown in the below slide prepared by Agri Stats.




         57.      The report also includes “cut floor cost,” which includes details on labor,

supply, material, utilities, overhead, depreciation, “labor detail” and efficiency.


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         58.      The provision of cost information across competitors has no redeeming

purpose. Should a competitor wish to lower the costs of its overhead or improve its

harvest efficiency, of course it is perfectly free to do so. It has no need for this detailed

cost information from its competitors to make these unilateral choices.

         59.      In addition to these reports, Agri Stats’ account managers conduct on-site

live reviews to assist with report utilization and analysis. The information provided by

Agri Stats was so detailed that clients frequently requested the site visits by Agri Stats

employees to assist the co-conspirators in understanding the intricacies and implications

of the data. Agri Stats’ employees each possessed expertise in a specific area of

production, and the value added by their insights was as important to the producers as the

data in the books. The fee for the visits fluctuated based on the size of the company and

other factors.

         60.      In May 2015, a subsidiary of Agri Stats, Express Markets, announced that it

was adding its market analysis of pork to its product offerings in order to meet the broad

information and knowledge needs of its customers. Express Markets started providing its

extensive pricing reports to broiler producers in 2003. Agri Stats had earlier marketed the

EMI services to Tyson, explaining that “several producers and buyers have indicated to

us that they are disappointed with the lack of pricing information available and feel that a

program like this, designed for the pork industry, would be very beneficial.” Agri Stats

further explained that EMI would provide “valuable pricing information to know,

because . . . it will help give guidance when making negotiations.”




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         Agri Stats’ collection and standardization process provided pork processors
         the unparalleled ability to monitor, or discipline co-conspirators for not
         complying with their collusive agreement.

         61.      Agri Stats’ critical importance for a collusive scheme in the pork industry

lies not only in the fact that it supplies the data necessary to coordinate production

limitations and manipulate prices, but also in its stabilizing power. Price-fixing cartels are

subject to inherent instability in the absence of policing mechanisms, as each individual

member of the cartel may have incentive to cheat on other members of the cartel, for

example by ramping up pork production to capture higher prices as other cartel members

act to limit production. Agri Stats’ detailed production statistics serve as an indispensable

monitoring function, allowing each member of the cartel to police each other’s

production figures (which were trustworthy because they had been verified) for signs of

cheating.

         62.      Without Agri Stats, the success of the pork cartel would have been much

less certain. When direct competitors enter into a conspiracy, there may not be honor

amongst thieves. Conspirators can provide incorrect information; they can cheat on the

cartel by lowering their prices and providing inaccurate pricing or supply information to

their competitors – allowing their cheating to go undetected. Agri Stats ensured none of

that happened here.

         63.      Agri Stats audited the data to ensure the accuracy of its reports – even

comparing it against the companies’ general ledgers.

         64.      Agri Stats required participation in the cartel by a large swath of the

market, and competitors could not receive information without providing information.


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         65.      Agri Stats assisted in concealing this conspiracy. By maintaining

heightened level of sensitivity around the data to the public, Agri Stats ensured the

operation of this cartel went undetected.

         1.       Agri Stats audited the data to ensure co-conspirators could not cheat
                  on the agreement.

         66.      Large amounts of data from each co-conspirator, if it were inaccurate or

unable to be compared across companies, might have had little use to the co-conspirators.

But the value that Agri Stats brought to the conspiracy was that it ensured not only the

timely collection and dissemination of data, but also its accuracy.

         67.      This value is highlighted in an email sent by Tyson to Agri Stats, when

requesting its monthly results:

                  We use this information (our position in Agri) in our
                  quarterly presentations . . . ‘and’ in our metrics. . . .

                  It is VERY VISIBLE within our company . . . we must make
                  certain it is accurate . . . BUT at the same time, I must have a
                  high level of confidence that the OTHER companies are as
                  accurate!!! (emphasis added)

         68.      Agri Stats gave the co-conspirators exactly that – a high level of confidence

in the accuracy of the data shared amongst competitors.

         69.      To ensure this accuracy, Agri Stats itself went on site to the pork processors

to collect the data for the reports. Agri Stats would first set up the initial data collection

process, sending staff for a one week on-site setup meeting to identify data locations,

files, formats, and to work with accounting and production staff.




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         70.      It would then take Agri Stats three weeks in the Agri Stats office to finish

conversion, setup the input system, and to prepare auditors. Moving forward, the pork

processor would send data monthly to Agri Stats on the 18th, and the data would be

reported out the following month. Internal auditors convert the data, prepare it for

comparison and perform the monthly audits. Each company’s financial data was

reconciled to their general ledger to help ensure actual costs are reported. Raw numbers

are used in Agri Stats’ standardized calculations, so all company numbers are calculated

the same way. A typical turnaround from data submission to the finished report was two

weeks.

         71.      Agri Stats went to great lengths to ensure that the data is comparable across

competitors – an “apples-to-apples” comparison. Agri Stats audits the producer’s data by

ensuring it ties back to the general ledger, and by ensuring each company uses the same

calculations.

         72.      In 2008, Agri Stats pitched its “new format” to JBS, proposing

“comprehensive reports” and an “audit process”:




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         73.      Agri Stats itself travels on site to the pork processors to set up its data

collection process. It then ensures the timely collection of this data, its auditing, but also

that the data is tied to the financial and production files of the pork processors to ensure

there is no cheating on the exchange of accurate information. Thus, Agri Stats performs a

critical and unrivaled position in this cartel – acting as a disciplinary and cheating

detection mechanism to ensure all members are fully and accurately participating in the

exchange of competitively sensitive business information.

         74.      Agri Stats knew that it played a central role in this conspiracy. Agri Stats

repeatedly touted its role in standardizing the costs across companies – allowing the

companies to compare the “apples to apples” of its data analysis between competitors.

One presentation from Agri Stats spoke directly on this point, pointing out to industry


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participants that they could not undertake such a detailed cost analysis between

competitors without Agri Stats auditing and standardizing the data:




         75.      Agri Stats stated that to ensure data contained in the reports was accurate,

the participants had to “[A]gree on calculation and data collection procedures,” they must

“[d]etermine tolerance and outlier status and enforce,” they must “[h]ave an

administrator to compile the data and enforce procedures,” and most importantly, “[e]ach

participant has to commit.”

         2.       Agri Stats guaranteed to the co-conspirators that its competitors were
                  equally participating in the scheme.

         76.      A critical component of a functioning conspiracy is that the co-conspirators

must all provide information. Agreements to stabilize price and supply cannot be

enforced unless competitors know the actions of their competitors. Agri Stats ensured


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that the agreement between competitors was a two-way street. Its policy was that it would

not share the information of competitors if “someone [was] unwilling to share their own.”

         77.      For its program to be successful, Agri Stats has acknowledged that

“Industry participation must be high.” Each of the pork processor defendants

participated in the Agri Stats reports.

         78.      In a 2010 presentation, Agri Stats listed the following defendants as

receiving pork sales reports:




         79.      In a June 2010 e-mail, Josh Edwards, an Agri Stats employee provided a

detailed list of the companies that were currently providing Agri Stats with sales data.

The e-mail confirmed that Smithfield and Tyson were providing Agri Stats with sales



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data from all locations. Hatfield Quality Meats is a subsidiary of the Clemens Family

Corporation.




         80.      Even as Agri Stats provided defendants with detailed anticompetitive

information, it was reluctant to share similar information with governmental authorities.

In 2009, Agri Stats was approached by the Canadian Government to provide information

to the Canadian government. Agri Stats expressed great reluctance to the Canadian

Government about sharing the data. Stacey Edwards, an Agri Stats employee, wrote to

the Canadian Government that Agri Stats “data cannot be used in any sales and marketing

campaigns and must be kept and used for internal use only. Our data cannot be used in

any printed material or referenced/cited in publications.” Internally, Agri Stats expressed

great reluctance about sharing any data with the Canadian Government. Stacey Edwards

wrote to Greg Bilbrey that another Agri Stats employee was “concerned about US

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producers finding out that we are helping Canadian producers via the government.” Greg

Bilbrey agreed that “we cannot make things worse for our US companies.” Josh

Edwards of Agri Stats eventually recommended sending the Canadian Government only

one page of data from the processing book and that “if they want more, I would charge

them dearly for it and let them know that.”

         3.       Agri Stats acted as a gatekeeper, preventing public access to the
                  reports, ensuring that the conspiracy went undetected.

         81.      Agri Stats reports are not publicly available and are only made available to

companies that Agri Stats “feel[s] will use the data for the betterment of the industry and

the profitability of [its] customers.” This ensures that the information from Agri Stats is

available to only one side of the market – the pork processors, and not others involved in

the industry such as the customers of the pork. For example, a food retailer could not use

Agri Stats sales reports to negotiate lower prices from defendants because Agri Stats

would not give them access to such reports.

         82.      Agri Stats also limited the information that it provided to companies such

as agricultural supply or veterinarian services that purchased Agri Stats data (companies

viewed by Agri Stats as industry partners). In a presentation to Novartis Animal Health,

Agri Stats stated that these companies must maintain confidentiality over the material:




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         83.      By ensuring that only co-conspirators had access to these reports, Agri Stats

deprived all market participants of access to information (such as supply and pricing),

creating an information asymmetry. It ensured that the operations of this conspiracy went

undetected by the public, by class members, or by the direct purchasers of pork.

         Agri Stats reports were easily deanonymized by the pork processors.

         84.      While nominally anonymous, the reports contain such detailed figures

covering every aspect of pork production and sales that pork processors could accurately

identify the companies behind the metrics. For example, long-time industry insiders are

sufficiently familiar with each other to identify unique but recurring data points for other

companies, as well as identify the other companies by general metrics and size.




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         85.      Agri Stats disclosed to defendants who the other participants were in Agri

Stats, including identifying the specific plants that were participating. For example, Agri

Stats provided the following participant list as part of a June 2009 live review

presentation to DuBreton, a Canadian pork integrator, that identified the specific

companies and plants that were participating in Agri Stats:




         86.      Agri Stats also provided regular updates to defendants regarding either new

participants or companies no longer participating in the Agri Stats reports that would aid

in deanonymization efforts. For example, Agri Stats provided a September 2009 report to

Hormel relating to pork that identified three specific companies that were no longer

submitting data to Agri Stats while also stating that the report “added Maxwell Farms in




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Indiana.” This type of information would greatly aid defendants in deanonymization

efforts.

         87.      Moreover, Agri Stats knew that the anonymity of its system was

compromised by individuals who had gleaned knowledge of competitors’ identification

numbers, but failed to reassign numbers nonetheless.

         88.      Suppliers received as many as one dozen books of data at the end of each

quarter, augmented by smaller monthly update books featuring the latest year-to-date

information. Within these smaller monthly books, each supplier’s own rows of year-to-

date numbers were highlighted. In the front of each book, there were also markings

indicating whose numbers were inside the book. The front of the book also included

information indicating which other companies were represented in the data, though which

number represented each competitor was not revealed.

         89.      Agri Stats mailed the reports to customers. On occasion, Agri Stats shipped

a producer’s book to one of its competitors. At times, suppliers just kept their

competitors’ books for future reference, which as noted above revealed the identity of

that producer given that their numbers were highlighted by Agri Stats in their books.

         90.      Mobility within the meat production industries led to a situation where

many workers at most pork production operations knew the numbers of other regional

facilities, removing any anonymization of the data which existed. Agri Stats would hire

industry participants to work in their offices, and then they would return to the industry

knowing each of the allegedly “anonymous” numbers. Those working at Agri Stats

noticed this problem almost immediately but did nothing to fix it.

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          Agri Stats succeeded in orchestrating the pork conspiracy because it
          leveraged its success in the chicken industry, and because both industries are
          controlled by the same companies.

          91.     Every conspiracy has a beginning. Here, the beginnings of collusion

between the pork processors originated in the chicken industry. Agri Stats itself was

formed as a mechanism to disseminate sensitive business information between the

chicken processors. The success of defendants’ conspiracy to restrain the price and

supply of pork was almost assured from the start. First, Agri Stats had already been used

successfully by poultry producers to restrain the supply and price of chicken. Second,

many of the companies who used Agri Stats in the chicken market are also pork

processors.

          1.      Agri Stats is a repeat offender, playing a crucial role in a similar price-
                  fixing and supply constraint conspiracy in the sale of chickens.

          92.     Agri Stats began its business in 1985 as an “Agricultural Performance

Benchmarking business.” Agri Stats’ success originally came from the chicken industry,

where it touts that “[i]nitially, 100% of our focus was in developing and delivering a

system for the Broiler Chicken Industry.”

          93.     The role of Agri Stats in the chicken industry was revealed in the In re

Broiler Chicken Antitrust Litigation, No. 16-cv-08637 (N.D. Ill.). 8 In the chicken market,

Agri Stats collected and disseminated to the other members of the conspiracy

disaggregated financial information (such as monthly operating profit, sales and cost per

live pound), production volumes, capacity, slaughter information, inventory levels, sales


    8
        Broilers are chickens raised to be slaughtered before the age of 13 weeks.

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data for finished product form and type, amongst other pieces of competitively sensitive

business information. The Agri Stats reports contain line-by-line entries for plants, lines,

and yields of various broiler facilities. Agri Stats relied upon (and the co-conspirators

agreed to) a detailed audit process to verify the accuracy of data from each broiler

producer’s complex, sometimes directly contacting the broiler defendants to verify the

data. Agri Stats also provided detailed price reports to the broiler industry through its

subsidiary, Express Markets, Inc. or EMI. Agri Stats collected data from the broiler

producers on a weekly basis and provided its reports to broiler producers on a weekly and

monthly basis.

         94.      The detail of these reports ensured that competitors could quickly decode

the information of their erstwhile competitors. The Broiler complaints allege it was

common knowledge that the detail of the Agri Stats reports allowed any reasonably

informed producer to discern the identity of the competitors’ individual broiler

complexes. The broiler reports, in parts, contained so few producers participating that the

identities were obvious. Other reports contained such detailed data that it could be

matched with the publicly stated aggregate data for larger broiler defendants such as

Tyson. The complaints allege that Agri Stats purposefully circulated this information to

top executives to facilitate agreement on supply, constraints, and price.

         95.      In the broiler industry, it is also alleged that Agri Stats – known to its co-

conspirators to be a willing and informed conduit for illicit information exchanges – used

public and semi-public forums to convey messages to industry participants that furthered

the purposes of the conspiracy by reassuring conspirators that production cuts would

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continue, and by inducing them to continue to act in concert to ensure they did. Agri

Stats’ own statements in the broiler industry facilitated the implementation of the

agreement to restrict supply – where Agri Stats would transmit the intentions of the

broiler producers to restrict supply.

         96.      The district court noted, in denying the motions to dismiss in the In re

Broiler Chicken Antitrust Litigation, that given the nature of the Agri Stats reports, the

defendants are in fact sharing future anticipated production information with one another,

which suggests high antitrust concerns.9

         2.       The same companies own both chickens and pigs.

         97.      The second reason the pork conspiracy was more likely to succeed was

because of the overlapping ownership between pigs and chickens. Meat production in the

United States is highly consolidated and some of the largest processing companies own

both of these species. Some of the defendants in the Broiler antitrust litigation also

participated in the pork antitrust conspiracy, including: Agri Stats, Inc., JBS USA Food

Company (who owns Pilgrims – one of the largest broiler producers in the country), and

Tyson Foods, Inc. The overlapping interests of these entities allowed them to practice and

perfect their anticompetitive conduct in the broiler market before applying the most

effective anticompetitive tactics to the pork market. This helped ensure the success of the

pork conspiracy.




    9
    Memorandum Opinion and Order at 11, In re Broiler Chicken Antitrust Litigation,
No. 16-cv-08637 (N.D. Ill. Nov. 20, 2017), ECF No. 541.

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         Defendants’ conspiracy had its intended effect, with pork processors lowering
         supply during the class period both in the aggregate, and individually.

         98.      As demonstrated in the following chart, at several points during the class

period, the pork processors acted in a concerted way to decrease supply. In 2009, 2010,

and again in 2013, the pork industry cut production.

       Figure 1: U.S. Annual Commercial Hog Production by Weight, 2000-2017




         99.      Defendants engaged in a parallel round of production cuts in 2009 through

2010. Throughout this period, defendants made statements regarding their intentions to

either stabilize or decrease supply (although gave false reasons for this stabilization). For

example, in May 2009, Larry Pope, the CEO and President of Smithfield stated:

                  In terms of chronology of how I say we proactively managed
                  this business, in February of last year ‒ February of ‘08, not
                  February of ’09 ‒ we made the decision with the over-supply

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                  of livestock to take the leadership position and start
                  reducing our sow herds because we saw the overproduction
                  and the oversupplies of the hogs into the market, which was
                  driving our hog market down. We started a reduction of
                  50,000 sows and 1 million of our 18 million pigs, we started
                  taking out of the system.

         100.     Throughout 2009, pork industry participants noted the need to follow the

supply restrictions imposed in the broiler industry. For instance, in February 2009,

AgStar VP Mark Greenwood called on U.S. Pork producers to follow the lead of the

broiler and dairy industries by reducing production, noting that the U.S. pork industry

needed to reduce the sow herd by 5-10%, which at the low end would mean reducing the

nation’s sow herd by 300,000 sows.

         101.     By January 2009, Hormel had reduced its sow numbers from 63,000 to

54,000. In order to accomplish this reduction, Hormel sold sows in California and

switched farms to finishing.

         102.     In January 2009, Tyson stated that the capacity utilization for its pork

processing plants was 90% for the quarter, down from the previous year’s rate of 94%.

This indicated that Tyson was reducing the amount of pork that it processed in its plants.

Tyson stated that it would “continue to watch forward hog supplies and make

adjustments accordingly.”

         103.     In February 2009, Hormel stated that “we still do expect to see a reduction

in the supply of hogs in Fiscal 2009.” In response to an industry analyst question on

whether slaughter would be cut back, Hormel responded that “you look at the

opportunity to reduce your production numbers and we’ve certainly look[ed] for



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opportunities . . . where we could reduce the numbers that we had going through.”

Hormel further emphasized that “if there were free market hogs that normally we would

be bidding on, we’re not looking to take them in.”

         104.     In May 2009, Hormel emphasized that “We see a contraction in the overall

supply of hogs for the year but not as much as we’d originally anticipated. And I would

expect that prices will be somewhat less than last year, but higher than what we’ve seen

in the first half of the year.”

         105.     In May 2009, Tyson stated that its capacity utilization rate for its pork

processing plants for the quarter was 87%, down from the previous year’s rate of 90%.

Tyson described pork “supplies coming down” and that “the worldwide supplies of pork

are still down.”

         106.     In June 2009, Jody Feragen, Hormel’s CFO, stated at an investor

conference that “we reduced production in our basic processing for…pork.”

         107.     In June 2009, the CEO of Smithfield announced that Smithfield was going

to further reduce its swine herd by “3%, effective immediately.” The CEO emphasized

that the current cuts were not enough and more were needed to “fix” the hog industry and

that “Somebody else has got to do something”:

                  One of the things that we’re doing is managing what you can
                  do and the 3% relates to one of our operations and it’s our ‒
                  I’ll tell you, it’s our Texas operation that sells pigs to
                  Seaboard. Seaboard knows that. . . . That 3%, let me say that,
                  our 3% will not fix the hog industry. That part I’m
                  confident of. Somebody else has got to do something. We cut
                  13%. The first 10% didn’t fix it. I don’t think us going from
                  10 to 13 is going to fix the hog business.


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         108.     On the same conference call, Smithfield further explained that in order to

fulfil its long-term contractual commitments to Seaboard and others, it would buy pigs on

the open market to replace the sows that were being eliminated as a result of the hog

liquidation, and that this would reduce pigs for the whole industry: “Some of these long-

term contracts that people like Seaboard, so in actuality, we will reduce our sow numbers,

we will then buy pigs in the open market to replace those obligations and deliver the pigs

to Seaboard. So we will in effect reduce our exposure to the sow side and to that side of

the business, reduce pigs for the whole industry as well as ourselves and meet all of our

obligation.” Smithfield explained the substantial effect that its’ planned reduction would

have on Seaboard’s business: “In terms of those operations, they are, frankly, a large part

of Seaboard's business. We supply over 20 -- about 20% of Seaboard's raw material so

they're going to have to address that issue at some point down the road.” Smithfield’s

cutbacks therefore may reduce the amount of pork that was sold by Seaboard over the

long term.

         109.     In August 2009, Wesley Mendonca Batista, CEO of JBS, communicated

the start of JBS USA’s participation in hog liquidation efforts. Mr. Batista stated, “we are

seeting the start, we are seeing some increase in – not increase, we are seeing some more

[hog] liquidation. So we think we will continue to see the margin in the processing side

strong this whole year. But in the pork producers, it will be a real challenge for them,

producers for, in the next quarters.




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          110.    In August 2009, Steve Meyer, an economist at Paragon Economics,

subsequently acquired by Agi Stats, stated that “If we are to reduce output to drive prices

up, we must reduce the sow herd by a larger percentage than the productivity growth.”

          111.    In September 2009, the CEO of Smithfield stated that he had conversations

with “sizable large producers” and that they would be doing some liquidation:

                  We can’t solve the problem. But the answer to that is yes, I
                  have had conversations with several sizable, more than
                  sizable large producers, in fact very large producers, and I
                  would tell you they are doing some liquidation. But again, I
                  don’t think they can solve it.

                  I think this industry has got to solve it collectively. I do
                  believe everyone is now looking, and when I’m talking to
                  people who are financially extremely strong and they are
                  cutting back, that’s got to be a statement about those people
                  who are not financially strong. But the answer is, yes, there
                  are others cutting back. We’re not the only one.

          112.    Defendants responded to the encouragement from Smithfield to cut

production. During 2009, Triumph reduced the number of sows that it had from 396,000

to 371,500. In particular, Triumph reduced the number of sows by 14,500 at its

Christensen Facility; 4,000 at its New Fashion Pork Facility, 5,000 at its Eichelbarger

facility. Notably, Triumph and Seaboard have a longstanding marketing agreement where

hogs processed by Triumph were marketed by Seaboard.10 Thus, the reduction in supply




    10
     According to Seaboard’s 2010 Form 10-K, filed with the Securities and Exchange
Commission, “Seaboard’s Pork Division has an agreement with a similar size pork
processor, Triumph Foods LLC (Triumph), to market substantially all of the pork
products produced at Triumph’s plant in St. Joseph, Missouri.”

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of sows raised by Triumph may result in a reduction in the amount of pork that was sold

by Seaboard.

         113.     During 2009, Tyson reduced the number of sows that it had from 70,000 to

52,000. In particular, Tyson sold five farms and sent the sows to slaughter. Tyson’s 2009

10K report further stated that “we expect to see a gradual decline in hog supplies through

the first half of fiscal 2010, which will accelerate into the second half of fiscal 2010,

resulting in industry slaughter slightly higher than 2007 (or roughly 4% less than fiscal

2009).”

         114.     In November 2009, Hormel stated that “we’ve seen about a 2% liquidation”

in hogs.

         115.     In January 2010, Steve Meyer stated that the pork industry needed a 12%

reduction in order to restore the pork industry to profitability.

         116.     In March 2010, when asked about fourth quarter and 2011 volumes for

pork, Larry Pope, the CEO of Smithfield indicated that further cuts were still to come:

                  Hog volumes for the rest of the fiscal year. That’s going to
                  have the impact starting next fiscal year when there is going
                  to be 13,000 less. But I think we’ll pick up some of that in our
                  other operations. But I think 8,000 or 9,000 or 10,000 of those
                  a day will disappear from our operations and that represents
                  about 8% of our, 8% of the hogs will be down. That’s for also
                  the fresh pork side.




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          117.    On March 8, 2010, Wesley Mendonca Batista mentioned that there was a

reduction in hog supply and that combined with an increase in consumption in emergent

markets, this would result in “some shortage in protein going forward.”11

          118.    In August 2010, Hormel stated that “our hog supply is down 3 to 4%”12

          119.    The pork producers acknowledged access to information that allowed them

to know that the supply of pork would not be increasing. For example, in December

2010, Larry Pope, the CEO of Smithfield stated:

                  We certainly compare ourselves to our competitors as best we
                  can. Given the information we think we have public plus
                  what we think we know privately, how many they kill, what
                  their processing levels are and things like to. This is
                  information you may not quite have. And we have been
                  certainly impressed with how our competitors have been able
                  to achieve margins that we have not been able to achieve
                  because our fresh pork competes very competitively with
                  theirs.

Smithfield had access to competitively sensitive information from its competitors,

through the Agri Stats reports, which allowed it to know confidential supply information

from its competitors.

          120.    Supply level information regarding competitors allowed them to know that

supply would not increase in the future, given the lifecycles of the animals. In February

2011, Tyson’s chief operating officer (COO) stated:

                  I think there is still a widely held belief that our Beef and
                  Pork profitability isn’t sustainable. I want to again explain
                  why we don’t believe that is true. If we look at supply,

    11
         JBS Q2 2009 Earnings Conference Call (Mar. 8, 2010).
    12
         Hormel Q3 2010 earnings call.

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                  current cattle and hogs production levels can’t change much
                  in 2011 because of the limits of the animals’ lifecycles.

Again, the way to know the level of production in the industry would be through the

provision of competitively sensitive information by a competitor of Tyson.

         121.     When asked, in the face of ever-increasing margins, whether the type of

profits would continue, in March 2011, Smithfield publicly signaled to its competitors

that it would not increase capacity, even in the face of the clear profitability:

                  LARRY POPE: We closed last night at nearly $64 for hogs.
                  Yet we are projecting over the next 90 days we will be up
                  another 20% from that. I mean those are big numbers to get
                  the meat prices in the retail and food service case to cover
                  that. . . .

                  HEATHER JONES: So you are just striking a note of caution
                  because you know it can’t stay this way indefinitely; but it’s
                  not that you foresee this reversion to that norm over the near
                  term?

                  BO MANLY: I don’t see it on the horizon, on the foreseeable
                  horizon. We are still going to have ‒ should have good
                  margins, but I can’t believe ‒

                  LARRY POPE: Heather, we are sitting here today, we are
                  halfway ‒ closing in on halfway through our fourth quarter,
                  and we have had very good margins through February and
                  March, through today. We have got double-digit margins
                  today.

                  BO MANLY: It will correct itself over the long run, because
                  this type of return on investment would attract capital, would
                  attract expansion, and we kill more pigs and drive the margins
                  lower. So it will either happen by itself or someone is going
                  to build a plant.

                  HEATHER JONES: All right, okay. Thank you.

                  LARRY POPE: You get two-year visibility on that, though.
                  You get to know when somebody is building a plant because


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                  they have got to file for a permit and they have actually got to
                  build the thing. . . . And by the way, we are not going to build
                  a new plant to expand capacity.

         122.     In March 2012, the VP of Finance and chief accounting officer of

Smithfield stated that no one in the industry would be “real excited about adding

capacity” when the losses of 24 to 36 months ago were considered:

                  Nonetheless, you see some pretty significant fluctuations. Just
                  two weeks ago, I think we had ‒ there were rumors the
                  Chinese buying corn, and boom, all of a sudden the corn
                  market is up $0.20, $0.30. So there is some volatility there.
                  And what I would tell you is that keeps a lid on pork
                  production. The pork guys in the United States have not
                  forgotten 24 or 36 months ago when there were significant
                  losses in the industry. There is no one going to be real
                  excited about adding capacity, adding sows at a time when
                  we’ve got such volatility.

         123.     On May 15, 2013, Wesley Mendonça Batista of JBS emphasized that JBS

was able to maintain high margins through passing on higher prices on pork as a result of

limited supply, stating that “[i]n pork, given some restrictions in supply we have been

able to pass price through the system and we are seeing good margins in our pork

business.”

         Defendants’ conspiracy had the intended effect of raising prices of pork
         during the class period.

         124.     Beginning in 2009, the pork industry showed abnormal price movements,

i.e., increases prices for the average hog whole price unexplained by increases in costs.

All these pricing measurements show a significant break between pricing prior to 2009

and pricing after 2009, supporting the plausibility of a conspiracy to restrain prices of

pork. Plaintiffs have measured the various abnormal pricing movements in a number of


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ways, including: (i) the average live hog price, (ii) the pork cut-out composite price, (iii)

the pork processors’ margin during the class period; and (iv) the defendants’ revenues

before and during the class period.

         1.       The average hog wholesale price experienced an unprecedented
                  increase beginning in 2009.

         125.     According to aggregate prices published by the USDA, the hog market year

average price was at or below $50 every year between 1998 and 2009, before increasing

to $76.30 in 2015. The following graph shows the unprecedented increase in swine prices

beginning in 2009, and staying elevated through 2018:

           Figure 2: Average Hog Wholesale Prices in Cents per lbs, 2000-2018




As this figure demonstrates, pork wholesale prices increased in 2009 and 2014, and

continuously remained at this higher level compared to the years prior to 2009.




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         2.       The pork cut-out composite price experienced a dramatic increase
                  beginning in 2009 and continuing throughout the class period.

         126.     During the class period, and particularly between 2009 and 2018, various

pork products saw substantial increases in prices, compared with the pre-class period.

Using one particular price for pork, the pork cut-out composite price, plaintiffs have

performed a pricing analysis which shows that that pork cut-out composite prices

increased by 56 percent between January 2009 and December 2014, and by 18 percent

over the class period:

                           Figure 3: Pork Cut-Out Composite Price




         3.       Pork processors’ margin increased beginning in 2009 showing a
                  statistically significant break from the pre-class period.

         127.     During the class period, at the same time as hog prices were increasing,

pork integrator margins increased significantly. The change in integrator margins during

the class period shows a divergence from pricing trends prior to the class period – and


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shows that rising costs do not explain the increases in prices seen during the class period.

The following figure shows this increase in margin, retained by the defendant/co-

conspirators, using the pork cut-out composite and live hog cost on a “dressed weight”

basis (post slaughter and organ-removal weight):

           Figure 4: Hog-Composite Spread Widening During the Class Period




         128.     When tested, there is a statistically significant increase in the average hog-

composite spread before the class period, when compared to during the class period:




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    Figure 5: Statistically Significant Break in Hog-Composite Spread Comparing
                             Before and During Class Period




         4.       Defendants’ revenues increased beginning in 2009, even taking into
                  account defendant-specific costs.

         129.     For two of the largest defendants, Tyson and Smithfield, plaintiffs

examined the spread between pork revenue and pork-related costs (costs of goods sold +

operating costs), as a proxy for measuring the spread between a defendant’s price of

wholesale pork and their hog costs. This measurement accounts for defendant-specific

operating costs. This analysis confirms the beginning of abnormal pricing in 2009, where

there was a divergence in revenue and costs beginning at the start of the class period in

2009.

         130.     The following chart shows a break in revenues and costs around the start of

the class period in 2009 for Tyson:




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              Figure 6: Tyson’s Revenues vs Costs, March 2002 to March 2018




         131.     The same analysis for Smithfield shows a similar break in revenues and

costs beginning at the start of the class period:

           Figure 7: Smithfield’s Revenues vs Costs, January 2004 to June 2016




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         132.     These analyses of the spread between costs and prices confirm one essential

fact – that rising costs do not explain the increases in price seen during the class period.

         5.       Overcharges due to the cartel were passed through to the indirect
                  purchaser class.

         133.     The USDA has stated that high levels of market concentration allow the

largest participants to extract more of the economic value from food transactions, but

“consumers typically bear the burden, paying higher prices for goods of lower quality.”

         134.     As a matter of economic principle, firms must recover the short-run

variable costs of production when they price their products for the market, which

ultimately get passed to consumers in the form of higher retail prices. For a firm to be

profitable, the firm must recover its marginal cost of production. In a perfectly

competitive market, firms price at marginal cost and when marginal costs increase, the

cost increases are passed through to the consumer 1:1 or at a 100 percent pass through

rate. As a general matter, the pass through rate will be determined by the relative

elasticities of supply and demand. When demand is inelastic (as it is for pork) the pass

through rate is closer to 100 percent.

         135.     The Bureau of Labor Statistics tracks commonly purchased products in its

Consumer Price Index (CPI). Those prices show that the retail price of pork has increased

substantially for consumers over the class period. For example, the price of a pound of

bacon has increased from $3.57 at the end of 2009 to $5.60 at the end of 2017:




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 Figure 8: CPI-Average Price Data for Bacon, Sliced, per pound, from 1995 to 2017




         136.     Similarly, the CPI index for other pork products, excluding canned ham and

luncheon slices, show a marked increase over the class period, moving from $2.05 per

pound at the end of 2009 to $2.65 at the end of 2017:

  Figure 9: CPI-Average Price Data for Other Pork, per pound, from 1995 to 2017




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         137.     And the CPI index for another commonly purchased consumer item, ham,

shows an increase from $2.15 at the end of 2009 to $2.91 at the end of 2017:

      Figure 10: CPI-Average Price Data for Ham, per pound, from 1995 to 2017




         138.     Given these market conditions, the overcharge due to defendants’

anticompetitive agreement to stabilize the price and supply of pork was passed on to the

end consumers, the plaintiffs and classes here.

         The structure of the pork processing industry allowed the conspiracy to
         succeed.

         139.     Several unique characteristics of the pork processing industry facilitated the

success of this conspiracy. First, the industry is nearly fully vertically integrated, meaning

that fewer competitors exist and making it easier to collude on price. Second, the pork

processing industry is highly concentrated, making an agreement on price and supply far

easier for the co-conspirators. Third, barriers to entry kept other possible competitors out

of the pork industry.




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         1.       The pork industry is nearly fully vertically integrated, which allowed
                  the scheme to succeed.

         140.     The processing of pig meat can loosely be divided into three stages: hog

production, hog processing/intermediate pork processing and further processing. The

pork industry is almost completely vertically integrated, with four major producers

controlling 75 percent of pork integration. The defendants are commonly known as

“contractors” or “integrators” who contract production of their hogs out to independent

growers. Integration is so pervasive that major producers are commonly called pork or

swine integrators by the industry, government, analysts and academics.

         141.     In 2014, Smithfield had approximately 500 company-owned farms and

approximately 2,190 contract farms in the United States. Smithfield described its

arrangement with contract farms as follows:

                  Under our contract farm arrangements, contract farmers
                  provide the initial facility investment, labor and frontline
                  management in exchange for fixed service fees to raise hogs
                  produced from our breeding stock under agreements typically
                  ranging between five and ten years. We retain ownership of
                  the hogs raised by our contract farmers. In 2014,
                  approximately 76% of Smithfield’s hogs produced in the U.S.
                  were finished on contract farms.

         142.     Fully integrated companies have broad control over production processes,

and near-total operational discretion in deciding how much to produce and when. Under

these contracts, the pork processors pay only fixed service fees to the farmers, who bear

all the investment costs of the hog raising facilities. The pork integrator, here Smithfield,

retains ownership of the hogs at all points in time. This arrangement essentially converts




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independent farmers that own their livestock into contract employees that perform

services for the pork-packing industry.

         143.     The following diagram shows the path for pork from birth through sale to

consumers:

                         Figure 11: Value Chain of U.S. Pork Market
                                                p




         144.     Under economic theory, vertical integration can have anticompetitive

effects because there are fewer firms competing at all levels, which renders it easier to

collude on price. The following table lists defendants that have significant operations

(>=5% market share in at least two stages of the value chain:




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                                                Hog processing and
                                  Hog           intermediate pork         Further Pork
           Defendant
                               Production       processing/packing         Processing

           Smithfield                                                         

               Tyson                                                            

              Triumph                                    

              Seaboard                                   

              Hormel                                                            

         2.       The level of concentration in the pork industry was optimal for the
                  alleged collusive scheme.

         145.     The level of concentration in the pork industry rested in an ideal zone for

collusion. Because the industry was dominated by a relative handful of processors, it was

feasible to manipulate price through an agreement among the relatively few dominant

players, whose market power greatly simplified the organizational complexity of the

price-fixing agreement. Further, because none of the largest producers were capable of

independently controlling price through their own production, such an agreement was

necessary to inflate price.

         146.     Prior to and in the beginning of the class period, the pork industry

underwent a period of unprecedented concentration, resulting in a small number of pork

processors controlling a large amount of market share. Between 1988 to 2015, the top

four pork processors (Smithfield, Tyson, JBS and Hormel) increased their market share

from 34 percent in 1988 to just under 70 percent by 2015. The top eight integrators had

market share exceeding 80 percent for the entire class period:



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              Figure 12: Market Share of Top 8 Pork Processors 1991 to 2017




         147.     The hog production sector is horizontally concentrated (only a few

companies buy, slaughter and process the majority of hogs) and vertically integrated

(pork packers have tight contractual relationships with hog producers throughout all

stages of production). Some pork packers also produce hogs themselves. Meatpacking

concentration levels are among the highest of any industry in the United States, and well

above levels generally considered to elicit non-competitive behavior and result in adverse

economic performance.

         148.     In July 2015, JBS USA announced it would be acquiring Cargill’s pork

business for $1.45 billion. The acquisition joined the third and fourth largest pork

packing companies to surpass Tyson and became the second largest hog processor in the

United States, behind only Smithfield.

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         149.     The acquisition completed in October 2015 and resulted in further

consolidation in the industry. The resulting pork business had pro forma net revenue of

approximately US$6.3 billion, and a processing capacity of about 90,000 hogs per day

and two million pounds of bacon per week. After the acquisition closed, the new JBS-

Cargill entity was twice as large as the next largest pork integrator (Hormel) and four

times larger than the fifth and sixth largest firms (Triumph and Seaboard, each with under

five percent of the national slaughter capacity).

         150.     The following timeline summarizes notable mergers between pork

processors since 1995 which lead to an increased market concentration:

                       Figure 13: History of Mergers and Acquisitions




         151.     The following chart shows the high levels of market concentration during

the class period, as well as the stability of each defendants’ share:




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            Figure 14: Market Concentration and Market Share Stability –
                    U.S. Market Share by Hog Slaughter Capacity




         152.     Market stability is consistent with an agreement to fix prices, as is greater

instability before or after a conspiracy. The following figure shows that there was a

substantial drop in market share volatility during the class period:




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   Figure 15: Standard Deviation of Combined Defendant Market Share Pre- and
                               Within Class Period




         153.     The Herfindahl-Hirschman index (HHI) is a commonly accepted

measurement of market concentration. The HHI for hog processing and intermediate pork

processing is 1,838 which exceeds the DOJ threshold for a “moderately concentrated

industry.” This HHI value exceeds the concentration levels for similar industries, as

demonstrated in the following chart:

                                      Industry                   HHI (value)

                        Hog processing and intermediate pork         1,838
                                    processing

                         Animal (except poultry) slaughtering        1,085

                            Meat processed from carcasses             332

                       Rendering and meat byproduct processing        673

                   All other miscellaneous food manufacturing         284


         154.     The concentration level in the pork industry was optimal for collusion. WH

Group Limited, the parent company of Smithfield, characterized the U.S. market pork

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industry as “relatively mature and concentrated.” Both of these factors – maturity and

concentration – make an industry more susceptible to collusion.

         3.       Barriers to entry helped to keep competitors out of the pork
                  integration market and ensure the success of the conspiracy.

         155.     Barriers to entry kept competitors out of the pork integration industry. New

entry into pork processing is costly and time consuming. In order to slaughter and process

hogs on an industrial scale, a slaughtering plants needs to be constructed. The cost to

design and build a 140,000 square foot plant with industry-standing packing equipment

and a slaughter capacity of 2,500 hogs a day is estimated at $33 million. In 2012, it cost

Cargill $25 million just to expand an existing facility. Large capital outlays such as these

can limit market entry, as it can be difficult for new firms to raise this sort of capital.

         Defendants actively concealed the conspiracy and plaintiffs did not and could
         not have discovered defendants’ anticompetitive conduct.

         156.     Plaintiffs and the members of the classes had neither actual nor constructive

knowledge of the facts constituting their claim for relief. Plaintiffs and members of the

classes did not discover, and could not have discovered through the exercise of

reasonable diligence, the existence of the conspiracy alleged herein until shortly before

filing this complaint. Defendants engaged in a secret conspiracy that did not reveal facts

that would put plaintiffs or the classes on inquiry notice that there was a conspiracy to fix

prices for pork. Throughout the class period, defendants effectively, affirmatively, and

fraudulently concealed their unlawful combination and conspiracy from plaintiffs and

class members.




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         157.     The combination and conspiracy alleged herein was fraudulently concealed

by defendants by various means and methods, including but not limited to secret

meetings, surreptitious communications between defendants by the use of the telephone

or in-person meetings in order to prevent the existence of written records, limiting any

explicit reference to competitor pricing or supply restraint communications on

documents, communicating competitively sensitive data to one another through Agri

Stats - a “proprietary, privileged, and confidential” system that kept both the content and

participants in the system secret, and concealing the existence and nature of their

competitor supply restraint and price discussions from non-conspirators (including

customers).

         158.     Agri Stats is a highly secretive company. Although it admits it does “have a

website but there is very little information about us there as we do no advertising.”

         159.     In 2009, the President of Agri Stats, Bryan Snyder, commented on how

secretive the true nature of Agri Stats was when he stated:

                  Agri Stats has always been kind of a quiet company. There’s
                  not a whole lot of people that know a lot about us obviously
                  due to confidentiality that we try to protect. We don’t
                  advertise. We don’t talk about what we do. It’s always kind
                  of just in the background, and really our specialty is working
                  directly with companies about their opportunities and so
                  forth.

         160.     At the same 2009 presentation, when discussing “bottom line numbers” (a

company’s net earnings), Mr. Snyder declined to display those numbers publicly, stating

“I’m not going to display the actual bottom line to the group here just because of the

confidentiality nature of the information.” And yet, despite refusing to show this


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information publicly, Agri Stats provided producers with the “bottom line numbers” of

their competitors on a regular basis via the reports discussed above. These statements

acted to conceal the true detail and nature of the Agri Stats reports from Plaintiffs and the

public in general.

         161.     Larry Pope, the CEO of Smithfield, made similar references to secret

information in December 2010, explaining that he was confident pork supplies would not

be increasing in the market, based on “the information we think we have public plus what

we think we know privately, how many they kill, what their processing levels are and

things like [that]. This is information you may not quite have.”

         162.     At other times, Defendants attributed the stability in the pork market to

other reasons such as “good programs with our retailers” and “lower grain costs.” As

Larry Pope, stated in June 2012:

                  KEN ZASLOW: What evidence do you have to actually give
                  you some confidence that fresh pork margins will improve
                  sequentially throughout the year?

                  LARRY POPE: Strong exports, $71 hog today, good
                  programs with our retailers, and lower grain cost in the future
                  and a futures market that says the hog market's going to be
                  fine. I guess beyond that, you've got chicken and beef that are
                  going to be down significantly.

                  BO MANLY: And I think there is also some optimism that
                  the US consumer may have some greater disposable income
                  from less gasoline prices and improvement in the economy.

         163.     Not until recently was the fact of the pork industry’s use of Agri Stats

widely known or reported. An investigative article published in February 2017 by

Bloomberg Businessweek suggested the conspiracy that began among broiler producers


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and Agri Stats was being replicated in the pork industry.13 The article reported that Agri

Stats:

                  [H]as . . . been branching out into the hog business, which
                  has, over the past 30 years, started to look more and more like
                  the chicken industry, with hogs being raised under contract
                  for vertically integrated companies such as Smithfield Foods.
                  It appears that demand for the service is strong. At a hog
                  industry trade show in 2011, an Agri Stats employee pitched
                  the company’s services. His slideshow indicated that 27
                  companies had already signed up.14

While Bloomberg Businessweek article did not conclude that pork producers were

engaged in a horizontal conspiracy, it did suggest for the first time in a widely circulated

article that the pork industry may have been using Agri Stats as a vehicle for collusion

similar to the Broiler industry.

          164.    Only after the filing of a February 7, 2018, Second Consolidated and

Amended Complaint by the End User Plaintiff Class in the In Re Broiler Chicken

Antitrust Litigation, Case No. 1:16-cv-08637 (N.D. Ill.), was there a comprehensive

presentation of the full scope of the confidential services that Agri Stats’ provides to its

clients in the Broiler industry.

          165.    The filing of this amended complaint, along with the February 2017 article

by Bloomberg Businessweek disclosing the pork industry’s use of Agri Stats, collectively




    13
      See Christopher Leonard, Is the Chicken Industry Rigged?, Bloomberg
Businessweek (Feb. 15, 2017), https://www.bloomberg.com/news/features/2017-02-
15/is-the-chicken-industry-rigged.
    14
         Id.

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disclosed the likelihood that the pork industry was using Agri Stats to share confidential

industry information that could facilitate an anticompetitive conspiracy.

         166.     Defendants’ anticompetitive conspiracy, by its very nature, was self-

concealing. Pork is not exempt from antitrust regulation, and thus, before these recent

events plaintiffs reasonably considered it to be a competitive industry. Accordingly, a

reasonable person under the circumstances would not have been alerted to begin to

investigate the legitimacy of defendants’ pork prices before these recent events.

         167.     By virtue of the fraudulent concealment of their wrongful conduct by

defendants and all of their co-conspirators, the running of any statute of limitations has

been tolled and suspended with respect to any claims and rights of action that plaintiffs

and the other class members have as a result of the unlawful combination and conspiracy

alleged in this complaint.

 IV.      PLAINTIFFS ALLEGE VIOLATIONS UNDER BOTH THE PER SE AND
              RULE OF REASON STANDARDS OF THE SHERMAN ACT

         168.     This action alleges that the defendants’ coordinated horizontal conduct was

a per se violation of the federal and state antitrust and consumer protection laws. In the

alternative, plaintiffs also allege that under Section 1 of the Sherman Act and the various

state laws, defendants’ agreement to unlawfully exchange competitively sensitive

information amongst pork processors violates the rule of reason.

         169.     Defendants ostensibly compete in the Pork industry for sales of pork to

customers. The agreement, to exchange competitively sensitive information through Agri

Stats, has enabled defendants to reduce competition in the market for pork.



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         1.       The Unlawful Agreements

         170.     The Pork processors agreed with Agri Stats to reciprocally exchange

competitively sensitive business information, including information regarding production

levels and sales of pork. As alleged above, each of the defendants subscribed to the Agri

Stats service.

         171.     Agri Stats knew that its service only had value if it had sufficient

participation from the market. Thus, Agri Stats reached out to the pork processors to

encourage them to participate in its data-sharing operation. In 2008, Greg Bilbrey of Agri

Stats told swine industry producers that “Each and every commercial swine operation is

encouraged to participate in some benchmarking effort.”

         172.     Agri Stats emphasized to pork producers that the goal of the conspiracy

(and the agreement to share information) was profitability, not production, and invited

pork producers again, to participate in the benchmarking. Agri Stats emphasized that “We

must remember that the ultimate goal is increasing profitability – not always increasing

the level of production.” Furthermore, Agri Stats told the industry that “[e]ach swine

production company should be participating in some type of benchmarking. To gain

maximum benefit, production, cost and financial performance should all be part of the

benchmarking program.”

         173.     In April 2009, Agri Stats again openly encouraged swine producers to

participate in the benchmarking effort led by Agri Stats. Greg Bilbrey of Agri Stats stated

that “though all producers may not be part of or fit into an Agri Stats type benchmarking

program, all producers could participate in benchmarking in some way. Commercial


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benchmarking opportunities are available. Producer groups could design and operate

their own benchmarking effort.”

         174.     Each Defendant entered into an agreement with Agri Stats to participate in

benchmarking efforts. Each and every Defendant identified in their initial disclosures

specific executives that were responsible for transmitting data to and from Agri Stats

relating to pork pricing, supply, slaughter, inventory, export, or production levels.

     Clemens: Joshua Rennels (Treasurer, Clemens Food Group)

     Hormel: Paul Bogle (Director, Cost Accounting)

     Indiana Packers: Mark McCain (Director, Global Sales), David Murray (Vice
      President, Procurement), Galen Stiverson (Controller)

     JBS: Garry Albright (Head of Business Analysis), Kevin Arnold (Head of
      Finance), Jamie Fosbery (Analyst), Raven Goodlow (Business Analyst), Robbie
      Kearns (Business Analyst), Lisa Peters (Business Analyst), Eli Zoske (Cost
      Accountant)

     Seaboard: Damon Ginther (Senior Director of Business Data & Analytics), Mel
      Davis (VP of Hog Procurement and Bio-Energy, Tom Dye (Operations Controller)

     Smithfield: Aimee Ward (Director, Hog Finance), Kent Hilbrands (Sr. Director,
      Operations Finance), Elizabeth Barger (Data Analyst)

     Triumph: Matt England (Chief Integrated Business Strategy Officer), Ken Grannas
      (Director Inventory/Reporting), Tom French (Director, Margin Management), Joe
      Diebold (Chief Financial Officer), Dan Marlow (Corporate Controller)

     Tyson: Deb McConnell (Division Controller)




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         2.       Defendants’ information exchanges had the likely effect of harming
                  competition.

                  a.     Defendants have market power in the market for pork.

         175.     One tool that courts use to assess the competitive effects of concerted

action is defining a relevant market – the zone of competition among the agreeing rivals

in which the agreement may affect competition. A relevant market contains both a

product dimension (the “product market”) and a geographic dimension (the “geographic

market”). The case concerns the sale of pork for meat consumption in the United States.

         176.     There is a single market for pork for meat consumption. Prices for pork

sold in the United States are quoted generally in disassembled parts, with adjustments for

transportation, product form (i.e., degree of processing or added value), and packaging at

the time of sale.

         177.     The relevant geographic market is the United States.

                  b.     There are high barriers to entry in the market for pork for meat
                         consumption.

         178.     As alleged above, high barriers to entry in the pork processing market exist,

precluding other entrants or would-be competitors from entering the market for hogs

raised for consumption.

                  c.     The defendants have market power in the market for pork for
                         meat consumption.

         179.     The integrator defendants possess market power in the market for pork for

consumption. Defendants and their co-conspirators control 80 percent of the market for

pork for meat consumption.



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         3.       The market for pork is the type of market where the information
                  exchanges orchestrated by Agri Stats are likely to harm competition.

         180.     Competition is likely to be harmed when competitors with market power in

concentrated markets, such as the market at issue, directly exchange strategic information

about current and forward-looking plans for prices and supply. The strategic information

exchanged between the defendants was competitively sensitive and a material factor in

negotiations. Price, capacity, supply and costs are crucial aspects of competition. When

Defendants that are competing for the same customers exchange their strategic plans,

comfort replaces uncertainty and reduces incentives to lower price or compete on other

aspects of sales of pork.

         181.     The information exchange took place in private settings and involved the

exchange of confidential, non-public information.

         182.     The market for pork is characterized by numerous attributes that mean the

type of information exchange facilitated by Agri Stats are particularly likely to have

anticompetitive effects. In particular, the market for pork features relatively few sellers,

fungible product, price-based competition, inelastic demand, and a trend toward price

uniformity.

                  a.    The pork market features few sellers

         183.     The pork market is highly concentrated, with relatively few sellers. The

defendants control over 80 percent of pork slaughter facilities. WH Group Limited, the

parent company of Smithfield, characterized the U.S. market pork industry as “relatively




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mature and concentrated.” The presence of few companies supports the inference that a

conspiracy to exchange information had the intended effect of restraining competition.

                  b.     Pork is a fungible market

         184.     One of the distinct characteristics of the pork industry is its fungibility, also

known as the ability to be freely exchangeable or replaceable in whole or in part. Existing

studies have highlighted that pork is highly standardized characterized as a fungible

industry as a whole. For example, the International Trade Commission relied on evidence

that U.S. pork and Canadian pork are heavily fungible in a case regarding pork imports

from Canada.

         185.     As one scholar wrote, “consider the market for fungible goods, like pork

bellies...[in this market] prices from different sellers should be truly simple to compare

because, by definition, what they are selling is identical. From whom should Smithfield

Farms buy pork bellies for the bacon it makes? Why the cheapest seller, if those bellies

are in fact the same.”

         186.     Indeed, the Agri Stats reports themselves show that pork is fungible

because they aggregate data across Defendants for particular types of pork products and

allow Defendants to compare detailed information on prices for the same fungible

product.

                  c.     The pork market features price-based competition

         187.     Pork is a commodity market that faces price-based competition. For

example, Arnold Drung, the president of Conestoga Meat Packers e-mailed Brian Snyder,




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an Agri Stat executive, that “Based on Agristats data, we know”… that “all further

processors look to purchase commodity items at the lowest price possible.”

                  d.    Demand for pork is relatively inelastic

          188.    Price elasticity of demand (PED) is a measure used to quantify the degree

to which quantity demand for a good or service changes with respect to price.15 A PED

value between 0 and -1 indicates there is inelastic demand for the good or service, i.e., a 1

percent increase in price induces a less than 1 percent decrease in quantity demanded.

The average PED estimate for the pork market was -0.64 – meaning the demand for pork

is inelastic.

                  e.    The pork market features a trend towards price uniformity.

          189.    Collusion becomes easier for manufacturers of a homogenous product

when prices are the only way in which products can be differentiated from one another.

Pork loins, bacon, ribs, and other pork products are produced on a commercial scale and

sold in supermarkets. For example, pork loin from Tyson and Smithfield are virtually

indistinguishable, with similar nutritional values, branding and packaging. These

products are highly substitutable, making it easier for competing firms to reach an

agreement on a common pricing structure.16 The Pork Checkoff program, administered


    15
      See, e.g., Jeffrey M. Perloff, Microeconomics with Calculus, 28-31 (2d Ed.);
Patrick L. Anderson,. et al., Price Elasticity of Demand (Nov. 13, 1997),
https://scholar.harvard.edu/files/alada/files/price_elasticity_of_demand_handout.pdf;
Gadi Fibich, Arieh Gavious & Oded Lowengart, The Dynamics of Price Elasticity of
Demand in the Presence of Reference Price Effects, 33 J. Academy Mktg. Science 66-78
(2005), available at http://www.math.tau.ac.il/~fibich/Manuscripts/elasticity_JAMS.pdf.
    16
     See Preventing and Detecting Bid Rigging, Price Fixing, and Market Allocation in
Post-Disaster Rebuilding Projects, The United States Department of Justice,

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by the National Pork Board established by Congress, has stated that “U.S. pork

production and pig prices vary in a predictable manner during the calendar year.”

         4.       Defendants’ information exchanges corrupted the competitive process.

         190.     Agri Stats specifically marketed its services to the Pork defendants as a

mechanism to “improve the bottom line profitability for all participants by providing

accurate & timely comparative data”, such as shown in the below slide from a 2010

presentation that Agri Stats gave to Hormel.




https://www.justice.gov/atr/preventing-and-detecting-bid-rigging-price-fixing-and-
market-allocation-post-disaster-rebuilding (“The more standardized a product is, the
easier it is for competing firms to reach agreement on a common price structure. It is
much harder to agree on other forms of competition, such as design, features, quality, or
service.”) (last visited Aug. 16, 2018); Marc Ivaldi. et al., The Economics of Tacit
Collusion (March 2003),
http://ec.europa.eu/competition/mergers/studies_reports/the_economics_of_tacit_collusio
n_en.pdf.

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         191.     Thus, Agri Stats services provided defendant participants a way to mutually

improve their profits by avoiding the natural market-based competition over things such

as price that would lower their profits to the benefit of consumers.

         192.     A common saying in the Agri Stats circle is “you cannot produce your way

to the top of the page.” Rather, Agri Stats has stated that “the ultimate goal is increasing

profitability.”

         193.     And indeed, Defendants used the strategic information obtained through the

Agri Stats and Express Markets reports to reduce the uncertainty that they each should

have faced from not knowing what their competitors were doing in the market. This

strategic information was a material factor in their decisions to reduce supply while




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raising the price of pork. Thus, this knowledge tainted what should have been their

independent decisions about the supply and price of pork.

         194.     Defendants’ unlawful information exchanges through Agri Stats and

Express Markets were not reasonably necessary to further any procompetitive purpose.

The information directly and privately shared between high-level executives was

disaggregated, company specific, current, confidential, and related to core characteristics

of competition between them.

                             V.     JURISDICTION AND VENUE

         195.     Plaintiffs bring this action under Section 16 of the Clayton Act (15 U.S.C.

§ 26) to secure injunctive relief against defendants for violating Section 1 of the Sherman

Act (15 U.S.C. § 1). Plaintiffs also bring these state law class claims on behalf of all the

classes to recover actual and/or compensatory damages, double and treble damages as

permitted, pre- and post-judgment interest, costs, and attorneys’ fees for the injury caused

by defendants’ conduct in restricting the supply of pork and increasing the price of pork.

Plaintiffs seek damages in excess of $5,000,000. This Court has subject matter

jurisdiction under 28 U.S.C. §§ 1331, 1337, and Sections 4 and 16 of the Clayton Act, 15

U.S.C. §§ 15(a) and 26.

         196.     Venue is appropriate in this District under 28 U.S.C. § 1391(b), (c) and (d)

because one or more defendants resided or transacted business in this District, is licensed

to do business or is doing business in this District, and because a substantial portion of

the affected interstate commerce described herein was carried out in this District.




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         197.     This Court has personal jurisdiction over each defendant because, inter alia,

each defendant: (a) transacted business throughout the United States, including in this

District; (b) manufactured, sold, shipped, and/or delivered substantial quantities of pork

throughout the United States, including in this District; (c) had substantial contacts with

the United States, including in this District; and/or (d) engaged in an antitrust conspiracy

that was directed at and had a direct, foreseeable, and intended effect of causing injury to

the business or property of persons residing in, located in, or doing business throughout

the United States, including in this District.

         198.     The activities of the defendants and all co-conspirators, were within the

flow of, were intended to, and did have direct, substantial, and reasonably foreseeable

effects on, the foreign and interstate commerce of the United States.

                                        VI.     PARTIES

         Plaintiffs

         199.     Plaintiff Borhan Ishani Afoosi was a resident at all relevant times of

Glendale, Arizona. During the Class Period and while residing in Arizona, plaintiff

Afoosi indirectly purchased pork and pork products for his own use and not for resale

that was produced by one or more defendants or their co-conspirators. Plaintiff Afoosi

suffered injury as a result of defendants’ conduct alleged herein.

         200.     Plaintiff Michael Anderson was a resident at all relevant times of Peoria,

Arizona. During the Class Period and while residing in Arizona, plaintiff Anderson

indirectly purchased pork and pork products for his own use and not for resale that was




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produced by one or more defendants or their co-conspirators. Plaintiff Anderson suffered

injury as a result of defendants’ conduct alleged herein.

         201.     Plaintiff Rebekah Kingsley was a resident at all relevant times of

Bentonville, Arkansas. During the Class Period and while residing in Arkansas, plaintiff

Kingsley indirectly purchased pork and pork products for her own use and not for resale

that was produced by one or more defendants or their co-conspirators. Plaintiff Kingsley

suffered injury as a result of defendants’ conduct alleged herein.

         202.     Plaintiff Sandra Steffen was a resident at all relevant times of Camarillo,

California. During the Class Period and while residing in California, plaintiff Steffen

indirectly purchased pork and pork products for her own use and not for resale that was

produced by one or more defendants or their co-conspirators. Plaintiff Steffen suffered

injury as a result of defendants’ conduct alleged herein.

         203.     Plaintiff Michael Pickett was a resident at all relevant times of the District

of Columbia. During the Class Period and while residing in Washington, DC, plaintiff

Pickett indirectly purchased pork and pork products for his own use and not for resale

that was produced by one or more defendants or their co-conspirators. Plaintiff Pickett

suffered injury as a result of defendants’ conduct alleged herein.

         204.     Plaintiff Lisa Axelrod is currently a resident of Hillsboro Beach, Florida. At

all times between 2009 and approximately March 2018 Plaintiff Lisa Axelrod resided in

North Hollywood, California. During the Class Period and while residing in California

and Florida, plaintiff Axelrod indirectly purchased pork and pork products for her own

use and not for resale that was produced by one or more defendants or their co-

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conspirators. Plaintiff Axelrod suffered injury as a result of defendants’ conduct alleged

herein.

          205.    Plaintiff David Look was a resident at all relevant times of Honolulu,

Hawaii. During the Class Period and while residing in Hawaii, plaintiff Look indirectly

purchased pork and pork products for his own use and not for resale that was produced by

one or more defendants or their co-conspirators. Plaintiff Look suffered injury as a result

of defendants’ conduct alleged herein.

          206.    Plaintiff Joseph Realdine was a resident at all relevant times of Haleiwa,

Hawaii. During the Class Period and while residing in Hawaii, plaintiff Realdine

indirectly purchased pork and pork products for his own use and not for resale that was

produced by one or more defendants or their co-conspirators. Plaintiff Realdine suffered

injury as a result of defendants’ conduct alleged herein.

          207.    Plaintiff Ryan Kutil was a resident at all relevant times of Champaign,

Illinois. During the Class Period and while residing in Illinois, plaintiff Kutil indirectly

purchased pork and pork products for his own use and not for resale that was produced by

one or more defendants or their co-conspirators. Plaintiff Kutil suffered injury as a result

of defendants’ conduct alleged herein.

          208.    Plaintiff Kory Bird was a resident at all relevant times of Des Moines,

Iowa. During the Class Period and while residing in Iowa, plaintiff Bird indirectly

purchased pork and pork products for his own use and not for resale that was produced by

one or more defendants or their co-conspirators. Plaintiff Bird suffered injury as a result

of defendants’ conduct alleged herein.

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         209.     Plaintiff Barbara Brueggemann was a resident at all relevant times of

Shawnee, Kansas. During the Class Period and while residing in Kansas, plaintiff

Brueggemann indirectly purchased pork and pork products for her own use and not for

resale that was produced by one or more defendants or their co-conspirators. Plaintiff

Brueggemann suffered injury as a result of defendants’ conduct alleged herein.

         210.     Plaintiff Duncan Birch was a resident at all relevant times of Scarborough,

Maine. During the Class Period and while residing in Maine, plaintiff Birch indirectly

purchased pork and pork products for his own use and not for resale that was produced by

one or more defendants or their co-conspirators. Plaintiff Birch suffered injury as a result

of defendants’ conduct alleged herein.

         211.     Plaintiff Paul Glantz was a resident at all relevant times of Agawam,

Massachusetts. During the Class Period and while residing in Massachusetts, plaintiff

Glantz indirectly purchased pork and pork products for his own use and not for resale that

was produced by one or more defendants or their co-conspirators. Plaintiff Glantz

suffered injury as a result of defendants’ conduct alleged herein.

         212.     Plaintiff Jordan Chambers was a resident at all relevant times of Decatur,

Michigan. During the Class Period and while residing in Michigan, plaintiff Chambers

indirectly purchased pork and pork products for his own use and not for resale that was

produced by one or more defendants or their co-conspirators. Plaintiff Chambers suffered

injury as a result of defendants’ conduct alleged herein.

         213.     Plaintiff Robert Eccles was a resident at all relevant times of Carleton,

Michigan. During the Class Period and while residing in Michigan, plaintiff Eccles

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indirectly purchased pork and pork products for his own use and not for resale that was

produced by one or more defendants or their co-conspirators. Plaintiff Eccles suffered

injury as a result of defendants’ conduct alleged herein.

         214.     Plaintiff Jennifer Sullivan was a resident at all relevant times of Elk River,

Minnesota. During the Class Period and while residing in Minnesota, plaintiff Sullivan

indirectly purchased pork and pork products for her own use and not for resale that was

produced by one or more defendants or their co-conspirators. Plaintiff Sullivan suffered

injury as a result of defendants’ conduct alleged herein.

         215.     Plaintiff Anbessa Tufa was a resident at all relevant times of New Hope,

Minnesota. During the Class Period and while residing in Minnesota, plaintiff Tufa

indirectly purchased pork and pork products for his own use and not for resale that was

produced by one or more defendants or their co-conspirators. Plaintiff Tufa suffered

injury as a result of defendants’ conduct alleged herein.

         216.     Plaintiff Susan McCullough was a resident at all relevant times of

Hernando, Mississippi. During the Class Period and while residing in Mississippi,

plaintiff Mississippi indirectly purchased pork and pork products for her own use and not

for resale that was produced by one or more defendants or their co-conspirators. Plaintiff

McCullough suffered injury as a result of defendants’ conduct alleged herein.

         217.     Plaintiff Kenneth King was a resident at all relevant times of Winfield,

Missouri. During the Class Period and while residing in Missouri, plaintiff King

indirectly purchased pork and pork products for his own use and not for resale that was




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produced by one or more defendants or their co-conspirators. Plaintiff King suffered

injury as a result of defendants’ conduct alleged herein.

         218.     Plaintiff Craig Thomsen was a resident at all relevant times of Wayne,

Nebraska. During the Class Period and while residing in Nebraska., plaintiff Thomsen

indirectly purchased pork and pork products for his own use and not for resale that was

produced by one or more defendants or their co-conspirators. Plaintiff Thomsen suffered

injury as a result of defendants’ conduct alleged herein.

         219.     Plaintiff Alika Naehu was a resident at all relevant times of Las Vegas,

Nevada. During the Class Period and while residing in Nevada, plaintiff Naehu indirectly

purchased pork and pork products for her own use and not for resale that was produced

by one or more defendants or their co-conspirators. Plaintiff Naehu suffered injury as a

result of defendants’ conduct alleged herein.

         220.     Plaintiff Wanda Duryea was a resident at all relevant times of Farmington,

New Hampshire. During the Class Period and while residing in New Hampshire, plaintiff

Duryea indirectly purchased pork and pork products for her own use and not for resale

that was produced by one or more defendants or their co-conspirators. Plaintiff Duryea

suffered injury as a result of defendants’ conduct alleged herein.

         221.     Plaintiff Michael Reilly was a resident at all relevant times of Albuquerque,

New Mexico. During the Class Period and while residing in New Mexico, plaintiff Reilly

indirectly purchased pork and pork products for his own use and not for resale that was

produced by one or more defendants or their co-conspirators. Plaintiff Reilly suffered

injury as a result of defendants’ conduct alleged herein.

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         222.     Plaintiff Edwin Blakey was a resident at all relevant times of New Windsor,

New York. During the Class Period and while residing in New York, plaintiff Blakey

indirectly purchased pork and pork products for his own use and not for resale that was

produced by one or more defendants or their co-conspirators. Plaintiff Blakey suffered

injury as a result of defendants’ conduct alleged herein.

         223.     Plaintiff Jeffrey Allison was a resident at all relevant times of Brooklyn,

New York. During the Class Period and while residing in New York, plaintiff Allison

indirectly purchased pork and pork products for his own use and not for resale that was

produced by one or more defendants or their co-conspirators. Plaintiff Allison suffered

injury as a result of defendants’ conduct alleged herein.

         224.     Plaintiff Kenneth Neal was a resident at all relevant times of Salisbury,

North Carolina. During the Class Period and while residing in North Carolina, plaintiff

Neal indirectly purchased pork and pork products for his own use and not for resale that

was produced by one or more defendants or their co-conspirators. Plaintiff Neal suffered

injury as a result of defendants’ conduct alleged herein.

         225.     Chad Nodland was a resident at all relevant times of Bismarck, North

Dakota. During the Class Period and while residing in North Dakota, plaintiff Nodland

indirectly purchased pork and pork products for his own use and not for resale that was

produced by one or more defendants or their co-conspirators. Plaintiff Nodland suffered

injury as a result of defendants’ conduct alleged herein.

         226.     Plaintiff Chris Deery was a resident at all relevant times of Fargo, North

Dakota. During the Class Period and while residing in North Dakota, plaintiff Deery

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indirectly purchased pork and pork products for his own use and not for resale that was

produced by one or more defendants or their co-conspirators. Plaintiff Deery suffered

injury as a result of defendants’ conduct alleged herein.

         227.     Plaintiff Laura Wheeler was a resident at all relevant times of Middletown,

Rhode Island. During the Class Period and while residing in Rhode Island, plaintiff

Wheeler indirectly purchased pork and pork products for her own use and not for resale

that was produced by one or more defendants or their co-conspirators. Plaintiff Wheeler

suffered injury as a result of defendants’ conduct alleged herein.

         228.     Plaintiff Christina Hall was a resident at all relevant times of York, South

Carolina. During the Class Period and while residing in South Carolina, plaintiff Hall

indirectly purchased pork and pork products for her own use and not for resale that was

produced by one or more defendants or their co-conspirators. Plaintiff Hall suffered

injury as a result of defendants’ conduct alleged herein.

         229.     Plaintiff Chase Hoke was a resident at all relevant times of Sparta,

Tennessee. During the Class Period and while residing in Tennessee, plaintiff Hoke

indirectly purchased pork and pork products for his own use and not for resale that was

produced by one or more defendants or their co-conspirators. Plaintiff Hoke suffered

injury as a result of defendants’ conduct alleged herein.

         230.     Plaintiff Donya Collins was a resident at all relevant times of Midvale,

Utah. During the Class Period and while residing in Utah, plaintiff Collins indirectly

purchased pork and pork products for her own use and not for resale that was produced




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by one or more defendants or their co-conspirators. Plaintiff Collins suffered injury as a

result of defendants’ conduct alleged herein.

         231.     Thomas Cosgrove was a resident at all relevant times of Vergennes,

Vermont. During the Class Period and while residing in Vermont, plaintiff Cosgrove

indirectly purchased pork and pork products for his own use and not for resale that was

produced by one or more defendants or their co-conspirators. Plaintiff Cosgrove suffered

injury as a result of defendants’ conduct alleged herein.

         232.     Plaintiff Rebecca Green Watson was a resident at all relevant times of

Leesburg, Virginia. During the Class Period and while residing in Virginia, plaintiff

Watson indirectly purchased pork and pork products for her own use and not for resale

that was produced by one or more defendants or their co-conspirators. Plaintiff Watson

suffered injury as a result of defendants’ conduct alleged herein.

         233.     Plaintiff Charles Dye was a resident at all relevant times of Mount Lookout,

West Virginia. During the Class Period and while residing in West Virginia, plaintiff Dye

indirectly purchased pork and pork products for his own use and not for resale that was

produced by one or more defendants or their co-conspirators. Plaintiff Dye suffered

injury as a result of defendants’ conduct alleged herein.

         Defendants

         234.     Agri Stats, Inc. is an Indiana corporation located in Fort Wayne, Indiana

and is a subsidiary of Eli Lilly & Co. Throughout the Class Period, Agri Stats acted as a

co-conspirator of the pork integrator-defendants by facilitating the exchange of




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confidential, proprietary, and competitively sensitive data among defendants and their co-

conspirators.

         235.     Clemens Food Group, LLC is a limited-liability company headquartered in

Hatfield, Pennsylvania and is a wholly owned subsidiary of The Clemens Family

Corporation. During the class period, Clemens and/or its predecessors, wholly owned or

controlled subsidiaries, or affiliates sold pork in interstate commerce, directly or through

its wholly owned or controlled affiliates, to purchasers in the United States.

         236.     Hatfield Quality Meats, Inc. is a wholly owned subsidiary of The Clemens

Family Corporation. Hatfield Quality Meats is headquartered in Hatfield, Pennsylvania.

During the class period, Hatfield Quality Meats and/or its predecessors, wholly owned or

controlled subsidiaries, or affiliates sold pork in interstate commerce, directly or through

its wholly owned or controlled affiliates, to purchasers in the United States.

         237.     Hormel Foods Corporation is a Delaware corporation engaged in the

production of meat and food products, and the marketing of these products. Hormel is

headquartered in Austin, Minnesota. During the Class Period, Hormel Foods Corporation

and/or its predecessors, wholly owned or controlled subsidiaries, or affiliates sold pork in

interstate commerce, directly or through its wholly owned or controlled affiliates, to

purchasers in the United States.

         238.     Indiana Packers Corporation is an Indiana corporation engaged in the

production of meat and food products, and the marketing of these products. Indiana

Packers is headquartered in Delphi, Indiana and is wholly owned and controlled by

Mitsubishi Corporation (Americas). During the Class Period, Indiana Packers and/or its

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predecessors, wholly owned or controlled subsidiaries, or affiliates sold pork in interstate

commerce, directly or through its wholly owned or controlled affiliates, to purchasers in

the United States.

         239.     JBS USA Food Company is a subsidiary of JBS USA Food Company

Holdings and is a Delaware corporation, headquartered in Greeley, Colorado. It is one of

the world’s largest beef and pork processing companies. During the Class Period, JBS

USA Food Company and/or its predecessors, wholly owned or controlled subsidiaries, or

affiliates sold pork in interstate commerce, directly or through its wholly owned or

controlled affiliates, to purchasers in the United States.

         240.     Seaboard Foods LLC, a wholly owned subsidiary of Seaboard Corporation,

is a limited-liability company headquartered in Shawnee Mission, Kansas. During the

Class Period, Seaboard and/or its predecessors, wholly owned or controlled subsidiaries,

or affiliates sold pork in interstate commerce, directly or through its wholly owned or

controlled affiliates, to purchasers in the United States.

         241.     Smithfield Foods, Inc. is incorporated in the Commonwealth of Virginia,

and an indirect wholly owned subsidiary of WH Group Limited, the largest pork

company in the world. Smithfield Foods is headquartered in Smithfield, Virginia. During

the Class Period, Smithfield Foods, Inc. and/or its predecessors, wholly owned or

controlled subsidiaries, or affiliates sold pork in interstate commerce, directly or through

its wholly owned or controlled affiliates, to purchasers in the United States.

         242.     Triumph Foods, LLC is a limited-liability company headquartered in St.

Joseph, Missouri. During the class period, Triumph Foods and/or its predecessors, wholly

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owned or controlled subsidiaries, or affiliates sold pork in interstate commerce, directly

or through its wholly owned or controlled affiliates, to purchasers in the United States.

         243.     Tyson Foods, Inc. is a publicly traded Delaware corporation headquartered

in Springdale, Arkansas. It wholly owns and controls two subsidiaries, Tyson Prepared

Foods, Inc. and Tyson Fresh Meats Inc. that slaughter and sell pork products. During the

Class Period, Tyson Foods, Inc. and/or its predecessors, wholly owned or controlled

subsidiaries, or affiliates sold pork in interstate commerce, directly or through its wholly

owned or controlled affiliates, to purchasers in the United States.

         244.     Tyson Fresh Meats Inc. is a Delaware corporation that operates as a

subsidiary of Tyson Foods, Inc. During the Class Period, Tyson Prepared Foods, Inc.

and/or its predecessors, wholly owned or controlled subsidiaries, or affiliates sold pork in

interstate commerce, directly or through its wholly owned or controlled affiliates, to

purchasers in the United States.

         245.     Tyson Prepared Foods, Inc. is a Delaware corporation that operates as a

subsidiary of Tyson Foods, Inc. During the Class Period, Tyson Prepared Foods, Inc.

and/or its predecessors, wholly owned or controlled subsidiaries, or affiliates sold pork in

interstate commerce, directly or through its wholly owned or controlled affiliates, to

purchasers in the United States.

                           VII.   CLASS ACTION ALLEGATIONS

         246.     Plaintiffs bring this action on behalf of themselves, and as a class action

under the Federal Rules of Civil Procedure, Rule 23(a), (b)(2) and (b)(3), seeking

injunctive relief pursuant to federal law, and damages pursuant to various state antitrust,


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unfair competition, unjust enrichment, and consumer protection laws of the states listed

below on behalf of the members of the following classes:

              A.       Nationwide Injunctive Relief class: All persons and entities who
                       indirectly purchased pork from Defendants or co-conspirators for personal
                       use in the United States during the Class Period.

              B.       Arizona class: All persons and entities who indirectly purchased pork
                       from Defendants or co-conspirators for personal use in Arizona during the
                       Class Period.

              C.       California class: All persons and entities who indirectly purchased pork
                       from Defendants or co-conspirators for personal use in California during
                       the Class Period.

              D.       District of Columbia class: All persons and entities who indirectly
                       purchased pork from Defendants or co-conspirators for personal use in the
                       District of Columbia during the Class Period.

              E.       Florida class: All persons and entities who indirectly purchased pork
                       from Defendants or co-conspirators for personal use in Florida during the
                       Class Period.

              F.       Hawaii class: All persons and entities who indirectly purchased pork
                       from Defendants or co-conspirators for personal use in Hawaii during the
                       Class Period.

              G.       Illinois class: All persons and entities who indirectly purchased pork
                       from Defendants or co-conspirators for personal use in Illinois during the
                       Class Period.

              H.       Iowa class: All persons and entities who indirectly purchased pork from
                       Defendants or co-conspirators for personal use in Iowa during the Class
                       Period.

              I.       Kansas class: All persons and entities who indirectly purchased pork
                       from Defendants or co-conspirators for personal use in Kansas during the
                       Class Period.

              J.       Maine class: All persons and entities who indirectly purchased pork from
                       Defendants or co-conspirators for personal use in Maine during the Class
                       Period.

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              K.       Massachusetts class: All persons and entities who indirectly purchased
                       pork from Defendants or co-conspirators for personal use in
                       Massachusetts during the Class Period.

              L.       Michigan class: All persons and entities who indirectly purchased pork
                       from Defendants or co-conspirators for personal use in Michigan during
                       the Class Period.

              M. Minnesota class: All persons and entities who indirectly purchased pork
                 from Defendants or co-conspirators for personal use in Minnesota during
                 the Class Period.

              N.       Mississippi class: All persons and entities who indirectly purchased pork
                       from Defendants or co-conspirators for personal use in Mississippi during
                       the Class Period.

              O.       Missouri class: All persons and entities who indirectly purchased pork
                       from Defendants or co-conspirators for personal use in Missouri during
                       the Class Period.

              P.       Nebraska class: All persons and entities who indirectly purchased pork
                       from Defendants or co-conspirators for personal use in Nebraska during
                       the Class Period.

              Q.       Nevada class: All persons and entities who indirectly purchased pork
                       from Defendants or co-conspirators for personal use in Nevada during the
                       Class Period.

              R.       New Hampshire class: All persons and entities who indirectly purchased
                       pork from Defendants or co-conspirators for personal use in New
                       Hampshire during the Class Period.

              S.       New Mexico class: All persons and entities who indirectly purchased
                       pork from Defendants or co-conspirators for personal use in New Mexico
                       during the Class Period.

              T.       New York class: All persons and who indirectly purchased pork from
                       Defendants or co-conspirators for personal use in New York during the
                       Class Period.




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              U.       North Carolina class: All persons and entities who indirectly purchased
                       pork from Defendants or co-conspirators for personal use in North
                       Carolina during the Class Period.

              V.       North Dakota class: All persons and entities who indirectly purchased
                       pork from Defendants or co-conspirators for personal use in North Dakota
                       during the Class Period.

              W. Rhode Island class: All persons and entities who indirectly purchased
                 pork from Defendants or co-conspirators for personal use in Rhode Island
                 during the Class Period.

              X.       South Carolina class: All persons and entities who indirectly purchased
                       pork from Defendants or co-conspirators for personal use in South
                       Carolina during the Class Period.

              Y.       Tennessee class: All persons and entities who indirectly purchased pork
                       from Defendants or co-conspirators for personal use in Tennessee during
                       the Class Period.

              Z.       Utah class: All persons and entities who indirectly purchased pork from
                       Defendants or co-conspirators for personal use in Utah during the Class
                       Period.

              AA. Virginia: All persons and entities who indirectly purchased pork from
                  Defendants or co-conspirators for personal use in Virginia during the
                  Class Period.

              BB. West Virginia: All persons and entities who indirectly purchased pork
                  from Defendants or co-conspirators for personal use in West Virginia
                  during the Class Period.

         247.      Specifically excluded from these classes are the defendants; the officers,

directors or employees of any defendant; any entity in which any defendant has a

controlling interest; and any affiliate, legal representative, heir or assign of any

defendant. Also excluded from these classes are any federal, state or local governmental

entities, any judicial officer presiding over this action and the members of his/her

immediate family and judicial staff, any juror assigned to this action, and any co-

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conspirator identified in this action. Further excluded from the classes and National

Injunctive Relief Class are purchasers of value-added products not manufactured,

supplied or processed by defendants, or otherwise not under the control of defendants.

         248.     Class Identity: The above-defined classes are readily identifiable and is one

for which records should exist.

         249.     Numerosity: Plaintiffs do not know the exact number of class members

because such information presently is in the exclusive control of defendants, retailers,

resellers and other entities in the supply chain of pork. Plaintiffs believe that due to the

nature of the trade and commerce involved, there are thousands of class members

geographically dispersed throughout the United States, such that joinder of all class

members is impracticable.

         250.     Typicality: Plaintiffs’ claims are typical of the claims of the members of the

classes because plaintiffs purchased pork indirectly from one or more of the defendants

for personal use, and therefore plaintiffs’ claims arise from the same common course of

conduct giving rise to the claims of the classes and the relief sought is common to the

classes.

         251.     Common Questions Predominate: There are questions of law and fact

common to the classes, including, but not limited to:

              A. Whether defendants and their co-conspirators engaged in an agreement,
                 combination, or conspiracy to fix, raise, elevate, maintain, or stabilize
                 prices of pork sold in interstate commerce in the United States;

              B. The identity of the participants of the alleged conspiracy;




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              C. The duration of the conspiracy alleged herein and the acts performed by
                 defendants and their co-conspirators in furtherance of the conspiracy;

              D. Whether the alleged conspiracy violated the antitrust and consumer
                 protection laws of the various states;

              E. Whether the conduct of defendants and their co-conspirators, as alleged in
                 this Complaint, caused injury to the business or property of the plaintiffs
                 and the other members of the classes;

              F. The effect of defendants’ alleged conspiracy on the prices of pork sold in
                 the United States during the Class Period;

              G. Whether plaintiffs and other members of the classes are entitled to, among
                 other things, injunctive relief and if so, the nature and extent of such
                 injunctive relief; and

              H. The appropriate class-wide measure of damages.

These and other questions of law or fact, which are common to the members of the

classes, predominate over any questions affecting only individual members of the classes.

         252.     Adequacy: Plaintiffs will fairly and adequately protect the interests of the

classes in that plaintiffs’ interests are aligned with, and not antagonistic to, those of the

other members of the classes who indirectly purchased pork from defendants and

plaintiffs have retained counsel competent and experienced in the prosecution of class

actions and antitrust litigation to represent themselves and the classes.

         253.     Superiority: A class action is superior to other available methods for the fair

and efficient adjudication of this controversy since individual joinder of all damaged

members of the classes is impractical. Prosecution as a class action will eliminate the

possibility of duplicative litigation. The relatively small damages suffered by individual

members of the classes compared to the expense and burden of individual prosecution of


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the claims asserted in this litigation means that, absent a class action, it would not be

feasible for members of the classes to seek redress for the violations of law herein

alleged. Further, individual litigation presents the potential for inconsistent or

contradictory judgments and would greatly magnify the delay and expense to all parties

and to the court system. Therefore, a class action presents far fewer case management

difficulties and will provide the benefits of unitary adjudication, economy of scale and

comprehensive supervision by a single court.

          254.    The prosecution of separate actions by individual members of the classes

would create the risk of inconsistent or varying adjudications, establishing incompatible

standards of conduct for defendants.

          255.    Plaintiffs bring the classes on behalf of all persons similarly situated

pursuant to Rule 23, on behalf of all persons and entities that, as residents of various

states, indirectly purchased one or more pork products that a defendant or co-conspirator

produced for personal use during the respective class periods.

          256.    Defendants have acted on grounds generally applicable to the classes,

thereby making final injunctive relief appropriate with respect to the classes as a whole.

                                   VIII. ANTITRUST INJURY

          257.    Defendants’ anticompetitive conduct had the following effects, among

others:

              A. Price competition has been restrained or eliminated with respect to pork;

              B. The prices of pork have been fixed, raised, stabilized, or maintained at

                  artificially inflated levels;


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              C. Indirect purchasers of pork have been deprived of free and open

                  competition; and

              D. End-user consumers of pork who indirectly purchased pork for personal

                  use, including plaintiffs, paid artificially inflated prices.

         258.     The pork that Plaintiffs and class members purchased was in substantially

the same form as when they were initially sold by defendants. As a result, the pork

follows a traceable physical chain from defendants to plaintiffs and class members, and

the overcharges on pork can be traced from defendants to plaintiffs and class members.

         259.     As a matter of economic principle, firms must recover the short-run

variable costs of production when they price their products for the market, which

ultimately get passed to consumers, plaintiffs and class members here, in the form of

higher retail prices. When demand is inelastic, as it is for pork, the pass-through rate to

end users is at or near 100 percent.

         260.     Consequently, while the direct purchasers were the first to pay supra-

competitive prices, the overcharge was passed along the distribution chain and absorbed

by plaintiffs and class members when they purchased the pork for personal use.

         261.     Commonly used and well-accepted economic models can be used to

measure both the extent and the amount of the supra-competitive charge passed through

the chain of distribution to end-user consumers. Thus, the economic harm to plaintiffs

and the class member can be quantified.

         262.     The purpose of the conspiratorial conduct of defendants and their co-

conspirators was to raise, fix, or maintain the price of pork and, as a direct and

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foreseeable result. Plaintiffs and the classes paid supra-competitive prices for pork during

the Class Period.

         263.     By reason of the alleged violations of the antitrust laws, plaintiffs and the

classes have sustained injury to their businesses or property, having paid higher prices for

pork than they would have paid in the absence of defendants’ illegal contract,

combination, or conspiracy and as a result have suffered damages.

         264.     This is an antitrust injury of the type that the antitrust laws were meant to

punish and prevent.

                                  IX.    CAUSES OF ACTION

                           VIOLATION OF THE SHERMAN ACT

                             FIRST CLAIM FOR RELIEF
                VIOLATION OF SECTION 1 OF THE SHERMAN ACT
           15 U.S.C. § 1 FOR CONSPIRACY TO RESTRAIN PRODUCTION
                     (ON BEHALF OF NATIONWIDE CLASS FOR
                       INJUNCTIVE AND EQUITABLE RELIEF)

         265.     Plaintiffs incorporate and reallege, as though fully set forth herein, each and

every allegation set forth in the preceding paragraphs of this Complaint.

         266.     Beginning at a time currently unknown to plaintiffs, but at least as early as

January 1, 2009, and continuing through the present, the exact dates being unknown to

plaintiffs, defendants and their co-conspirators entered into a continuing agreement,

understanding, and conspiracy in restraint of trade artificially to fix, raise, and stabilize

price for pork in the United States, in violation of Section 1 of the Sherman Act (15

U.S.C. § 1).




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         267.     In formulating and carrying out the alleged agreement, understanding, and

conspiracy, defendants and their co-conspirators did those things that they combined and

conspired to do, including but not limited to the acts, practices, and course of conduct set

forth above, and the following, among others:

              A. Fixing, raising, and stabilizing the price of pork; and

              B. Allocating among themselves and collusively reducing the production of

                  pork.

         268.     The combination and conspiracy alleged herein has had the following

effects, among others:

                  A. Price competition in the sale of pork has been restrained, suppressed,

                       and/or eliminated in the United States;

                  B. Prices for pork sold by defendants and all of their co-conspirators have

                       been fixed, raised, maintained and stabilized at artificially high, non-

                       competitive levels throughout the United States; and

                  C. Those who purchased pork indirectly from defendants and their co-

                       conspirators for their personal use have been deprived of the benefits of

                       free and open competition.

         269.     Plaintiffs and members of the classes have been injured and will continue to

be injured in their businesses and property by paying more for pork purchased indirectly

from the defendants and their co-conspirators for their personal use than they would have

paid and will pay in the absence of the combination and conspiracy.




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         270.     Plaintiffs and members of the classes are entitled to an injunction against

defendants, preventing and restraining the violations alleged herein.

                           SECOND CLAIM FOR RELIEF
                VIOLATION OF SECTION 1 OF THE SHERMAN ACT
          15 U.S.C. § 1 FOR CONSPIRACY TO EXCHANGE COMPETITIVE
                                 INFORMATION
                     (ON BEHALF OF NATIONWIDE CLASS FOR
                       INJUNCTIVE AND EQUITABLE RELIEF)

         271.     Plaintiffs incorporate and reallege, as though fully set forth herein, each and

every allegation set forth in the preceding paragraphs of this Complaint.

         272.     Beginning at a time currently unknown to plaintiffs, but at least as early as

January 1, 2009, and continuing through the present, the exact dates being unknown to

plaintiffs, defendants and their co-conspirators entered into a continuing agreement to

regularly exchange detailed, timely, competitively sensitive and non-public information

about their operations. This agreement is an unreasonable restraint of trade in violation of

Section 1 of the Sherman Act, 15 U.S.C. § 1.

         273.     The relevant product market is pork and the relevant geographic market is

the continental United States.

         274.     Defendant Processors possess market power in the Relevant Market.

Defendant Processors control more than 80 percent of the Relevant Market. Defendant

Processors’ collective market power includes the power to artificially deflate the amount

of pork produced in the United States below competitive levels and to artificially inflate

the price Plaintiffs pay for pork above competitive levels.




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         275.     An increase in the price of Pork could be imposed collectively by the

Defendants without causing many consumers to switch their purchases to another

product. Pork constitutes a unique product market.

         276.     Defendants view the pork products as fungible. Pork products are generally

interchangeable, permitting Defendant Processors to readily to compare and match each

other’s pricing.

         277.     The information regularly exchanged by Defendants pursuant to the

agreement has consisted of detailed, competitively sensitive and non-public information

about current supply, production and pricing plans regarding pork. The information

exchanges specifically included the exchange through Agri Stats of weekly and monthly

reports regarding Defendants’ pork operations, including weekly sales data that allowed

Defendants to compare their prices with their competitors and raise prices that were

lower.

         278.     Defendants’ regular information exchanges through Agri Stats reflected

concerted action between horizontal competitors in the market for pork.

         279.     Each Defendant Integrator furnished competitively sensitive information to

other Defendant Integrators with the understanding that it would be reciprocated. Agri

Stats enforced this understanding by requiring Defendants to share data in order to

receive comparable data.

         280.     The agreement to regularly exchange detailed and non-public information

about current production, supply, and pricing suppressed competition between the




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Defendants. Agri Stats specifically identified for Defendants “opportunities” where their

pricing was lower than other Defendants and where they could raise their prices to match.

         281.      When defendants that are competing for the same consumers exchange

competitive information, it reduces the incentives to compete on price. Accordingly,

Defendants used the data obtained through Agri Stats to reduce the uncertainty that they

each should have faced from not knowing what their competitors were offering and

providing in the pork market. This strategic information was a material factor in

Defendant Processors’ decisions to inflate the prices that Plaintiffs paid for pork during

the class period.

         282.     Defendants’ unlawful agreements to exchange, and the actual exchanges of

nonpublic, timely, and detailed data were not reasonably necessary to further any

procompetitive purpose. The information exchanged between Defendants was current,

easily traceable to its source, confidential, and related to a core characteristic of

competition between them.

         283.     The information-exchange agreement has had the effect of (1) reducing and

suppressing competition among Defendants in the market for pork in the United States

and (2) inflating the prices of pork during the Class Period.

         284.     As a result of the unlawful agreement alleged herein to exchange

information, Plaintiffs and the other Class Members have been injured in their business or

property by paying artificially inflated prices for pork during the Class Period.




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                       VIOLATIONS OF STATE ANTITRUST LAWS

         285.     Plaintiffs incorporate by reference the allegations in the preceding

paragraphs.

         286.     The following claims for relief are pleaded under the antitrust laws of each

jurisdiction identified below on behalf of the indicated class.

                      THIRD CLAIM FOR RELIEF
        VIOLATION OF ARIZONA’S UNIFORM STATE ANTITRUST ACT,
                   ARIZ. REV. STAT. § 44-1401, ET SEQ.
                 (ON BEHALF OF THE ARIZONA CLASS)

         287.     Plaintiffs incorporate and reallege, as though fully set forth herein, each and

every allegation set forth in the preceding paragraphs of this complaint.

         288.     By reason of the conduct alleged herein, defendants have violated Arizona

Rev. Stat. § 44-1401, et seq.

         289.     Defendants entered into a contract, combination, or conspiracy between two

or more persons in restraint of, or to monopolize, trade or commerce in the pork market, a

substantial part of which occurred within Arizona.

         290.     Defendants established, maintained, or used a monopoly, or attempted to

establish a monopoly, of trade or commerce in the pork market, a substantial part of

which occurred within Arizona, for the purpose of excluding competition or controlling,

fixing, or maintaining prices in the pork market.

         291.     Defendants’ violations of Arizona law were flagrant.

         292.     Defendants’ unlawful conduct substantially affected Arizona’s trade and

commerce.



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         293.     As a direct and proximate cause of defendants’ unlawful conduct, plaintiffs

and members of the Arizona Class have been injured in their business or property and are

threatened with further injury.

         294.     By reason of the foregoing, plaintiffs and members of the Arizona Class are

entitled to seek all forms of relief available under Arizona Revised Statute § 44-1401, et

seq.

                           FOURTH CLAIM FOR RELIEF
                  VIOLATION OF CALIFORNIA’S CARTWRIGHT ACT,
                      CAL. BUS. & PROF. CODE § 16700, ET SEQ.
                     (ON BEHALF OF THE CALIFORNIA CLASS)

         295.     Plaintiffs incorporate and reallege, as though fully set forth herein, each and

every allegation set forth in the preceding paragraphs of this Complaint.

         296.     The California Business & Professions Code generally governs conduct of

corporate entities. The Cartwright Act, Cal. Bus. & Prof. Code §§ 16700-16770, governs

antitrust violations in California.

         297.     California policy is that “vigorous representation and protection of

consumer interests are essential to the fair and efficient functioning of a free enterprise

market economy,” including by fostering competition in the marketplace. Cal. Bus. &

Prof. Code § 301.

         298.     Under the Cartwright Act, indirect purchasers have standing to maintain an

action based on the facts alleged in this Complaint. Cal. Bus. & Prof. Code § 16750(a).

         299.     A trust in California is any combination intended for various purposes,

including but not limited to creating or carrying out restrictions in trade or commerce,



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limiting or reducing the production or increasing the price of merchandise, or preventing

competition in the market for a commodity. Cal. Bus. & Prof. Code § 16720. Every trust

in California is unlawful except as provided by the Code. Id. at § 16726.

         300.     Plaintiffs purchased pork within the State of California during the Class

Period. But for defendants’ conduct set forth herein, the price per pound of pork would

have been lower, in an amount to be determined at trial.

         301.     Defendants enacted a combination of capital, skill or acts for the purpose of

creating and carrying out restrictions in trade or commerce, in violation of Cal. Bus. &

Prof. Code § 16700, et seq.

         302.     Plaintiffs and members of the California Class were injured in their

business or property, with respect to purchases of pork in California and are entitled to all

forms of relief, including recovery of treble damages, interest, and injunctive relief, plus

reasonable attorneys’ fees and costs.

                       FIFTH CLAIM FOR RELIEF
        VIOLATION OF THE DISTRICT OF COLUMBIA ANTITRUST ACT,
                       D.C. CODE § 28-4501, ET SEQ.
            (ON BEHALF OF THE DISTRICT OF COLUMBIA CLASS)

         303.     Plaintiffs incorporate and reallege, as though fully set forth herein, each and

every allegation set forth in the preceding paragraphs of this Complaint.

         304.     The policy of District of Columbia Code, Title 28, Chapter 45 (Restraints

of Trade) is to “promote the unhampered freedom of commerce and industry throughout

the District of Columbia by prohibiting restraints of trade and monopolistic practices.”




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         305.     Plaintiffs purchased pork within the District of Columbia during the Class

Period. But for defendants’ conduct set forth herein, the price per pound of pork would

have been lower, in an amount to be determined at trial.

         306.     Under District of Columbia law, indirect purchasers have standing to

maintain an action under the antitrust provisions of the D.C. Code based on the facts

alleged in this Complaint, because “any indirect purchaser in the chain of manufacture,

production or distribution of goods . . . shall be deemed to be injured within the meaning

of this chapter.” D.C. Code § 28-4509(a).

         307.     Defendants contracted, combined or conspired to act in restraint of trade

within the District of Columbia, and monopolized or attempted to monopolize the market

for pork within the District of Columbia, in violation of D.C. Code § 28-4501, et seq.

         308.     Plaintiffs and members of the District of Columbia Class were injured with

respect to purchases of pork in the District of Columbia and are entitled to all forms of

relief, including actual damages, treble damages, and interest, reasonable attorneys’ fees

and costs.

                                 SIXTH CLAIM FOR RELIEF
                       VIOLATION OF THE ILLINOIS ANTITRUST ACT,
                         740 ILL. COMP. STAT. ANN. 10/3(1), ET SEQ.
                           (ON BEHALF OF THE ILLINOIS CLASS)

         309.     Plaintiffs incorporate and reallege, as though fully set forth herein, each and

every allegation set forth in the preceding paragraphs of this Complaint.

         310.     The Illinois Antitrust Act, 740 ILCS 10/1, et seq., aims “to promote the

unhampered growth of commerce and industry throughout the State by prohibiting



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restraints of trade which are secured through monopolistic or oligarchic practices and

which act or tend to act to decrease competition between and among persons engaged in

commerce and trade. . . .” 740 ILCS 10/2.

         311.     Plaintiffs purchased pork within the State of Illinois during the Class

Period. But for defendants’ conduct set forth herein, the price per pound of pork would

have been lower, in an amount to be determined at trial.

         312.     Under the Illinois Antitrust Act, indirect purchasers have standing to

maintain an action for damages based on the facts alleged in this Complaint. 740 ILCS

10/7(2).

         313.     Defendants made contracts or engaged in a combination or conspiracy with

each other, though they would have been competitors but for their prior agreement, for

the purpose of fixing, controlling or maintaining prices for pork sold, and/or for

allocating customers or markets for pork within the intrastate commerce of Illinois.

         314.     Defendants further unreasonably restrained trade or commerce and

established, maintained or attempted to acquire monopoly power over the market for pork

in Illinois for the purpose of excluding competition, in violation of 740 ILCS 10/1, et seq.

         315.     Plaintiffs and members of the Illinois Class were injured with respect to

purchases of pork in Illinois and are entitled to all forms of relief, including actual

damages, treble damages, reasonable attorneys’ fees and costs.




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                              SEVENTH CLAIM FOR RELIEF
                       VIOLATION OF THE IOWA COMPETITION LAW
                               IOWA CODE § 553.1, ET SEQ.
                            (ON BEHALF OF THE IOWA CLASS)

         316.     Plaintiffs incorporate and reallege, as though fully set forth herein, each and

every allegation set forth in the preceding paragraphs of this Complaint.

         317.     The Iowa Competition Law aims to “prohibit[] restraint of economic

activity and monopolistic practices.” Iowa Code § 553.2.

         318.     Plaintiffs purchased pork within the State of Iowa during the Class Period.

But for defendants’ conduct set forth herein, the price per pound of pork would have been

lower, in an amount to be determined at trial.

         319.     Defendants contracted, combined or conspired to restrain or monopolize

trade in the market for pork, and attempted to establish or did in fact establish a

monopoly for the purpose of excluding competition or controlling, fixing or maintaining

prices for pork, in violation of Iowa Code § 553.1, et seq.

         320.     Plaintiffs and members of the Iowa Class were injured with respect to

purchases of pork in Iowa, and are entitled to all forms of relief, including actual

damages, exemplary damages for willful conduct, reasonable attorneys’ fees and costs,

and injunctive relief.

                         EIGHTH CLAIM FOR RELIEF
             VIOLATION OF THE KANSAS RESTRAINT OF TRADE ACT
                       KAN. STAT. ANN. § 50-101, ET SEQ.
                     (ON BEHALF OF THE KANSAS CLASS)

         321.     Plaintiffs incorporate and reallege, as though fully set forth herein, each and

every allegation set forth in the preceding paragraphs of this Complaint.


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         322.     The Kansas Restraint of Trade Act aims to prohibit practices which, inter

alia, “tend to prevent full and free competition in the importation, transportation or sale

of articles imported into this state.” Kan. Stat. Ann. § 50-112.

         323.     Plaintiffs purchased pork within the State of Kansas during the Class

Period. But for defendants’ conduct set forth herein, the price per pound of pork would

have been lower, in an amount to be determined at trial.

         324.     Under the Kansas Restraint of Trade Act, indirect purchasers have standing

to maintain an action based on the facts alleged in this Complaint. Kan. Stat. Ann § 50-

161(b).

         325.     Defendants combined capital, skill or acts for the purposes of creating

restrictions in trade or commerce of pork, increasing the price of pork, preventing

competition in the sale of pork, or binding themselves not to sell pork, in a manner that

established the price of pork and precluded free and unrestricted competition among

themselves in the sale of pork, in violation of Kan. Stat. Ann. § 50-101, et seq.

         326.     Plaintiffs and members of the Kansas Class were injured with respect to

purchases of pork in Kansas and are entitled to all forms of relief, including actual

damages, reasonable attorneys’ fees and costs, and injunctive relief.

                           NINTH CLAIM FOR RELIEF
                 VIOLATION OF THE MAINE’S ANTITRUST STATUTE
                     ME. REV. STAT. ANN. TIT. 10 § 1101, ET SEQ.
                       (ON BEHALF OF THE MAINE CLASS)

         327.     Plaintiffs incorporate and reallege, as though fully set forth herein, each and

every allegation set forth in the preceding paragraphs of this Complaint.



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         328.     Part 3 of Title 10 the Maine Revised Statutes generally governs regulation

of trade in Maine. Chapter 201 thereof governs monopolies and profiteering, generally

prohibiting contracts in restraint of trade and conspiracies to monopolize trade. Me. Rev.

Stat. Ann. Tit. 10, §§ 1101-02.

         329.     Plaintiffs purchased pork within the State of Maine during the Class Period.

But for defendants’ conduct set forth herein, the price per pound of pork would have been

lower, in an amount to be determined at trial.

         330.     Under Maine law, indirect purchasers have standing to maintain an action

based on the facts alleged in this Complaint. Me. Rev. Stat. Ann. Tit. 10, § 1104(1).

         331.     Defendants contracted, combined or conspired in restraint of trade or

commerce of pork within the intrastate commerce of Maine, and monopolized or

attempted to monopolize the trade or commerce of pork within the intrastate commerce

of Maine, in violation of Me. Rev. Stat. Ann. Tit. 10, § 1101, et seq.

         332.     Plaintiffs and members of the Maine Class were injured with respect to

purchases of pork in Maine and are entitled to all forms of relief, including actual

damages, treble damages, reasonable attorneys’ and experts’ fees and costs.

                        TENTH CLAIM FOR RELIEF
            VIOLATION OF THE MICHIGAN ANTITRUST REFORM ACT
                    MICH. COMP. LAWS § 445.771, ET SEQ.
                   (ON BEHALF OF THE MICHIGAN CLASS)

         333.     Plaintiffs incorporate and reallege, as though fully set forth herein, each and

every allegation set forth in the preceding paragraphs of this Complaint.




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          334.    The Michigan Antitrust Reform Act aims “to prohibit contracts,

combinations, and conspiracies in restraint of trade or commerce . . . to prohibit

monopolies and attempts to monopolize trade or commerce . . . [and] to provide

remedies, fines, and penalties for violations of this act.” Mich. Act 274 of 1984.

          335.    Plaintiffs purchased pork within the State of Michigan during the Class

Period. But for defendants’ conduct set forth herein, the price per pound of pork would

have been lower, in an amount to be determined at trial.

          336.    Under the Michigan Antitrust Reform Act, indirect purchasers have

standing to maintain an action based on the facts alleged in this Complaint. Mich. Comp.

Laws. § 452.778(2).

          337.    Defendants contracted, combined or conspired to restrain or monopolize

trade or commerce in the market for pork, in violation of Mich. Comp. Laws § 445.772,

et seq.

          338.    Plaintiffs and members of the Michigan Class were injured with respect to

purchases of pork in Michigan and are entitled to all forms of relief, including actual

damages, treble damages for flagrant violations, interest, costs, reasonable attorneys’

fees, and injunctive or other appropriate equitable relief.

                          ELEVENTH CLAIM FOR RELIEF
                  VIOLATION OF THE MINNESOTA ANTITRUST LAW,
                           MINN. STAT. § 325D.49, ET SEQ.
                      (ON BEHALF OF THE MINNESOTA CLASS)

          339.    Plaintiffs incorporate and reallege, as though fully set forth herein, each and

every allegation set forth in the preceding paragraphs of this Complaint.



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         340.     The Minnesota Antitrust Law of 1971 aims to prohibit any contract,

combination or conspiracy when any part thereof was created, formed, or entered into in

Minnesota; any contract, combination or conspiracy, wherever created, formed or entered

into; any establishment, maintenance or use of monopoly power; and any attempt to

establish, maintain or use monopoly power, whenever any of these affect Minnesota trade

or commerce.

         341.     Plaintiffs purchased pork within the State of Minnesota during the Class

Period. But for defendants’ conduct set forth herein, the price per pound of pork would

have been lower, in an amount to be determined at trial.

         342.     Under the Minnesota Antitrust Act of 1971, indirect purchasers have

standing to maintain an action based on the facts alleged in this Complaint. Minn. Stat. §

325D.56.

         343.     Defendants contracted, combined or conspired in unreasonable restraint of

trade or commerce in the market for pork within the intrastate commerce of and outside

of Minnesota; established, maintained, used or attempted to establish, maintain or use

monopoly power over the trade or commerce in the market for pork within the intrastate

commerce of and outside of Minnesota; and fixed prices and allocated markets for pork

within the intrastate commerce of and outside of Minnesota, in violation of Minn. Stat. §

325D.49, et seq.

         344.     Plaintiffs and members of the Minnesota Class were injured with respect to

purchases of pork in Minnesota and are entitled to all forms of relief, including actual




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damages, treble damages, costs and disbursements, reasonable attorneys’ fees, and

injunctive relief necessary to prevent and restrain violations hereof.

                        TWELFTH CLAIM FOR RELIEF
              VIOLATION OF THE MISSISSIPPI ANTITRUST STATUTE,
                      MISS. CODE ANN. § 74-21-1, ET SEQ.
                   (ON BEHALF OF THE MISSISSIPPI CLASS)

         345.     Plaintiffs incorporate and reallege, as though fully set forth herein, each and

every allegation set forth in the preceding paragraphs of this Complaint.

         346.     Title 75 of the Mississippi Code regulates trade, commerce and

investments. Chapter 21 thereof generally prohibits trusts and combines in restraint or

hindrance of trade, with the aim that “trusts and combines may be suppressed, and the

benefits arising from competition in business [are] preserved” to Mississippians. Miss.

Code Ann. § 75-21-39.

         347.     Trusts are combinations, contracts, understandings or agreements, express

or implied, when inimical to the public welfare and with the effect of, inter alia,

restraining trade, increasing the price or output of a commodity, or hindering competition

in the production or sale of a commodity. Miss. Code Ann. § 75-21-1.

         348.     Plaintiffs purchased pork within the State of Mississippi during the Class

Period. But for defendants’ conduct set forth herein, the price per pound of pork would

have been lower, in an amount to be determined at trial.

         349.     Under Mississippi law, indirect purchasers have standing to maintain an

action under the antitrust provisions of the Mississippi Code based on the facts alleged in

this Complaint. Miss. Code Ann. § 75-21-9.



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         350.     Defendants combined, contracted, understood and agreed in the market for

pork, in a manner inimical to public welfare, with the effect of restraining trade,

increasing the price of pork and hindering competition in the sale of pork, in violation of

Miss. Code Ann. § 75-21-1(a), et seq.

         351.     Defendants monopolized or attempted to monopolize the production,

control or sale of pork, in violation of Miss. Code Ann. § 75-21-3, et seq.

         352.     Defendants’ pork is sold indirectly via distributors throughout the State of

Mississippi. During the Class Period, defendants’ illegal conduct substantially affected

Mississippi commerce.

         353.     Plaintiffs and members of the Mississippi Class were injured with respect

to purchases of pork in Mississippi and are entitled to all forms of relief, including actual

damages and a penalty of $500 per instance of injury.

                  THIRTEENTH CLAIM FOR RELIEF
     VIOLATION OF THE MISSOURI MERCHANDISING PRACTICES ACT,
                   MO. ANN. STAT. § 407.010, ET SEQ.
                (ON BEHALF OF THE MISSOURI CLASS)

         354.     Plaintiffs incorporate and reallege, as though fully set forth herein, each and

every allegation set forth in the preceding paragraphs of this Complaint.

         355.     Chapter 407 of the Missouri Merchandising Practices Act (the “MMPA”)

generally governs unlawful business practices, including antitrust violations such as

restraints of trade and monopolization.




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         356.     Plaintiffs purchased pork within the State of Missouri during the Class

Period. But for defendants’ conduct set forth herein, the price per pound of pork would

have been lower, in an amount to be determined at trial.

         357.     Under Missouri law, indirect purchasers have standing to maintain an

action under the MMPA based on the facts alleged in this Complaint. Gibbons v. J.

Nuckolls, Inc., 216 S.W.3d 667, 669 (Mo. 2007).

         358.     Defendants contracted, combined or conspired in restraint of trade or

commerce of pork within the intrastate commerce of Missouri, and monopolized or

attempted to monopolize the market for pork within the intrastate commerce of Missouri

by possessing monopoly power in the market and willfully maintaining that power

through agreements to fix prices, allocate markets and otherwise control trade, in

violation of Mo. Ann. Stat. § 407.010, et seq.

         359.     Plaintiffs and members of the Missouri Class were injured with respect to

purchases of pork in Missouri and are entitled to all forms of relief, including actual

damages or liquidated damages in an amount which bears a reasonable relation to the

actual damages which have been sustained, as well as reasonable attorneys’ fees, costs,

and injunctive relief.

                           FOURTEENTH CLAIM FOR RELIEF
                       VIOLATION OF THE NEBRASKA JUNKIN ACT,
                            NEB. REV. STAT. § 59-801, ET SEQ.
                         (ON BEHALF OF THE NEBRASKA CLASS)

         360.     Plaintiffs incorporate and reallege, as though fully set forth herein, each and

every allegation set forth in the preceding paragraphs of this Complaint.



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         361.     Chapter 59 of the Nebraska Revised Statute generally governs business and

trade practices. Sections 801 through 831 thereof, known as the Junkin Act, prohibit

antitrust violations such as restraints of trade and monopolization.

         362.     Plaintiffs purchased pork within the State of Nebraska during the Class

Period. But for defendants’ conduct set forth herein, the price per pound of pork would

have been lower, in an amount to be determined at trial.

         363.     Under Nebraska law, indirect purchasers have standing to maintain an

action under the Junkin Act based on the facts alleged in this Complaint. Neb. Rev. Stat.

§ 59-821.

         364.     Defendants contracted, combined or conspired in restraint of trade or

commerce of pork within the intrastate commerce of Nebraska, and monopolized or

attempted to monopolize the market for pork within the intrastate commerce of Nebraska

by possessing monopoly power in the market and willfully maintaining that power

through agreements to fix prices, allocate markets and otherwise control trade, in

violation of Neb. Rev. Stat. § 59-801, et seq.

         365.     Plaintiffs and members of the Nebraska Class were injured with respect to

purchases of pork in Nebraska and are entitled to all forms of relief, including actual

damages or liquidated damages in an amount which bears a reasonable relation to the

actual damages which have been sustained, as well as reasonable attorneys’ fees, costs,

and injunctive relief.




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                    FIFTEENTH CLAIM FOR RELIEF
        VIOLATION OF THE NEVADA UNFAIR TRADE PRACTICES ACT,
                   NEV. REV. STAT. § 598A.010, ET SEQ.
                  (ON BEHALF OF THE NEVADA CLASS)

         366.     Plaintiffs incorporate and reallege, as though fully set forth herein, each and

every allegation set forth in the preceding paragraphs of this Complaint.

         367.     The Nevada Unfair Trade Practice Act (“NUTPA”) states that “free, open

and competitive production and sale of commodities...is necessary to the economic well-

being of the citizens of the State of Nevada.” Nev. Rev. Stat. Ann. § 598A.030(1).

         368.     The policy of NUTPA is to prohibit acts in restraint of trade or commerce,

to preserve and protect the free, open and competitive market, and to penalize all persons

engaged in anticompetitive practices. Nev. Rev. Stat. Ann. § 598A.030(2). Such acts

include, inter alia, price fixing, division of markets, allocation of customers, and

monopolization of trade. Nev. Rev. Stat. Ann. § 598A.060.

         369.     Plaintiffs purchased pork within the State of Nevada during the Class

Period. But for defendants’ conduct set forth herein, the price per pound of pork would

have been lower, in an amount to be determined at trial.

         370.     Under Nevada law, indirect purchasers have standing to maintain an action

under NUTPA based on the facts alleged in this Complaint. Nev. Rev. Stat. Ann.

§598A.210(2).

         371.     Defendants fixed prices by agreeing to establish prices for pork in Nevada,

divided Nevada markets, allocated Nevada customers, and monopolized or attempted

monopolize trade or commerce of pork within the intrastate commerce of Nevada,



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constituting a contract, combination or conspiracy in restraint of trade in violation of

Nev. Rev. Stat. Ann. § 598A, et seq.

         372.     Plaintiffs and members of the Nevada Class were injured with respect to

purchases of pork in Nevada in that at least thousands of sales of defendants’ pork took

place in Nevada, purchased by Nevada consumers at supra-competitive prices caused by

defendants’ conduct.

         373.     Accordingly, plaintiffs and members of the Nevada Class are entitled to all

forms of relief, including actual damages, treble damages, reasonable attorneys’ fees,

costs, and injunctive relief.

         374.     In accordance with the requirements of § 598A.210(3), notice of this action

was mailed to the Nevada Attorney General by plaintiffs.

                       SIXTEENTH CLAIM FOR RELIEF
            VIOLATION OF NEW HAMPSHIRE’S ANTITRUST STATUTE,
                 N.H. REV. STAT. ANN. TIT. XXXI, § 356, ET SEQ.
                (ON BEHALF OF THE NEW HAMPSHIRE CLASS)

         375.     Plaintiffs incorporate and reallege, as though fully set forth herein, each and

every allegation set forth in the preceding paragraphs of this Complaint.

         376.     Title XXXI of the New Hampshire Statutes generally governs trade and

commerce. Chapter 356 thereof governs combinations and monopolies and prohibits

restraints of trade. N.H. Rev. Stat. Ann. §§ 356:2, 3.

         377.     Plaintiffs purchased pork within the State of New Hampshire during the

Class Period. But for defendants’ conduct set forth herein, the price per pound of pork

would have been lower, in an amount to be determined at trial.



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         378.     Under New Hampshire law, indirect purchasers have standing to maintain

an action based on the facts alleged in this Complaint. N.H. Rev. Stat. Ann. § 356:11(II).

         379.     Defendants fixed, controlled or maintained prices for pork, allocated

customers or markets for pork, and established, maintained or used monopoly power, or

attempted to, constituting a contract, combination or conspiracy in restraint of trade in

violation of N.H. Rev. Stat. Ann. § 356:1, et seq.

         380.     Plaintiffs and members of the New Hampshire Class were injured with

respect to purchases of pork in New Hampshire and are entitled to all forms of relief,

including actual damages sustained, treble damages for willful or flagrant violations,

reasonable attorneys’ fees, costs, and injunctive relief.

                        SEVENTEENTH CLAIM FOR RELIEF
                 VIOLATION OF THE NEW MEXICO ANTITRUST ACT,
                         N.M. STAT. ANN. §§ 57-1-1, ET SEQ.
                     (ON BEHALF OF THE NEW MEXICO CLASS)

         381.     Plaintiffs incorporate and reallege, as though fully set forth herein, each and

every allegation set forth in the preceding paragraphs of this Complaint.

         382.     The New Mexico Antitrust Act aims to prohibit restraints of trade and

monopolistic practices. N.M. Stat. Ann. 57-1-15.

         383.     Plaintiffs purchased pork within the State of New Mexico during the Class

Period. But for defendants’ conduct set forth herein, the price per pound of pork would

have been lower, in an amount to be determined at trial.

         384.     Under New Mexico law, indirect purchasers have standing to maintain an

action based on the facts alleged in this Complaint. N.M. Stat. Ann. § 57-1-3.



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         385.     Defendants contracted, agreed, combined or conspired, and monopolized or

attempted to monopolize trade for pork within the intrastate commerce of New Mexico,

in violation of N.M. Stat. Ann. § 57-1-1, et seq.

         386.     Plaintiffs and members of the New Mexico Class were injured with respect

to purchases of pork in New Mexico and are entitled to all forms of relief, including

actual damages, treble damages, reasonable attorneys’ fees, costs, and injunctive relief.

                           EIGHTEENTH CLAIM FOR RELIEF
                            VIOLATION OF SECTION 340 OF
                       THE NEW YORK GENERAL BUSINESS LAW
                        (ON BEHALF OF THE NEW YORK CLASS)

         387.     Plaintiffs incorporate and reallege, as though fully set forth herein, each and

every allegation set forth in the preceding paragraphs of this Complaint.

         388.     Article 22 of the New York General Business Law general prohibits

monopolies and contracts or agreements in restraint of trade, with the policy of

encouraging competition or the free exercise of any activity in the conduct of any

business, trade or commerce in New York. N.Y. Gen. Bus. Law § 340(1).

         389.     Plaintiffs purchased pork within the State of New York during the Class

Period. But for defendants’ conduct set forth herein, the price per pound of pork would

have been lower, in an amount to be determined at trial.

         390.     Under New York law, indirect purchasers have standing to maintain an

action based on the facts alleged in this Complaint. N.Y. Gen. Bus. Law § 340(6).

         391.     Defendants established or maintained a monopoly within the intrastate

commerce of New York for the trade or commerce of pork and restrained competition in



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the free exercise of the conduct of the business of pork within the intrastate commerce of

New York, in violation of N.Y. Gen. Bus. Law § 340, et seq.

         392.     Plaintiffs and members of the New York Class were injured with respect to

purchases of pork in New York and are entitled to all forms of relief, including actual

damages, treble damages, costs not exceeding $10,000, and reasonable attorneys’ fees.

                    NINETEENTH CLAIM FOR RELIEF
         VIOLATION OF THE NORTH CAROLINA GENERAL STATUTES,
                      N.C. GEN. STAT. § 75-1, ET SEQ.
              (ON BEHALF OF THE NORTH CAROLINA CLASS)

         393.     Plaintiffs incorporate and reallege, as though fully set forth herein, each and

every allegation set forth in the preceding paragraphs of this Complaint.

         394.     Defendants entered into a contract or combination in the form of trust or

otherwise, or conspiracy in restraint of trade or commerce in the pork market, a

substantial part of which occurred within North Carolina.

         395.     Defendants established, maintained, or used a monopoly, or attempted to

establish a monopoly, of trade or commerce in the pork market, for the purpose of

affecting competition or controlling, fixing, or maintaining prices, a substantial part of

which occurred within North Carolina.

         396.     Defendants’ unlawful conduct substantially affected North Carolina’s trade

and commerce.

         397.     As a direct and proximate cause of defendants’ unlawful conduct, plaintiffs

and the members of the North Carolina Class have been injured in their business or

property and are threatened with further injury.



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         398.     By reason of the foregoing, plaintiffs and members of the North Carolina

Class are entitled to seek all forms of relief available, including treble damages, under

N.C. Gen. Stat. § 75-1, et seq.

                 TWENTIETH CLAIM FOR RELIEF
VIOLATION OF THE NORTH DAKOTA UNIFORM STATE ANTITRUST ACT,
                N.D. CENT. CODE § 51-08.1, ET SEQ.
           (ON BEHALF OF THE NORTH DAKOTA CLASS)

         399.     Plaintiffs incorporate and reallege, as though fully set forth herein, each and

every allegation set forth in the preceding paragraphs of this Complaint.

         400.     The North Dakota Uniform State Antitrust Act generally prohibits restraints

on or monopolization of trade. N.D. Cent. Code § 51-08.1, et seq.

         401.     Plaintiffs purchased pork within the State of North Dakota during the Class

Period. But for defendants’ conduct set forth herein, the price per pound of pork would

have been lower, in an amount to be determined at trial.

         402.     Under the North Dakota Uniform State Antitrust Act, indirect purchasers

have standing to maintain an action based on the facts alleged in this Complaint. N.D.

Cent. Code § 51-08.1-08.

         403.     Defendants contracted, combined or conspired in restraint of, or to

monopolize trade or commerce in the market for pork, and established, maintained, or

used a monopoly, or attempted to do so, for the purposes of excluding competition or

controlling, fixing or maintaining prices for pork, in violation of N.D. Cent. Code §§ 51-

08.1-02, 03.




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         404.     Plaintiffs and members of the North Dakota Class were injured with respect

to purchases in North Dakota and are entitled to all forms of relief, including actual

damages, treble damages for flagrant violations, costs, reasonable attorneys’ fees, and

injunctive or other equitable relief.

                        TWENTY-FIRST CLAIM FOR RELIEF
                VIOLATION OF THE RHODE ISLAND ANTITRUST ACT,
                          R.I. GEN LAWS § 6-36-1, ET SEQ.
                    (ON BEHALF OF THE RHODE ISLAND CLASS)

         405.     Plaintiffs incorporate and reallege, as though fully set forth herein, each and

every allegation set forth in the preceding paragraphs of this Complaint.

         406.     The Rhode Island Antitrust Act aims to promote the unhampered growth of

commerce and industry throughout Rhode Island by prohibiting unreasonable restraints

of trade and monopolistic practices that hamper, prevent or decrease competition. R.I.

Gen. Laws § 636-2(a)(2).

         407.     Plaintiffs purchased pork within the State of Rhode Island during the Class

Period. But for defendants’ conduct set forth herein, the price per pound of pork would

have been lower, in an amount to be determined at trial.

         408.     Under the Rhode Island Antitrust Act, as of January 1, 2008, indirect

purchasers have standing to maintain an action based on the facts alleged in this

Complaint. R.I. Gen. Laws § 6-36-11(a). In Rhode Island, the claims of plaintiffs and the

Class alleged herein run from January 1, 2008, through the date that the effects of

defendants’ anticompetitive conduct cease.




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         409.     Defendants contracted, combined and conspired in restraint of trade of pork

within the intrastate commerce of Rhode Island, and established, maintained or used, or

attempted to establish, maintain or use, a monopoly in the trade of pork for the purpose of

excluding competition or controlling, fixing or maintaining prices within the intrastate

commerce of Rhode Island, in violation of R.I. Gen. Laws § 6-36-1, et seq.

         410.     Plaintiffs and members of the Rhode Island Class were injured with respect

to purchases of pork in Rhode Island and are entitled to all forms of relief, including

actual damages, treble damages, reasonable costs, reasonable attorneys’ fees, and

injunctive relief.

                   TWENTY-SECOND CLAIM FOR RELIEF
            VIOLATION OF THE TENNESSEE TRADE PRACTICES ACT,
                      TENN. CODE, § 47-25-101, ET SEQ.
                  (ON BEHALF OF THE TENNESSEE CLASS)

         411.     Plaintiffs incorporate and reallege, as though fully set forth herein, each and

every allegation set forth in the preceding paragraphs of this Complaint.

         412.     The Tennessee Trade Practices Act generally governs commerce and trade

in Tennessee, and it prohibits, inter alia, all arrangements, contracts, agreements, or

combinations between persons or corporations made with a view to lessen, or which tend

to lessen, full and free competition in goods in Tennessee. All such arrangements,

contracts, agreements, or combinations between persons or corporations designed, or

which tend, to increase the prices of any such goods, are against public policy, unlawful,

and void. Tenn. Code, § 47-25-101.




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         413.     Defendants competed unfairly and colluded by meeting to fix prices, divide

markets, and otherwise restrain trade as set forth herein, in violation of Tenn. Code, § 47-

25-101, et seq.

         414.     Defendant’s conduct violated the Tennessee Trade Practice Act because it

was an arrangement, contract, agreement, or combination to lessen full and free

competition in goods in Tennessee, and because it tended to increase the prices of goods

in Tennessee. Specifically, defendants’ combination or conspiracy had the following

effects: (1) price competition for pork was restrained, suppressed, and eliminated

throughout Tennessee; (2) prices for pork were raised, fixed, maintained and stabilized at

artificially high levels throughout Tennessee; (3) Plaintiffs and the Tennessee Class were

deprived of free and open competition; and (4) Plaintiffs and the Tennessee Class paid

supra-competitive, artificially inflated prices for pork.

         415.     During the Class Period, defendants’ illegal conduct had a substantial effect

on Tennessee commerce as pork was sold in Tennessee.

         416.     Plaintiffs and the Tennessee Class purchased pork within the State of

Tennessee during the Class Period. But for defendants’ conduct set forth herein, the price

per pound of pork would have been lower, in an amount to be determined at trial. As a

direct and proximate result of defendants’ unlawful conduct, plaintiffs and the Tennessee

Class have been injured in their business and property and are threatened with further

injury




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         417.     Under Tennessee law, indirect purchasers (such as plaintiffs and the

Tennessee Class) have standing under the Tennessee Trade Practice Acts to maintain an

action based on the facts alleged in this Complaint.

         418.     Plaintiffs and members of the Tennessee Class were injured with respect to

purchases of pork in Tennessee and are entitled to all forms of relief available under the

law, including return of the unlawful overcharges that they paid on their purchases,

damages, equitable relief, and reasonable attorneys’ fees.

                          TWENTY-THIRD CLAIM FOR RELIEF
                       VIOLATION OF THE UTAH ANTITRUST ACT,
                          UTAH CODE ANN. §§ 76-10-911, ET SEQ.
                           (ON BEHALF OF THE UTAH CLASS)

         419.     Plaintiffs incorporate and reallege, as though fully set forth herein, each and

every allegation set forth in the preceding paragraphs of this Complaint.

         420.     The Utah Antitrust Act aims to “encourage free and open competition in the

interest of the general welfare and economy of this state by prohibiting monopolistic and

unfair trade practices, combinations and conspiracies in restraint of trade or commerce . .

. .” Utah Code Ann. § 76-10-3102.

         421.     Plaintiffs purchased pork within the State of Utah during the Class Period.

But for defendants’ conduct set forth herein, the price per pound of pork would have been

lower, in an amount to be determined at trial.

         422.     Under the Utah Antitrust Act, indirect purchasers who are either Utah

residents or Utah citizens have standing to maintain an action based on the facts alleged

in this Complaint. Utah Code Ann. § 76-10-3109(1)(a).



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         423.     Defendants contracted, combined or conspired in restraint of trade or

commerce of pork, and monopolized or attempted to monopolize trade or commerce of

pork, in violation of Utah Code Ann. § 76-10-3101, et seq.

         424.     Plaintiffs and members of the Utah Class who are either Utah residents or

Utah citizens were injured with respect to purchases of pork in Utah and are entitled to all

forms of relief, including actual damages, treble damages, costs of suit, reasonable

attorneys’ fees, and injunctive relief.

                       TWENTY-FOURTH CLAIM FOR RELIEF
                VIOLATION OF THE WEST VIRGINIA ANTITRUST ACT,
                           W. VA. CODE §47-18-1, ET SEQ.
                    (ON BEHALF OF THE WEST VIRGINIA CLASS)

         425.     Plaintiffs incorporate and reallege, as though fully set forth herein, each and

every allegation set forth in the preceding paragraphs of this Complaint.

         426.     The violations of federal antitrust law set forth above also constitute

violations of section 47-18-1 of the West Virginia Code.

         427.     During the Class Period, defendants and their co-conspirators engaged in a

continuing contract, combination or conspiracy in unreasonable restraint of trade and

commerce and other anticompetitive conduct alleged above in violation of W. Va. Code §

47-18-1, et seq.

         428.     Defendants’ anticompetitive acts described above were knowing, willful

and constitute violations or flagrant violations of the West Virginia Antitrust Act.

         429.     As a direct and proximate result of defendants’ unlawful conduct, plaintiffs

and members of the West Virginia Class have been injured in their business and property



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in that they paid more for pork than they otherwise would have paid in the absence of

defendants’ unlawful conduct. As a result of defendants’ violation of Section 47-18-3 of

the West Virginia Antitrust Act, plaintiffs and members of the West Virginia Class seek

treble damages and their cost of suit, including reasonable attorneys’ fees, pursuant to

section 47-18-9 of the West Virginia Code.

             VIOLATIONS OF STATE CONSUMER PROTECTION LAWS

         430.     Plaintiffs incorporate by reference the allegations in the preceding

paragraphs.

         431.     The following claims for relief are pled under the consumer protection or

similar laws of each jurisdiction identified below, on behalf of the indicated class.

                     TWENTY-FIFTH CLAIM FOR RELIEF
           VIOLATION OF CALIFORNIA’S UNFAIR COMPETITION LAW
              CAL. BUS. & PROF. CODE § 17200, ET SEQ. (THE “UCL”)
                   (ON BEHALF OF THE CALIFORNIA CLASS)

         432.     Plaintiffs incorporate and reallege, as though fully set forth herein, each and

every allegation set forth in the preceding paragraphs of this Complaint.

         433.     The violations of federal antitrust law set forth above also constitute

violations of section 17200, et seq. of California Business and Professions Code.

         434.     Defendants have engaged in unfair competition or unfair, unconscionable,

deceptive or fraudulent acts or practices in violation of the UCL by engaging in the acts

and practices specified above.




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         435.     This claim is instituted pursuant to sections 17203 and 17204 of California

Business and Professions Code, to obtain restitution from these defendants for acts, as

alleged herein, that violated the UCL.

         436.     The defendants’ conduct as alleged herein violated the UCL. The acts,

omissions, misrepresentations, practices and non-disclosures of defendants, as alleged

herein, constituted a common, continuous, and continuing course of conduct of unfair

competition by means of unfair, unlawful, and/or fraudulent business acts or practices

within the meaning of the UCL, including, but not limited to, the violations of section

16720, et seq., of California Business and Professions Code, set forth above.

         437.     Defendants’ acts, omissions, misrepresentations, practices, and non-

disclosures, as described above, whether or not in violation of section 16720, et seq., of

California Business and Professions Code, and whether or not concerted or independent

acts, are otherwise unfair, unconscionable, unlawful or fraudulent.

         438.     Plaintiffs and members of the California Class are entitled to full restitution

and/or disgorgement of all revenues, earnings, profits, compensation, and benefits that

may have been obtained by defendants as a result of such business acts or practices.

         439.     The illegal conduct alleged herein is continuing and there is no indication

that defendants will not continue such activity into the future.

         440.     The unlawful and unfair business practices of defendants, and each of them,

as described above, have caused and continue to cause plaintiffs and the members of the

California Class to pay supra-competitive and artificially inflated prices for pork sold in




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the State of California. Plaintiffs and the members of the California Class suffered injury

in fact and lost money or property as a result of such unfair competition.

         441.     As alleged in this Complaint, defendants and their co-conspirators have

been unjustly enriched as a result of their wrongful conduct and by defendants’ unfair

competition. Plaintiffs and the members of the California Class are accordingly entitled

to equitable relief including restitution and/or disgorgement of all revenues, earnings,

profits, compensation, and benefits that may have been obtained by defendants as a result

of such business practices, pursuant to California Business and Professions Code sections

17203 and 17204.

              TWENTY-SIXTH CLAIM FOR RELIEF
VIOLATION OF THE DISTRICT OF COLUMBIA CONSUMER PROTECTION
                      PROCEDURES ACT,
                  D.C. CODE § 28-3901, ET SEQ.
       (ON BEHALF OF THE DISTRICT OF COLUMBIA CLASS)

         442.     Plaintiffs incorporate and reallege, as though fully set forth herein, each and

every allegation set forth in the preceding paragraphs of this Complaint.

         443.     Plaintiffs and members of the District of Columbia Class purchased pork

for personal, family, or household purposes.

         444.     By reason of the conduct alleged herein, defendants have violated D.C.

Code § 28-3901, et seq.

         445.     Defendants are “merchants” within the meaning of D.C. Code § 28-

3901(a)(3).




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         446.     Defendants entered into a contract, combination, or conspiracy between two

or more persons in restraint of, or to monopolize, trade or commerce in the Pork market,

a substantial part of which occurred within the District of Columbia.

         447.     Defendant established, maintained, or used a monopoly, or attempted to

establish a monopoly, of trade or commerce in the pork market, a substantial part of

which occurred within the District of Columbia, for the purpose of excluding competition

or controlling, fixing, or maintaining prices in the Pork Market.

         448.     Defendants’ conduct was an unfair method of competition, and an unfair or

deceptive act or practice within the conduct of commerce within the District of Columbia.

         449.     Defendants’ unlawful conduct substantially affected the District of

Columbia’s trade and commerce.

         450.     As a direct and proximate cause of defendants’ unlawful conduct, plaintiffs

and members of the District of Columbia Class have been injured in their business or

property and are threatened with further injury.

         451.     By reason of the foregoing, plaintiffs and members of the District of

Columbia Class are entitled to seek all forms of relief, including treble damages or $1500

per violation (whichever is greater) plus reasonable attorney’s fees and costs under D.C.

Code § 28-3901, et seq.




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                          TWENTY-SEVENTH CLAIM FOR RELIEF
                       VIOLATION OF THE FLORIDA DECEPTIVE AND
                             UNFAIR TRADE PRACTICES ACT,
                              FLA. STAT. § 501.201(2), ET SEQ.
                           (ON BEHALF OF THE FLORIDA CLASS)

         452.     Plaintiffs incorporate and reallege, as though fully set forth herein, each and

every allegation set forth in the preceding paragraphs of this Complaint.

         453.     The Florida Deceptive & Unfair Trade Practices Act, Florida Stat. §§

501.201, et seq. (the “FDUTPA”), generally prohibits “unfair methods of competition,

unconscionable acts or practices, and unfair or deceptive acts or practices in the conduct

of any trade or commerce,” including practices in restraint of trade. Florida Stat. §

501.204(1).

         454.     The primary policy of the FDUTPA is “[t]o protect the consuming public

and legitimate business enterprises from those who engage in unfair methods of

competition, or unconscionable, deceptive, or unfair acts or practices in the conduct of

any trade or commerce.” Florida Stat. § 501.202(2).

         455.     A claim for damages under the FDUTPA has three elements: (1) a

prohibited practice; (2) causation; and (3) actual damages.

         456.     Under Florida law, indirect purchasers have standing to maintain an action

under the FDUTPA based on the facts alleged in this Complaint. Fla. Stat. § 501.211(a)

(“anyone aggrieved by a violation of this [statute] may bring an action . . .”).

         457.     Plaintiffs purchased pork within the State of Florida during the Class

Period. But for defendants’ conduct set forth herein, the price per pound of pork would

have been lower, in an amount to be determined at trial.


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         458.     Defendants entered into a contract, combination or conspiracy between two

or more persons in restraint of, or to monopolize, trade or commerce in the pork market, a

substantial part of which occurred within Florida.

         459.     Defendants established, maintained or used a monopoly, or attempted to

establish a monopoly, of trade or commerce in the market for pork, for the purpose of

excluding competition or controlling, fixing or maintaining prices in Florida at a level

higher than the competitive market level, beginning at least as early as 2008 and

continuing through the date of this filing.

         460.     Accordingly, defendants’ conduct was an unfair method of competition,

and an unfair or deceptive act or practice within the conduct of commerce within the

State of Florida.

         461.     Defendants’ unlawful conduct substantially affected Florida’s trade and

commerce.

         462.     As a direct and proximate cause of defendants’ unlawful conduct, plaintiffs

and the members of the Florida Class have been injured in their business or property by

virtue of overcharges for pork and are threatened with further injury.

         463.     By reason of the foregoing, plaintiffs and the members of the Florida Class

is entitled to seek all forms of relief, including injunctive relief pursuant to Florida Stat.

§501.208 and declaratory judgment, actual damages, reasonable attorneys’ fees and costs

pursuant to Florida Stat. § 501.211.




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                       TWENTY-EIGHTH CLAIM FOR RELIEF
                   VIOLATION OF THE HAWAII REVISED STATUTES
                            ANNOTATED §§ 480-1, ET SEQ.
                          (ON BEHALF OF HAWAII CLASS)

          464.    Plaintiffs incorporate and reallege, as though fully set forth herein, each and

every allegation set forth in the preceding paragraphs of this Complaint.

          465.    Defendants have engaged in unfair competition or unfair, unconscionable,

or deceptive acts or practices in violation of the Hawaii Revised Statutes Annotated §§

480-1, et seq.

          466.    Defendants’ unlawful conduct had the following effects: (1) pork price

competition was restrained, suppressed, and eliminated throughout Hawaii; (2) pork

prices were, fixed, maintained, and stabilized at artificially high levels throughout

Hawaii; (3) Plaintiffs and members of the Hawaii Class were deprived of free and open

competition; and (4) Plaintiffs and members of the Hawaii Class paid supra-competitive,

artificially inflated prices for pork.

          467.    During the Class Period, Defendants’ illegal conduct substantially affected

Hawaii commerce and consumers.

          468.    As a direct and proximate result of Defendants’ unlawful conduct, plaintiffs

and members of the Hawaii Class have been injured and are threatened with further

injury.




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                  TWENTY-NINTH CLAIM FOR RELIEF
     VIOLATION OF THE ILLINOIS CONSUMER FRAUD AND DECEPTIVE
                       BUSINESS PRACTICES ACT,
               815 ILL. COMP. STAT. ANN. 505/10A, ET SEQ.
                 (ON BEHALF OF THE ILLINOIS CLASS)

         469.     Plaintiffs incorporate and reallege, as though fully set forth herein, each and

every allegation set forth in the preceding paragraphs of this Complaint.

         470.     By reason of the conduct alleged herein, defendants have violated 740 Ill.

Comp. Stat. Ann. 10/3(1), et seq.

         471.     Defendants entered into a contract, combination, or conspiracy between two

or more persons in restraint of, or to monopolize, trade or commerce in the pork market, a

substantial part of which occurred within Illinois.

         472.     Defendants established, maintained, or used a monopoly, or attempted to

establish a monopoly, of trade or commerce in the pork market, a substantial part of

which occurred within Illinois, for the purpose of excluding competition or controlling,

fixing, or maintaining prices in the pork market.

         473.     Defendants’ conduct was unfair, unconscionable, or deceptive within the

conduct of commerce within the State of Illinois.

         474.     Defendants’ conduct misled consumers, withheld material facts, and

resulted in material misrepresentations to plaintiffs and members of the classes.

         475.     Defendants’ unlawful conduct substantially affected Illinois’s trade and

commerce.




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         476.     As a direct and proximate cause of defendants’ unlawful conduct, plaintiffs

and members of the Illinois Class were actually deceived and have been injured in their

business or property and are threatened with further injury.

         477.     By reason of the foregoing, plaintiffs and members of the Illinois Class are

entitled to seek all forms of relief, including actual damages or any other relief the Court

deems proper under 815 Ill. Comp. Stat. Ann. 505/10a, et seq.

                 THIRTIETH CLAIM FOR RELIEF
  VIOLATION OF THE MASSACHUSETTS CONSUMER PROTECTION ACT,
               MASS. GEN. LAWS CH. 93A § 1, ET SEQ.
           (ON BEHALF OF THE MASSACHUSETTS CLASS)

         478.     Plaintiffs incorporate and reallege, as though fully set forth herein, each and

every allegation set forth in the preceding paragraphs of this Complaint.

         479.     Plaintiffs reserve their right to bring a claim under Mass. Gen. Laws Ch.

93A et seq. Pursuant to Mass. Gen. Laws Ch. 93A § 9, plaintiffs served all defendants on

June 27, 2018, via certified mail, return receipt requested, Demand for Payment Letters.

In accordance with the statute, these letters explained the unfair acts, the injury suffered,

and requested relief from the defendants within 30 days. If necessary, plaintiffs will

amend to add specific claims under Mass. Gen. Laws Ch. 93A et seq.

                   THIRTY-FIRST CLAIM FOR RELIEF
        VIOLATION OF THE MICHIGAN CONSUMER PROTECTION ACT,
                MICH. COMP. LAWS ANN. § 445.901, ET SEQ.
                 (ON BEHALF OF THE MICHIGAN CLASS)

         480.     Plaintiffs incorporate and reallege, as though fully set forth herein, each and

every allegation set forth in the preceding paragraphs of this Complaint.




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         481.     By reason of the conduct alleged herein, defendants have violated Mich.

Comp. Laws Ann. § 445.901, et seq.

         482.     Defendants have entered into a contract, combination, or conspiracy

between two or more persons in restraint of, or to monopolize, trade or commerce in the

pork market, a substantial part of which occurred within Michigan.

         483.     Defendants established, maintained, or used a monopoly, or attempted to

establish a monopoly, of trade or commerce in the pork market, for the purpose of

excluding or limiting competition or controlling or maintaining prices, a substantial part

of which occurred within Michigan.

         484.     Defendants’ conduct was conducted with the intent to deceive Michigan

consumers regarding the nature of defendants’ actions within the stream of Michigan

commerce.

         485.     Defendants’ conduct was unfair, unconscionable, or deceptive within the

conduct of commerce within the State of Michigan.

         486.     Defendants’ conduct misled consumers, withheld material facts, and took

advantage of plaintiffs and members-of-the-classes’ inability to protect themselves.

         487.     Defendants’ unlawful conduct substantially affected Michigan’s trade and

commerce.

         488.     As a direct and proximate cause of defendants’ unlawful conduct, plaintiffs

and members of the Michigan Class have been injured in their business or property and

are threatened with further injury.




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         489.     By reason of the foregoing, plaintiffs and the Michigan Class are entitled to

seek all forms of relief available under Mich. Comp. Laws Ann. § 445.911.

                    THIRTY-SECOND CLAIM FOR RELIEF
            VIOLATION OF THE MINNESOTA CONSUMER FRAUD ACT,
                       MINN. STAT. § 325F.68, ET SEQ.
                  (ON BEHALF OF THE MINNESOTA CLASS)

         490.     Plaintiffs incorporate and reallege, as though fully set forth herein, each and

every allegation set forth in the preceding paragraphs of this Complaint.

         491.     By reason of the conduct alleged herein, defendants have violated Minn.

Stat. § 325F.68, et seq.

         492.     Defendants engaged in a deceptive trade practice with the intent to injure

competitors and consumers through supra-competitive profits.

         493.     Defendants established, maintained, or used a monopoly, or attempted to

establish a monopoly, of trade or commerce in the pork market, a substantial part of

which occurred within Minnesota, for the purpose of controlling, fixing, or maintaining

prices in the pork market.

         494.     Defendants’ conduct was unfair, unconscionable, or deceptive within the

conduct of commerce within the State of Minnesota.

         495.     Defendants’ conduct, specifically in the form of fraudulent concealment of

their horizontal agreement, created a fraudulent or deceptive act or practice committed by

a supplier in connection with a consumer transaction.

         496.     Defendants’ unlawful conduct substantially affected Minnesota’s trade and

commerce.



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         497.     Defendants’ conduct was willful.

         498.     As a direct and proximate cause of defendants’ unlawful conduct, plaintiffs

and the members of the Minnesota Class have been injured in their business or property

and are threatened with further injury.

         499.     By reason of the foregoing, plaintiffs and the members of the Minnesota

Class are entitled to seek all forms of relief, including damages, reasonable attorneys’

fees and costs under Minn. Stat. § 325F.68, et seq. and applicable case law.

                  THIRTY-THIRD CLAIM FOR RELIEF
       VIOLATION OF THE NEBRASKA CONSUMER PROTECTION ACT,
                   NEB. REV. STAT. § 59-1602, ET SEQ.
                (ON BEHALF OF THE NEBRASKA CLASS)

         500.     Plaintiffs incorporate and reallege, as though fully set forth herein, each and

every allegation set forth in the preceding paragraphs of this Complaint.

         501.     By reason of the conduct alleged herein, defendants have violated Neb.

Rev. Stat. § 59-1602, et seq.

         502.     Defendants have entered into a contract, combination, or conspiracy

between two or more persons in restraint of, or to monopolize, trade or commerce in the

pork market, a substantial part of which occurred within Nebraska.

         503.     Defendants established, maintained, or used a monopoly, or attempted to

establish a monopoly, of trade or commerce in the pork market, for the purpose of

excluding or limiting competition or controlling or maintaining prices, a substantial part

of which occurred within Nebraska.




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         504.     Defendants’ conduct was conducted with the intent to deceive Nebraska

consumers regarding the nature of defendants’ actions within the stream of Nebraska

commerce.

         505.     Defendants’ conduct was unfair, unconscionable, or deceptive within the

conduct of commerce within the State of Nebraska.

         506.     Defendants’ conduct misled consumers, withheld material facts, and had a

direct or indirect impact upon plaintiffs and members of the Nevada Class’s ability to

protect themselves.

         507.     Defendants’ unlawful conduct substantially affected Nebraska’s trade and

commerce.

         508.     As a direct and proximate cause of defendants’ unlawful conduct, plaintiffs

and the members of the Nebraska Class have been injured in their business or property

and are threatened with further injury.

         509.     By reason of the foregoing, plaintiffs and members of the Nebraska Class

are entitled to seek all forms of relief available under Neb. Rev. Stat. § 59- 1614.

                THIRTY-FOURTH CLAIM FOR RELIEF
     VIOLATION OF THE NEVADA DECEPTIVE TRADE PRACTICES ACT,
                  NEV. REV. STAT. § 598.0903, ET SEQ.
                (ON BEHALF OF THE NEVADA CLASS)

         510.     Plaintiffs incorporate and reallege, as though fully set forth herein, each and

every allegation set forth in the preceding paragraphs of this Complaint.

         511.     By reason of the conduct alleged herein, defendants have violated Nev.

Rev. Stat. § 598.0903, et seq.



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         512.     Defendants engaged in a deceptive trade practice with the intent to injure

competitors and to substantially lessen competition.

         513.     Defendants established, maintained, or used a monopoly, or attempted to

establish a monopoly, of trade or commerce in the pork market, a substantial part of

which occurred within Nevada, for the purpose of excluding competition or controlling,

fixing, or maintaining prices in the pork market.

         514.     Defendants’ conduct was unfair, unconscionable, or deceptive within the

conduct of commerce within the State of Nevada.

         515.     Defendants’ conduct amounted to a fraudulent act or practice committed by

a supplier in connection with a consumer transaction.

         516.     Defendants’ unlawful conduct substantially affected Nevada’s trade and

commerce.

         517.     Defendants’ conduct was willful.

         518.     As a direct and proximate cause of defendants’ unlawful conduct, the

members of the Nevada Class have been injured in their business or property and are

threatened with further injury.

         519.     By reason of the foregoing, the Nevada Class is entitled to seek all forms of

relief, including damages, reasonable attorneys’ fees and costs, and a civil penalty of up

to $5,000 per violation under Nev. Rev. Stat. § 598.0993.




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                 THIRTY-FIFTH CLAIM FOR RELIEF
  VIOLATION OF THE NEW HAMPSHIRE CONSUMER PROTECTION ACT,
           N.H. REV. STAT. ANN. TIT. XXXI, § 358-A, ET SEQ.
           (ON BEHALF OF THE NEW HAMPSHIRE CLASS)

         520.     Plaintiffs incorporate and reallege, as though fully set forth herein, each and

every allegation set forth in the preceding paragraphs of this Complaint.

         521.     By reason of the conduct alleged herein, defendants have violated N.H.

Rev. Stat. Ann. tit. XXXI, § 358-A, et seq.

         522.     Defendants have entered into a contract, combination, or conspiracy

between two or more persons in restraint of, or to monopolize, trade or commerce in the

pork market, a substantial part of which occurred within New Hampshire.

         523.     Defendants established, maintained, or used a monopoly, or attempted to

establish a monopoly, of trade or commerce in the pork market, for the purpose of

excluding or limiting competition or controlling or maintaining prices, a substantial part

of which occurred within New Hampshire.

         524.     Defendants’ conduct was conducted with the intent to deceive New

Hampshire consumers regarding the nature of defendants’ actions within the stream of

New Hampshire commerce.

         525.     Defendants’ conduct was unfair or deceptive within the conduct of

commerce within the State of New Hampshire.

         526.     Defendants’ conduct was willful and knowing.




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         527.     Defendants’ conduct misled consumers, withheld material facts, and had a

direct or indirect impact upon plaintiffs and members of the New Hampshire Class’s

ability to protect themselves.

         528.     Defendants’ unlawful conduct substantially affected New Hampshire’s

trade and commerce.

         529.     As a direct and proximate cause of defendants’ unlawful conduct, plaintiffs

and the members of the New Hampshire Class have been injured in their business or

property and are threatened with further injury.

         530.     By reason of the foregoing, plaintiffs and the members of the New

Hampshire Class are entitled to seek all forms of relief available under N.H. Rev. Stat.

Ann. tit. XXXI, §§ 358-A:10 and 358-A:10-a.

                    THIRTY-SIXTH CLAIM FOR RELIEF
          VIOLATION OF THE NEW MEXICO UNFAIR PRACTICES ACT,
                     N.M. STAT. ANN. §§ 57-12-3, ET SEQ.
                 (ON BEHALF OF THE NEW MEXICO CLASS)

         531.     Plaintiffs incorporate and reallege, as though fully set forth herein, each and

every allegation set forth in the preceding paragraphs of this Complaint.

         532.     By reason of the conduct alleged herein, defendants have violated N.M.

Stat. Ann. §§ 57-12-3, et seq.

         533.     Defendants entered into a contract, combination, or conspiracy between two

or more persons in restraint of, or to monopolize, trade or commerce in the pork market, a

substantial part of which occurred within New Mexico.




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         534.     Defendants established, maintained, or used a monopoly, or attempted to

establish a monopoly, of trade or commerce in the pork market, a substantial part of

which occurred within New Mexico, for the purpose of excluding competition or

controlling, fixing, or maintaining prices in the pork market.

         535.     Defendants’ conduct was unfair, unconscionable, or deceptive within the

conduct of commerce within the State of New Mexico.

         536.     Defendants’ conduct misled consumers, withheld material facts, and

resulted in material misrepresentations to plaintiffs and members of the New Mexico

Class.

         537.     Defendants’ unlawful conduct substantially affected New Mexico’s trade

and commerce.

         538.     Defendants’ conduct constituted “unconscionable trade practices” in that

such conduct, inter alia, resulted in a gross disparity between the value received by the

New Mexico Class members and the price paid by them for pork as set forth in N.M. Stat.

Ann. § 57-12-2E.

         539.     Defendants’ conduct was willful.

         540.     As a direct and proximate cause of defendants’ unlawful conduct, plaintiffs

and the members of the New Mexico Class have been injured in their business or

property and are threatened with further injury.

         541.     By reason of the foregoing, plaintiffs and members of the New Mexico

Class are entitled to seek all forms of relief, including actual damages or up to $300 per




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violation, whichever is greater, plus reasonable attorney’s fees under N.M. Stat. Ann. §§

57-12-10.

              THIRTY-SEVENTH CLAIM FOR RELIEF
 VIOLATION OF THE NORTH CAROLINA UNFAIR TRADE AND BUSINESS
                        PRACTICES ACT,
                 N.C. GEN. STAT. § 75-1.1, ET SEQ.
          (ON BEHALF OF THE NORTH CAROLINA CLASS)

         542.     Plaintiffs incorporate and reallege, as though fully set forth herein, each and

every allegation set forth in the preceding paragraphs of this Complaint.

         543.     By reason of the conduct alleged herein, defendants have violated N.C.

Gen. Stat. § 75-1.1, et seq.

         544.     Defendants entered into a contract, combination, or conspiracy in restraint

of, or to monopolize, trade or commerce in the pork market, a substantial part of which

occurred within North Carolina.

         545.     Defendants’ conduct was unfair, unconscionable, or deceptive within the

conduct of commerce within the State of North Carolina.

         546.     Defendants’ trade practices are and have been immoral, unethical,

unscrupulous, and substantially injurious to consumers.

         547.     Defendants’ conduct misled consumers, withheld material facts, and

resulted in material misrepresentations to plaintiffs and members of the North Carolina

Class.

         548.     Defendants’ unlawful conduct substantially affected North Carolina’s trade

and commerce.




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         549.     Defendants’ conduct constitutes consumer-oriented deceptive acts or

practices within the meaning of North Carolina law, which resulted in consumer injury

and broad adverse impact on the public at large, and harmed the public interest of North

Carolina consumers in an honest marketplace in which economic activity is conducted in

a competitive manner.

         550.     As a direct and proximate cause of defendants’ unlawful conduct, plaintiffs

and the members of the North Carolina Class have been injured in their business or

property and are threatened with further injury.

         551.     By reason of the foregoing, plaintiffs and the members of the North

Carolina Class are entitled to seek all forms of relief, including treble damages under

N.C. Gen. Stat. § 7516.

               THIRTY-EIGHTH CLAIM FOR RELIEF
 VIOLATION OF THE NORTH DAKOTA UNFAIR TRADE PRACTICES LAW,
                 N.D. CENT. CODE § 51-10, ET SEQ.
           (ON BEHALF OF THE NORTH DAKOTA CLASS)

         552.     Plaintiffs incorporate and reallege, as though fully set forth herein, each and

every allegation set forth in the preceding paragraphs of this Complaint.

         553.     By reason of the conduct alleged herein, defendants have violated N.D.

Cent. Code § 51-10-01, et seq.

         554.     Defendants engaged in a deceptive trade practice with the intent to injure

competitors and consumers through supra-competitive profits.

         555.     Defendants established, maintained, or used a monopoly, or attempted to

establish a monopoly, of trade or commerce in the pork market, a substantial part of



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which occurred within North Dakota, for the purpose of controlling, fixing, or

maintaining prices in the pork market.

         556.     Defendants’ conduct was unfair, unconscionable, or deceptive within the

conduct of commerce within the State of North Dakota.

         557.     Defendants’ conduct amounted to a fraudulent or deceptive act or practice

committed by a supplier in connection with a consumer transaction.

         558.     Defendants’ unlawful conduct substantially affected North Dakota’s trade

and commerce.

         559.     Defendants’ conduct was willful.

         560.     As a direct and proximate cause of defendants’ unlawful conduct, plaintiffs

and the members of the North Dakota Class have been injured in their business or

property and are threatened with further injury.

         561.     By reason of the foregoing, plaintiffs and the members of the North Dakota

Class are entitled to seek all forms of relief, including damages and injunctive relief

under N.D. Cent. Code § 51-10-06.

               THIRTY-NINTH CLAIM FOR RELIEF
VIOLATION OF THE RHODE ISLAND DECEPTIVE TRADE PRACTICES ACT,
                 R.I. GEN. LAWS § 6-13.1-1, ET SEQ.
           (ON BEHALF OF THE RHODE ISLAND CLASS)

         562.     Plaintiffs incorporate and reallege, as though fully set forth herein, each and

every allegation set forth in the preceding paragraphs of this Complaint.

         563.     By reason of the conduct alleged herein, defendants have violated R.I. Gen

Laws § 6-13.1-1, et seq.



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         564.     Defendants engaged in an unfair or deceptive act or practice with the intent

to injure competitors and consumers through supra-competitive profits.

         565.     Defendants established, maintained, or used a monopoly, or attempted to

establish a monopoly, of trade or commerce in the pork market, a substantial part of

which occurred within Rhode Island, for the purpose of controlling, fixing, or

maintaining prices in the pork market.

         566.     Defendants’ conduct was unfair or deceptive within the conduct of

commerce within the State of Rhode Island.

         567.     Defendants’ conduct amounted to an unfair or deceptive act or practice

committed by a supplier in connection with a consumer transaction.

         568.     Defendants’ unlawful conduct substantially affected Rhode Island’s trade

and commerce.

         569.     Defendants’ conduct was willful.

         570.     Defendants deliberately failed to disclose material facts to plaintiffs and

members of the Rhode Island Class concerning defendants’ unlawful activities, including

the horizontal conspiracy and artificially-inflated prices for pork.

         571.     Defendants’ deception, including its affirmative misrepresentations and/or

omissions concerning the price of pork, constitutes information necessary to plaintiffs

and members of the Rhode Island Class relating to the cost of pork purchased.

         572.     Plaintiffs and members of the Rhode Island class purchased goods, namely

pork, primarily for personal, family, or household purposes.




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         573.     As a direct and proximate cause of defendants’ unlawful conduct, plaintiffs

and the members of the Rhode Island Class have been injured in their business or

property and are threatened with further injury.

         574.     By reason of the foregoing, plaintiffs and the members of the Rhode Island

Class are entitled to seek all forms of relief, including actual damages or $200 per

violation, whichever is greater, and injunctive relief and damages under R.I. Gen Laws §

6-13.1-5.2.

                  FORTIETH CLAIM FOR RELIEF
VIOLATION OF THE SOUTH CAROLINA’S UNFAIR TRADE PRACTICES ACT,
                 S.C. CODE ANN. §§ 39-5-10, ET SEQ.
           (ON BEHALF OF THE SOUTH CAROLINA CLASS)

         575.     Plaintiffs incorporate and reallege, as though fully set forth herein, each and

every allegation set forth in the preceding paragraphs of this Complaint.

         576.     By reason of the conduct alleged herein, defendants have violated S.C.

Code Ann. §§ 39-5-10.

         577.     Defendants have entered into a contract, combination, or conspiracy

between two or more persons in restraint of, or to monopolize, trade or commerce in the

pork market, a substantial part of which occurred within South Carolina.

         578.     Defendants established, maintained, or used a monopoly, or attempted to

establish a monopoly, of trade or commerce in the pork market, for the purpose of

excluding or limiting competition or controlling or maintaining prices, a substantial part

of which occurred within South Carolina.




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         579.     Defendants’ conduct was conducted with the intent to deceive South

Carolina consumers regarding the nature of defendants’ actions within the stream of

South Carolina commerce.

         580.     Defendants’ conduct was unfair or deceptive within the conduct of

commerce within the State of South Carolina.

         581.     Defendants’ conduct misled consumers, withheld material facts, and had a

direct or indirect impact upon plaintiffs’ and members of the South Carolina Class’s

ability to protect themselves.

         582.     Defendants’ unlawful conduct substantially affected South Carolina trade

and commerce.

         583.     Defendants’ unlawful conduct substantially harmed the public interest of

the State of South Carolina, as nearly all members of the public purchase and consume

pork.

                    FORTY-FIRST CLAIM FOR RELIEF
        VIOLATION OF THE UTAH CONSUMER SALES PRACTICES ACT,
                   UTAH CODE ANN. §§ 13-11-1, ET SEQ.
                   (ON BEHALF OF THE UTAH CLASS)

         584.     Plaintiffs incorporate and reallege, as though fully set forth herein, each and

every allegation set forth in the preceding paragraphs of this Complaint.

         585.     By reason of the conduct alleged herein, defendants have violated Utah

Code Ann. §§ 13-11-1, et seq.




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         586.     Defendants entered into a contract, combination, or conspiracy between two

or more persons in restraint of, or to monopolize, trade or commerce in the pork market, a

substantial part of which occurred within Utah.

         587.     Defendants are suppliers within the meaning of Utah Code Ann. §§ 13-11-3.

         588.     Defendants established, maintained, or used a monopoly, or attempted to

establish a monopoly, of trade or commerce in the pork market, a substantial part of

which occurred within Utah, for the purpose of excluding competition or controlling,

fixing, or maintaining prices in the pork market.

         589.     Defendants’ conduct was unfair, unconscionable, or deceptive within the

conduct of commerce within the State of Utah.

         590.     Defendants’ conduct and/or practices were unconscionable and were

undertaken in connection with consumer transactions.

         591.     Defendants knew or had reason to know that their conduct was

unconscionable.

         592.     Defendants’ conduct misled consumers, withheld material facts, and

resulted in material misrepresentations to plaintiffs and members of the Utah Class.

         593.     Defendants’ unlawful conduct substantially affected Utah’s trade and

commerce.

         594.     As a direct and proximate cause of defendants’ unlawful conduct, plaintiffs

and the members of the Utah Class have been injured in their business or property and are

threatened with further injury.




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         595.     By reason of the foregoing, plaintiffs and the members of the Utah Class

are entitled to seek all forms of relief, including declaratory judgment, injunctive relief,

and ancillary relief, pursuant to Utah Code Ann. §§ 13-11-19(5) and 13-11-20.

                       FORTY-SECOND CLAIM FOR RELIEF
                 VIOLATION OF THE UTAH UNFAIR PRACTICES ACT,
                        UTAH CODE ALL. §§ 13-5-1, ET SEQ.
                        (ON BEHALF OF THE UTAH CLASS)

         596.     Plaintiffs incorporate and reallege, as though fully set forth herein, each and

every allegation set forth in the preceding paragraphs of this Complaint.

         597.     By reason of the conduct alleged herein, defendants have violated Utah

Code Ann. §§ 13-5-1, et seq.

         598.     Defendants entered into a contract, combination, or conspiracy between two

or more persons in restraint of, or to monopolize, trade or commerce in the pork market, a

substantial part of which occurred within Utah.

         599.     Defendants established, maintained, or used a monopoly, or attempted to

establish a monopoly, of trade or commerce in the pork market, a substantial part of

which occurred within Utah, for the purpose of excluding competition or controlling,

fixing, or maintaining prices in the pork market.

         600.     Defendants’ conduct caused or was intended to cause unfair methods of

competition within the State of Utah.

         601.     Defendants’ unlawful conduct substantially affected Utah’s trade and

commerce.




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         602.     As a direct and proximate cause of defendants’ unlawful conduct, plaintiffs

and the members of the Utah Class have been injured in their business or property and are

threatened with further injury.

         603.     By reason of the foregoing, plaintiffs and the members of the Utah Class

are entitled to seek all forms of relief, including actual damages or $2000 per Utah Class

member, whichever is greater, plus reasonable attorney’s fees under Utah Code Ann.

§§ 13-5-14, et seq.

                    FORTY-THIRD CLAIM FOR RELIEF
         VIOLATION OF THE VIRGINIA CONSUMER PROTECTION ACT
                    VA. CODE ANN. § 59.1- 196, ET SEQ.
                  (ON BEHALF OF THE VIRGINIA CLASS)

         604.     Plaintiffs incorporate and reallege, as though fully set forth herein, each and

every allegation set forth in the preceding paragraphs of this Complaint.

         605.     By reason of the conduct alleged herein, defendants have violated Va. Code

Ann. § 59.1- 196, et seq.

         606.     Defendants entered into a contract, combination, or conspiracy between two

or more persons in restraint of, or to monopolize, trade or commerce in the pork market, a

substantial part of which occurred within Virginia.

         607.     Defendants established, maintained, or used a monopoly, or attempted to

establish a monopoly, of trade or commerce in the pork market, a substantial part of

which occurred within Virginia, for the purpose of excluding competition or controlling,

fixing, or maintaining prices in the pork market.




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         608.     Defendants’ conduct caused or was intended to cause unfair methods of

competition within the State of Virginia.

         609.     Defendants’ unlawful conduct substantially affected Virginia’s trade and

commerce.

         610.     As a direct and proximate cause of defendants’ unlawful conduct, plaintiffs

and the members of the Virginia Class have been injured in their business or property and

are threatened with further injury.

         611.     By reason of the foregoing, plaintiffs and the members of the Virginia

Class are entitled to seek all forms of relief, including actual damages, treble damages,

plus reasonable attorney’s fees under Virginia Code Ann. § 59.1-196, et seq.

                          FORTY-FOURTH CLAIM FOR RELIEF
                               UNJUST ENRICHMENT

         612.     Plaintiffs incorporate by reference the allegations in the preceding

paragraphs.

         613.     As a result of their unlawful conduct described above, defendants have and

will continued to be unjustly enriched by the receipt of unlawfully inflated prices and

unlawful profits of pork.

         614.     Under common law principles of unjust enrichment, defendants should not

be permitted to retain the benefits conferred on them by overpayments by plaintiffs and

members of the classes in the following states: Arizona, California, District of Columbia,

Florida, Hawaii, Illinois, Iowa, Kansas, Maine, Massachusetts, Michigan, Minnesota,




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Mississippi, Missouri, Nebraska, Nevada, New Hampshire, New Mexico, North Carolina,

Rhode Island, South Carolina, Tennessee, Utah, Virginia, and West Virginia.

                                X.     REQUEST FOR RELIEF

         WHEREFORE, plaintiffs, on behalf of themselves and the classes of all others so

similarly situated, respectfully requests judgment against defendants as follows:

         615.     The Court determine that this action may be maintained as a class action

under Rule 23(a), (b)(2), and (b)(3) of the Federal Rules of Civil Procedure, appoint

plaintiffs as Class Representatives and their counsel of record as Class Counsel, and

direct that notice of this action, as provided by Rule 23(c)(2) of the Federal Rules of Civil

Procedure, be given to the Class, once certified;

         616.     The unlawful conduct, conspiracy or combination alleged herein be

adjudged and decreed in violation of Section 1 of the Sherman Act and listed state

antitrust laws, unfair competition laws, state consumer protection laws, and common law;

         617.     Plaintiffs and the Class recover damages, to the maximum extent allowed

under the applicable state laws, and that a joint and several judgments in favor of

plaintiffs and the members of the Classes be entered against defendants in an amount to

be trebled to the extent such laws permit;

         618.     Defendants, their affiliates, successors, transferees, assignees and other

officers, directors, partners, agents and employees thereof, and all other persons acting or

claiming to act on their behalf or in concert with them, be permanently enjoined and

restrained from in any manner continuing, maintaining or renewing the conduct,

conspiracy, or combination alleged herein, or from entering into any other conspiracy or


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combination having a similar purpose or effect, and from adopting or following any

practice, plan, program, or device having a similar purpose or effect;

         619.     Defendants, their affiliates, successors, transferees, assignees and other

officers, directors, partners, agents and employees thereof, and all other persons acting or

claiming to act on their behalf or in concert with them, be permanently enjoined and

restrained from in any manner continuing, maintaining, or renewing the sharing of highly

sensitive competitive information that permits individual identification of company’s

information;

         620.     Plaintiffs and the members of the classes be awarded pre- and post-

judgment interest as provided by law, and that such interest be awarded at the highest

legal rate from and after the date of service of this Complaint;

         621.     Plaintiffs and the members of the Classes recover their costs of suit,

including reasonable attorneys’ fees, as provided by law; and

         622.     Plaintiffs and the members of the Classes have such other and further relief

as the case may require and the Court may deem just and proper.

                              XI.     JURY TRIAL DEMANDED

         623.     Plaintiffs demand a trial by jury, pursuant to Rule 38(b) of the Federal

Rules of Civil Procedure, of all issues so triable.




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Dated: November 6, 2019              HAGENS BERMAN SOBOL SHAPIRO LLP

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                                     Purchaser Plaintiffs




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                                     Plaintiffs




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             EXHIBIT A
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       From:                          Brian H. Snyder <bhsnyder@agni            stats,   inc..com>

         Sent:                        Thursday, March 5, 2009 11:10 AM
       To:                                brad_hamilton@seaboardpork.com

        Ce:                           Ginther, Damon            <Damon_Ginther@Seaboardfoods.com>,;      Josh Edwards   <jedwards@agnistats.com>;       Albright, Garry
                                           <garry_albright@seaboardfoods.com>

             Subject:                 Agni Stats Follow Up
        Attach:                       1 WEEKLY.PDF

       Brad,
   |     wanted       to follow up with our previous conversation. As we discussed, AgniStats            is
                                                                                                 rolling out a new weekly and monthly sales report. have attached week 8 for your
                                                                                                                                                                  |



       review       the new format. This report is a dramatic improvement
                      in                                                                  to
                                                                              the legacy platform in evaluating sales. It compares a company's price and sales mix versus the national
       price with the company mix. would like to set up a 30 minute web review of the new weekly report to answer any questions. The new platform also allows us more audit
                                                  |



       tools regarding the data. All price variances 30% from the average will be kicked out to an exception report and investigated. This was a manual audit in the legacy system.
       With this new procedure automated,                  it
                                                  should streamline and improve the audit of the sales number and identify the outliers.        It
                                                                                                                                            will automatically generate the exceptions
       and   let us investigate to make sure that we have              all
                                                               items coded correctly, and to have an understanding of items that deviate by more than 30%.                It
                                                                                                                                                                  will also help us to

        identify buckets that need more sub categories, like meaty versus non meaty neckbones.
       Also,    have not heard any feedback regarding the information we sent over. have the other file ready, but was waiting to hear feedback first before overwhelming you with
                 |                                                                                   |



        additional codes. Are we      track to keep Seaboard’s interest on the sales report? am in the office the rest of the week, but am travelling on Monday and Tuesday. My
                                            on                                                            |                                         |



          commitment       is
                          to provide you with accurate and timely information in a useful format.     appreciate your hard questions and challenges.
                                                                                                              |




       Kindly,

       Brian               Snyder
       Brian  Snyder
       Agri Stats, Inc.
       Vice President,      Business             Development
       6510      Mutual Drive
       Fort     Wayne, IN 46825
       Office          260-407-2738
       Cell          260-438-1997
       Fax           260-407-2717
        STATEMENT             OF      CONFIDENTIALITY
       This   electronic mail transmission contains confidential information intended only for the                                                      person(       named.   Any   use,
        distribution, copying or disclosure by another person is strictly prohibited.




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                                                           SUBJECT TO PROTECTIVE ORDER                                                                                    AGSTAT-P-0000019809
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             EXHIBIT C
SUBMITTED UNDER SEAL
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             EXHIBIT D
SUBMITTED UNDER SEAL
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             EXHIBIT E
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                             Document Produced Natively




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                            Hormel
                              Foods
                                       4




                 Hormel Plant Proposal

                         June 25, 2010
                           Austin, MN


        {DATE}
                              wa




                                           1
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                                 Agenda

            Agri Stats Overview
        ¢



             —
                 Purpose
             —
                 History
             —   Services
             —   Procedures

        ¢
            Swine Plant Comparison
             —
                 Participation
             —   Tools

        ¢
             Proposal
        {DATE}




                                          2
                                                                       {DATE}
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                         Agri Stats




                                                                            3
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                             PURPOSE

                         Agri Stats Mission
                 Improve the bottom line profitability
                      for all participants by providing

                 accurate & timely comparative data
                             while preserving

            confidentiality of individual companies.



        {DATE}                     =




                                             4
                                                                       {DATE}
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                          Agri Stats, Inc.

        ¢
            1985 Poultry Industry Benchmarking
        ¢
            Broilers, Turkey, Layers, Swine — Live
            Production and Plants
        ¢
            Acquired Agrimetrics July 2006
        °
            AgriSoft/CMC     (accounting/production   software)

        °
            Express Markets, Inc. (market price discovery)
        ¢
            Responsible Resources (HR consulting)
        {DATE}




                                                                            5
                                                                       {DATE}
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                         Agri Stats, Inc.

            95% US Broiler Industry Participation
            95% US Turkey Industry Participation
        ¢
             110+ Million Hens Layer Report

                    Sows — Nursery, Finishing, WTF
        ¢
            32 International Companies
        ¢
             Live Production, Feed Mill, Ingredient
            Purchasing, Processing Plant, Sales
        {DATE}




                                                                            6
                                                                                   {DATE}
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                   Domestic Broiler Participants

       vAllen    Family Foods   vFoster     Farms           vMountaire    Farms

       vAmick      Farms        vGeorges,    Inc.           ¥OK Foods
       ¥B.C.     Natural        ¥Gold’n     Plump           vPeco Foods

       vCagles                  vHarrison     Poultry       vPerdue     Farms

       vCase      Farms         vHouse of Raeford           vPeterson    Farms

       vClaxton     Poultry     vKeith Smith        Farms   vSanderson     Farms

       vColumbia       Farms    vKeystone      Foods        vSimmons      Foods

       vCWT      Farms          vKoch     Foods, Inc.       vSylvest    Farms

       vDraper Valley Farms     vLady Forest Farms          v Tyson

       vEmpire      Kosher      vMar-Jac,   Inc.             Townsend, Inc.

       vEquity     Group        vMarshall Durbin            vWayne    Poultry
       vFieldale

         {DATE




                                                                                        7
                                                                       {DATE}
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                 International Broiler Participants

        Canada:                   Latin America:
         ACA Cooperative             Alpera
           Exceldor                 Avicola Montserrat
           Olymel                   Avicola San Andres
          Granny’s
                                     Bachoco
        Y Grenville
        Y Lilydale                  Avicola Ricura
        v Maple Leaf                 Grupo Libra
          Maple Lodge                Grupo Melo
        Y Rothsay Recycling          Grupo Pecuario
            Schneider’s              Pilgrim’s Pride
           Westco                    Tecca DeAgs
                                  ¥ ToRico’s
        ‘n= 32




                                                                            8
                                                                       {DATE}
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                           Turkey Participants

           Ag Forte                    Jennie-O
            Butterball               v Lilydale
        Y Cargill Turkey               Louis Rich
                                        Moroni
            Carolina Turkeys
                                       Northern Pride Turkey
        Y Carroll's                    Perdue Farms
        Y Circle-S Ranch               Pilgrim’s Pride
        Y Cooper’s                     Prestage Farms
            Farbest Foods
                                       Sara Lee
                                     Y Tarheel
            Foster Farms
                                       West Liberty Foods
            Goldsboro Milling        ¥ Willmar Poultry
            House   of Raeford       ¥ Willow Brook
        {DATE
         n=24




                                                                            9
                                                                       {DATE}
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                               Egg Participants
           Cal-Maine Foods                  Caldwell/Rose Bud
           Center Fresh Egg       Farms   Y Crystal Farms
           Cooper Farms
                                            Dakota    Layers
           Fort Recovery Equity
            Fremont Farms   of lowa         Delta

            George’s Commercial Egg          Herbrucks
            Golden Oval Eggs                Hickman’s Eggs
            Rembrandt
                                            Konos, Inc.
                Kreher’s
                                            Pearl Valley
           Midwest Poultry Services
            Pilgrim’s Pride Corp            Sparboe
           Rembrandt       Enterprise       We Three Eggs
           Tampa Farm Service               Zephyr Eggs
           Weaver Brothers
                                            Mahard
        v IVA
                                            Daybreak      Foods
        {DATE
         n=29                               Moark




                                                                           10
                                                                       {DATE}
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                 Express Market Participants
         Allen Family Foods, Inc.   Y House   of Raeford
         Amick Farms, Inc.          v Lady Forest Farms, Inc.
         Cagle’s, Inc.                Marshall Durbin Cos.
         Case Foods, Inc.             Mountaire Farms, Inc.
        Claxton Poultry Farms       Y O.K. Foods, Inc.
      v Fieldale Farms Corp.          Pilgrim's Pride Corp.
         Foster Farms                 Sanderson Farms
      Y George's, Inc.                Simmons Foods, Inc.
      Y Gold Kist, Inc.               Sylvest Farms
        Gold-N Plump                  Townsends, Inc.
      Y Harrison Poultry, Inc.      v Tyson Foods, Inc.
                                      Wayne Farms

        {DATE
         n=23




                                                                           11
                                                                                 {DATE}
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                     Swine Live Participants
        Cargill*                      v¥   Premium Standard Farms
      v Christensen Farms
                                        Prestage Farms — NC, IA, MS*
        Coastal Plains/Habit 4*       Y Seaboard Farms
      v Coharie Farms*
                                           TDM   Farms
      ¥ Cooper Farms
      ¥ Country View Family                Company T
                              Farms
                                           Tosh Farms*
        Goldsboro Milling
                                      ¥ Tyson Pork
      v Hanor                                            Group

      Y Hormel/Farmer John                 Wyoming Premium          Farms

      Y Maxwell Farms IN              Canadian      Participants:
      ¥ Murphy Brown East, West       v Big Sky Farms
        Nebraska Pork Partners*       ¥ duBreton*
        New Horizon Farms*            v Hytek
      v Oracle Pork
                                           Maple Leaf Agri-Farms
      v          Pride                     Puratone
        fags’
         n=
                                                                            ow




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                     Agri Stats Services

             Benchmarking data and comparison
            Monthly and weekly reports
            Month, Quarter and Twelve Month data
            Training and Use   of data/reports
             On-Site Reviews
             —
               Strengths, Opportunities, Economic Impacts
             —
               Discussion, Action Items
            Graphs
                     —   trend analysis
        ¢
            Custom Analysis/Reporting
        {DATE}




                                          13
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                       Agri Stats Procedures

            CONFIDENTIALITY:
        ¢
            Protect confidentiality in report
             Password protected PDF reports
             Only ship to company domain
             Employees sign confidentiality agreements
            Audit team accesses data
                 Publication/Distribution   staff print and ship
             Log external e-mails with attachments
        ¢
            Low turnover rate at Agri Stats                   |




        {DATE}
                                                                  Sa




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                   Agri Stats Procedures

        ACCURACY:
        ¢
            Set-up process sources and converts raw
            data to Agri Stats platform
            Time tested computer systems
            Low maintenance electronic file transfer
            Collect the greatest level of detail —
            reconcile to company statements
            Checks & Balances - audit process,
             paradigm, reconciliations, review reports
        {DATE}
                                                         Sa




                                         15
                                                                       {DATE}
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              Pork Plant Comparison




                                                                           16
                                                                       {DATE}
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                   Pork Kill/Cut Participants

        USA:
            Cargill
                   —
                    Beardstown, Ottumwa*
            Farmland — Milan, Monmouth, Denison*, Crete*
            Hatfield Quality Meats
            Indiana Packers
            JBS — Marshalltown
        ¢
            John Morrell — Sioux Falls*
        ¢
            Seaboard
        ¢
            Smithfield — Clinton, Tar Heel, Virginia*
        ¢
            Triumph
            Tyson — Storm Lake
        DATE)
                                                         =




                                                                           17
                                                                       {DATE}
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                      Pork Kill/Cut Participants

         CANADA:
            Conestoga
            duBreton
            Maple Leaf
                       —
                         Brandon, Burlington
           Olymel    Red Deer
                       —


            Quality Meat Packers
            Springhill




         n=7;
        (DATE)   Total Swine Plant = 23




                                                                           18
                                                                       {DATE}
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                    Swine Processing Report

        Plant Cost Analysis:

        ¢
            Labor                   Water & Sewage
        ¢
            Material            ¢
                                    Inspection
        ¢
            Supplies                Overhead
            M&R                 ¢
                                    Depreciation
        ¢
            Utilities               Support Depts.




        {DATE}




                                                                           19
                                                                       {DATE}
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                           Swine Processing Report

        Kill Cost Analysis:
       ¢
              Labor
               Inspection
              Supplies
               Utilities   —   electrical and gas/oil
               Overhead
               Depreciation
               Harvest Efficiency — Pigs/Manhour,
               Recovery Head & Organs, etc.
               Staffing
           {DATE}




                                                                           20
                                                                       {DATE}
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                     Swine Processing Report

       Yield Comparison:
       ¢
              Carcass yield
              Shrink & loss
              Primals
               Miscellaneous parts
              Primal detail
               Miscellaneous Parts detail
              Edible By-Products detail


           {DATE}




                                                                           21
                                                                       {DATE}
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                           Swine Processing Report

        Cut Floor Cost:
       ¢
              Labor
       *
              Supply
              Material
               Utilities
               Overhead
              Depreciation
              Labor Detail, Efficiency


           {DATE}




                                                                           22
                                                                       {DATE}
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                         Swine Processing Report

        Cost and Return Summary:
         Cost of Hot Carcass
                    Packaging
               ¢
                    Plant
               ¢
                    Butcher Hog
              Return Hot Carcass
               ¢
                    Primals
               ¢
                    Miscellaneous
               ¢
                    Fat/Fatback
       ¢
              “Contribution” level of comparison
           {DATE}




                                                                           23
                                                                       {DATE}
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                        Pork Sales




                                                                           24
                                                                         {DATE}
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                          Participants — Pork Sales

        USA:
              Cargill Beardstown, Ottumwa*
              Farmland — Crete*, Denison*, Milan, Monmouth
              Hatfield
       ¢
              Indiana Packers
       ¢
             JBS — Louisville, Marshalltown,    Worthington
       ¢
             John Morrell — Sioux Falls
              Seaboard
       ¢
              Smithfield — Clinton, Tar Heel, Virginia
       ¢
              Triumph
       ¢              —   Columbus Junction, Logansport, Madison,
             Tyson
              Perry
            n=21
           (DATE}
                                                                    Sa




                                                                             25
                                                                       {DATE}
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                                   Pork Sales

        Sales Reports:
              Weekly
       ¢
              Mix Analysis
       ¢
              Sales Data Miner
                    Category              Additive

                    Group                 Size
               ¢
                    Product Type
                                          Inner Packagin
                                                      ging
               ¢
                    Preparation



           {DATE}




                                                                           26
                                                                       {DATE}
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               Swine Plant Proposal




                                                                           27
                                                                       {DATE}
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                                                                           28
                                                                       {DATE}
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                          Thank You!




        {DATE}




                                                                           29
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             EXHIBIT F
SUBMITTED UNDER SEAL
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             EXHIBIT G
SUBMITTED UNDER SEAL
